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                EXHIBIT A
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1                                                                            EXECUTION DRAFT
2
3                                           GROUND LEASE
4
5           THIS GROUND LEASE ("Lease"), made by and between STAFFORD RT, LLC, a
6    Georgia limited liability company ("Lessor" ), whose mailing address is 1805 U.S. Highway 82
7    West, P.O. Box 269, Tifton, Georgia 31793 and RUBY TUESDAY, INC., a Georgia
a    corporation ("hereinafter called "Ruby Tuesda~), whose mailing address is 150 West Church
9    Avenue, Maryville, Termessee 37801.
10                                                   *   or "Lessee"
11
12                                            WITNESSETH:
13
14   1.      PREMISES:
15
16          In consideration of the renJ, covenants and agreements hereinafter set forth, Lessor does
17   hereby demise and lease to Rubytuesday, and Ruby.Tuesday does hereby take and hire from
18   Lessor, the Real Property situated in Tifton, County of Tift, and State of Georgia, containing
19   approximately 1.332 usable acres ofland, and any and all improvements which now are or which
20   shall be situated on said real property (the "Real Property") together with all rights, easements
21   and appurtenances thereunto belonging or appertaining (collectively referred to herein as the
22   "Leased Premises"), said Leased Premises being those more fully described in Exhibit "A"
23   attached hereto and made a part hereof by reference.
24
25          Lessor and Ruby Tuesday mutually agree that the drawings or description attached hereto
26   as Exhibit "A" constitutes the Leased Premises to the best of their knowledge, but that the same
27   do not constitute a legal description of the Leased Premises. Lessor and Ruby Tuesday further
28   agree that upon the completion of the survey and, if applicable, plan of subdivision, pursuant to
29   Subsection C of Section 8 hereof, this Lease shall be amended by attaching the description of the
30   Leased Premises from said survey as Exhibit "A-1" which Exhibit "A-1" shall be deemed to be
31   the ~gal description of the Leased Premises for the purposes of this Lease.
32
33            Reference is made to the site plan attached as Exhibit "B" hereto and incorporated herein
34   by reference ("Site Plan"). Lessor does hereby grant and convey to Ruby Tuesday, for the term
35   of the Lease and any extensions and renewals thereof, and for the period of time during which
36   Ruby Tuesday is not in material breach of this Lease (after the expiration of all applicable notice
37   and cure periods), for the benefit of the Leased Premises, a perpetual, non-exclusive,
38   uninterrupted right, privilege and easement, which right, privilege and easement shall be
39   appurtenant to and pass ,vi.th the title to the Leased Premises, for the purposes of (a) pedestrian
4o   and vehicular ingress and egress and parking of vehicles QVer, under, across and through drive
41   lanes, drive aisles, the fifteen (15) specific parking spaces depicted as "Ruby Tuesday Off-Site
42   Parking Spaces" on the Site Plan ("Ruby Tuesday Off-Site Parking Spaces"), walkways, and
43   other common areas as they exist now and from time to time on the Lessor's Larger Tract, as
44   defined in Section 17A hereinbelow; (b) erecting, maintaining and placing a sign on the portion
45   of Lessor's· Larger Tract identified as "Ruby Tuesday Sign Area" on Exhibit "B-1" attached
46   hereto and incorporated herein by reference ("Ruby Tuesday Sign Area") together with the right
47   to go on Lessor's Larger Tract to install, construct, operate and maintain perpetually a sign with
48   the necessary electric lights, electric lines, poles, footings and attachments in the Ruby Tuesday
49   Sign Area, pursuant to the Sign Lease ("Sign Lease") attached as Exhibit "C", attached hereto
sO   and incorporated herein by reference, to be executed by the landlord therein simultaneously with
51   this Lease; (c) the right and an easement to construct, maintain and use for pedestrian and
52   vehicular ingress and egress the curb cut adjacent to the portion of Lessor's Larger Tract depicted
53    as "Wendy's Tract" ("Wendy's Tract") on the Site Plan; (d) the right and an easement to
54    construct, maintain, relocate, enlarge, use and tap into any and all utility lines (mcluding storm
55    drainage facilities) located on Lessor's Larger Tract necessary to serve the improvements to be
56    located on the Leased Premises, to the extent that same are required by Ruby Tuesday; and
57    (e)construction of the Ruby Tuesday Off-Site Parking Spaces. Reference is made to the.portion
58    of the area depicted on the Site Plan as "Ruby Tuesday Exclusive Parking Area" ("Ruby Tuesday
59    Exclusive Parking Area").
60
61          Anything herein to the contrary notwithstanding, (a) Ruby Tuesday must repair any
62    damages to Lessor's Larger Tract attributable to Ruby Tuesday's entry and/or activities

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1      thereupon; and (b) Lessor may close access to the bridge currently located between the Leased
2      Premises and the adjacent Holiday Inn Hotel, \\·ithout the consent of Ruby Tuesday.
3
4              Lessor does hereby reserve and retain only for the benefit of the Wendy's Tract, and not
s      for the benefit of the balance of Lessor's Larger Tract a non-exclusive, perpetual easement, right
6      and privilege, which easement, right and privilege shall be appurtenant to and run with the title to
7      Lessor's Larger Tract, over, across and through the portion of the Leased Premises on which
8      drive aisles and drive lanes and parking spaces exist from time to time for the purposes of
9      vehicular ingress and egress and parking of vehicles; provided, however, that (i) no parking
1O     easement is provided for herein on any portion of the Ruby Tuesday Exclusive Parking Area, and
11     (ii) no easement is granted for parking of vehicles or queuing of vehicles in or around the car
12     wash or any of the other businesses operating on Lessor's Larger Tract now or in the future, to the
13     extent that same blocks the access ways leading to the business operating on the Leased
14     Premises. Ruby Tuesday agrees to use the five (5) parking spaces closest to the car wash, as
15     shown on the Site Plan, as employee parking, and place "Ruby Tuesday Employee Parking Only"
16     signs or similar signs in said parking spaces.
17
18             Lessor does also hereby reserve and retain for the benefit of Lessor's Larger Tract a non-
19     exclusive, perpetual easement, right and privilege, which easement, right and privilege shall be
2o     appurtenant to and run with the title to Lessor's Larger Tract over, across and through the portion
21     of the Leased Premises on which storm drainage lines currently exist and over the balance of the
22     Leased Premises for the purpose of allowing storm water produced on Lessor's Larger Tract to
23     sheet drain over and drain through the infrastructure currently located on the Leased Premises.
24
25     2. TEAAI:
26
27             A.      Original Term
28
29             The original term of this Lease shall be for a period commencing on the Commencement
3O     Date as defined in Section 3 below and ending on January 31 follm,ing the twentieth (20th) full
31     calendar year following such Commencement Date. "Lease Year" shall be defined as each
32     successive period of twelve (12) consecutive calendar months commencing on the first day of
33     January of each year during the term hereof and ending on December 31 of each year of the term
34     hereof. If the Commencement Date is other than January 1 of any calendar year, the period
35     between the Commencement Date and December 31 of that year shall be the "First Partial Lease
36     Year." Ruby Tuesday's obligation to pay rent shall commence on the Commencement Date.
37     Within thirty (30) days after the Commencement Date and the date the original term expires, and
38     dates have been established, the parties shall execute and deliver an acceptable written document
39     setting forth such dates.
40
41             B. First Renewal Term
42
"-
• .0           Upon the expiration of the original term, the term of this Lease shall automatically renew
44      for a period of five (5) years, except in the event Ruby Tuesday gives Lessor a cancellation
45      notice. Such cancellation notice may be given by Ruby Tuesday at any time but in any event
46      must be given at least ninety (90) days prior to the expiration of the original term.
47
48             In the event that Ruby Tuesday does not cancel the renewal term of this Lease, this Lease
49      shall be renewed at the rental set forth in Section 4 hereof, and upon the same other terms and
50      conditions as are applicable to the original term, except that the renewal shall begin on the date
51      of expiration of the original term and shall continue for a period of five (5) years thereafter.
52
53              C. Second and Subsequent Renewal Terms
54
55              In the event Ruby Tuesday does not cancel the renewal term of this Lease and this Lease
56      shall renew for the first renewal term as provided herein, this Lease may be renewed by Ruby
57      Tuesday for three (3) additional periods of five (5) years each at the rental as set forth in Section
58      4 hereof and upon the same other terms and conditions as are applicable to the first renewal term
59      except that such subsequent renewal terms shall begin on the date of expiration of the previous
6o      renewal term and shall continue for a period of five (5) years thereafter. In order to avoid the
61      automatic renewal of this Lease for an additional five year term beginning after the completion of
62      the first, second, and third renewal terms, the same ninety (90) day cancellation notice


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1    provisions, as provided in B above regarding the first renewal term, shall apply.
2
3    3. COMMENCEMENTDATE:
4
 5            The Commencement Date of this Lease shall be the earlier of the follo"wing: (a) Ruby
 6   Tuesday's completion of the improvements to be constructed by Ruby Tuesday and the opening
 7   to the public for business of a Ruby Tuesday restaurant; or (b) one hundred fifty (150) days after
 8   all of the follO\\·ing have occurred: (i) Ruby Tuesday shall have obtained all permits, licenses,
 9   variances and approvals referred to in Subsection B of Section 8 below; (ii) this Lease and the
1o   Memorandum of Lease referred to in Section 37 below have been executed by Lessor and
11   delivered to Ruby Tuesday; (iii) all title matters pursuant to Section 16 below have been satisfied
12   by Lessor, or waived in writing by Ruby Tuesday; (iv) Lessor has obtained and delivered to Ruby
13   Tuesday such fully executed estoppel certificates and non-disturbance and attornment agreements
14   as are required to be delivered to Ruby Tuesday pursuant to Sections 26 and 27 below; (v) Lessor
15   shall have delivered the Premises to Ruby Tuesday with all of Lessor's Work as set forth in
16    Sections 7, 8 and 23 completed; and (vi) the conditions set forth in Subsections B, C and D of
l7    Section 8 herein have been satisfied, or waived in writing by Ruby Tuesday; provided, however,
18    that said one hundred fifty (150)-day period shall be extended by the amount of time attributable
19    to any delays due to causes beyond Ruby Tuesday's control, including but not limited to, acts of
2o    God, strikes, lockouts or unavailability of materials. Upon the execution of this Lease, Ruby
21    Tuesday shall have the right to enter upon the Leased Premises for the limited purposes of
22    surveying the Leased Premises and conducting such soil tests as Ruby Tuesday deems necessary.
23    Notwithstanding anything contained in the foregoing, upon satisfaction of the Commencement
24    Date contingencies referred to in subsection (b) hereof, Ruby Tuesday shall have possession of
25    the Leased Premises.
26
27   4.      RENTAL:
28
29           Ruby Tuesday shall pay to Lessor at Lessor's address shown above, or at such other
3o   address or by electronic funds transfer, pursuant to instructions as Lessor may from time to time
31   designate in writing, a fixed annual rental in the amounts as shov,n on Exhibit "D" hereto and
32   incorporated herein by reference, payable in equal consecutive monthly installments of one-
33   twelfth (1/12) of said annual rental. Each such monthly installment shall be due and payable in
34   advance on the first day of each calendar month during the original term of this Lease and any
35   renewal term. If the Commencement Date does not fall on the first day of a calendar month, then
36   the first payment shall be for only the portion of the first month attributable to the term of the
37   Lease prorated on a daily basis. The rental for the First Partial Lease Year shall be the product
38   obtained by multiplying SIXTY-SEVEN THOUSAND AND 00/I00THS DOLLARS
39   ($67,000.00) by a fraction, the numerator of which is the number of days in the First Partial
4c   Lease Year and the denominator of which is three hundred sixty-five (365). The monthly
41   installments of rent for the First Partial Lease Year shall be the total rental for the First Partial
42   Lease Year less any initial partial month prorated rent paid or to be paid for the first partial
43   month of the First Partial Lease Year divided by the number of whole months contained ,,ithin
44   said First Partial Lease Year.
45
46    5.     TAXES A.t"ffi ASSESSMENTS:
47
48           Lessor shall pay all real estate taxes, including penalties and interest for tax years
49    preceding the Commencement Date of this Lease. Lessor shall also pay all special assessments
5o    which are a lien on the Real Property on the Commencement Date of this Lease, whether or not
51    such assessments are past due, then due or are thereafter to become due and any assessments or
52    charges which are for improvements then installed, or which are then known but which ,vil! be
53    payable in whole or in part after the Commencement Date.
54
55            Ruby Tuesday agrees to pay to the appropriate governmental agencies all other real
s6    property taxes, assessments, impositions, or all other claims or charges (herein collectively called
57    the "taxes") which may constitute or may be reduced to a lien upon the Real Property, including
s8    but not limited to, water charges and sewer charges, before the same shall become delinquent.
59    All such payments for the first and last year of the original term or any renewal terms shall be
6o    prorated between Lessor and Ruby Tuesday so that Ruby Tuesday shall be responsible for that
61    portion of the taxes which is attributable to the original term and any renewal term. Ruby
62    Tuesday's tax obligation shall commence on the Commencement Date hereof. In the event there

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1    is included in the taxes any special assessment or assessment which may be paid in installments,
2    unless otherwise directed by written notice from Ruby Tuesday, Lessor shall advise the
3    appropriate governmental agency of its intention to elect payments in installments thereof, and
4    Ruby Tuesday shall pay such installments as shall be due and payable during the original term or
5    any renewal term, regardless of when such installment was assessed.
 6
 7            In the event the Real Property is a portion of a larger tract, Lessor agrees to use its best
 8    efforts to have the Real Property designated as a separate parcel for taxing purposes so that the
 9    assessed valuation of the land and buildings shall relate only to the land constituting the Real
1o    Property and to the buildings and improvements constructed on the Real Property.
11
12           In the event the Real Property is a portion of a larger tract and the Lessor is unable to
13    have the Real Property designated as a separate parcel for taxing purposes, so that taxes are
14    assessed upon the larger tract of which the Real Property is a portion, Ruby Tuesday agrees to
15    pay that portion of the taxes which is reasonably attributable to the Real Property, determined as
16    follows:
17
18                    i. In the event the taxes are identified or apportioned by the taxing authorities or
19    are identifiable or apportionable based on valuation or other information furnished by the taxing
2o    authority so that the portion of the taxes attributable to the value of the land can be distinguished
21    from the portion of the taxes attributable to the value of the buildings, then as to that portion of
22    the taxes attributable to the value of the land, Ruby Tuesday will pay a percentage of such
23    portion of the taxes determined by dividing the area of the Real Property by the total area of the
24    larger tract, and as to the portion of the taxes attributable to the value of the buildings, Ruby
25    Tuesday \,ill pay the percentage of such portion of the taxes determined by dividing the gross
26    floor area of the Ruby Tuesday restaurant by the gross floor area of all buildings located on the
27    larger tract.
28
29                   ii. In the event the taxes are not identified or apportioned by the taxing authority
30    and are not identifiable or apportionable based on valuation or other information furnished by the
31    taxing authority so that the portion of the taxes attributable to the value of the land cannot be
32    distinguished from the portion of the taxes attributable to the value of the buildings, then as to all
33    taxes, Ruby Tuesday will pay a percentage of the taxes determined by dividing the area of the
34    Real Property by the total area of the larger tract.
35
36            Lessor will notify Ruby Tuesday in writing of any taxes which Ruby Tuesday is required
37   to pay in accordance ,vith the provisions of this Section. Such notification shall be furnished to
38   Ruby Tuesday not less than thirty (30) days before the date such taxes are due or not less than
39   five (5) days after receipt of the tax bill by Lessor, whichever date is later, and shall be
40   accompanied by a copy of the tax bill. Any taxes which Ruby Tuesday is required to pay shall be
41   paid by it no later than the date on which such taxes are due unless the notification by Lessor is
42   received by Ruby Tuesday less than thirty (30) days before the date on which such taxes are due,
43   in which event Ruby Tuesday shall pay such taxes v.ithin twenty (20) days after the date of such
44   notification, and Lessor shall be responsible for the payment of any penalties, interest or other
45   charges imposed upon delinquent payment of taxes. In the event the Real Property is a portion of
,,_-
 .o  a larger tract, then the written notification by Lessor to Ruby Tuesday of such taxes shall set forth
47   ( 1) the total taxes on the larger tract accompanied by a copy of the tax bill; (2) whether the total
48   taxes on the larger tract are identifiable or apportionable between land and buildings and if so,
49· the amount of taxes attributable to the land and the amount of taxes attributable to buildings; and
50   (3) Ruby Tuesday's portion of the total taxes together with a statement showing how Ruby
 51   Tuesday's portion was calculated in accordance with this Section.
52
53             If Ruby Tuesday fails to pay any taxes which it is required to pay v,ithin the time period
54     provided above, Lessor may, at its option, pay said taxes, together with any and all penalties and
55     said amount shall become immediately due and payable as additional rent.
56
57             Ruby Tuesday shall have the right in its own name, or in Lessor's name where
58     appropriate, but at its own cost and expense, to contest by appropriate proceedings the amount or
59     legality of any taxes which it is obligated to pay hereunder and make application for the reduction
6o     thereof, or any assessment upon which the same may be based, and the Lessor agrees, at the
61     request of Ruby Tuesday, to execute or join in the execution of any instruments or documents
62     necessary in connection \,ith such contest or application. If Ruby Tuesday shall contest such tax


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1    assessment, or other imposition, provided the payment of such taxes may legally be held in
2    abeyance, the time v,ithin which Ruby Tuesday shall be required to pay the same shall be
3    extended until such contest or application shall have been finally determined, except that Ruby
4    Tuesday shall be responsible for any penalty imposed by the taxing authority resulting from the
5    late payment of taxes due to said contest.
 6
 7           In no event shall Ruby Tuesday be liable for payment of any income, estate or inheritance
 s   taxes imposed upon Lessor or the estate of Lessor. Ruby Tuesday shall not pay any income,
 9   franchise, excise, sales, taxes assessed by any taxing authority on the rental income received by
1o   the Lessor, or excess profits tax levied upon, required to be collected by, or assessed against
11   Lessor.
12
13   6.         INSURANCE:
14
15          Ruby Tuesday hereby covenants and agrees at all times during the original term of this
16   Lease and any renewal term to maintain and keep in force comprehensive general liability
17   insurance against all claims for personal injury, death, or property damage occurring on the
18   Leased Premises with minimum limits of liability of One Million ($1,000,000) Dollars per
19   person, One Million (Sl,000,000) Dollars per occurrence and One Million ($1,000,000) Dollars
2o   property damage. Ruby Tuesday shall also maintain and keep in force during the original term of
21   this Lease business interruption insurance in such amounts as Ruby Tuesday may reasonably
22   deem appropriate. Ruby Tuesday shall furnish certificates of insurance evidencing payment
23   thereof to Lessor as the same shall be requested in writing from time to time by Lessor. All
24   policies of insurance shall name Lessor and Stafford Development Company as additional
25   insureds.
26
27           Ruby Tuesday may effectuate the above insurance coverages through a program of self-
28   insurance, provided Ruby Tuesday maintains a net worth (excluding all intangible assets) in
29   excess of S150,000,000.00 exclusive of (i) intercompany and non-trade receivables, (ii)
3o   intangible assets including »ithout limitation patents, trademarks, service marks, goodwill, etc.,
31   and (iii) construction in progress.
32
33            Ruby Tuesday \vill indemnify Lessor and save it harmless from and against any and all
34    claims, actions, damages, liability and expense in connection with loss of life, personal injury
35    and/or damage to property arising from or out of the common facilities of the Leased Premises,
35    or the use thereof by Lessor or any of its servants, agents, customers or invitees, or occasioned
37    wholly or in part by any act or omission of Ruby Tuesday, its agents, contractors or employees,
38    except for claims or the portion thereof caused by Lessor, its servants, agents customers, or
39    invitees.
40
41    7.         UTILITIES AJ',;1) UTILITY EASEMENTS:
42
43            Lessor warrants that all water, sanitary services, storm sewers, electricity, gas, oil and
44    other required utilities (herein collectively referred to as "utilities") are available for connection,
45    and are adequate for Ruby Tuesday's needs. Ruby Tuesday shall have the right to grant
46    easements over, upon and under the Leased Premises for utilities, sewers, ingress and egress, and
47    similar purposes to service the development thereof and the improvements thereon; and Lessor
48    agrees, from time to time upon request by Ruby Tuesday, without any compensation being paid
49    therefor, to join iu the granting of such easements and to take any other action necessary to
50    effectuate the same. Ruby Tuesday shall pay all tap, connection, impact, environmental and like
51    charges necessary to bring all utilities to the Leased Premises and which are necessary for Ruby
52    Tuesday to connect to and use all utility services. All traffic impact fees or such other charges
53    and fees which are based iu part upon Ruby Tuesday's lease and use of the Leased Premises and
54    associated traffic and in part on use of Lessor's Larger Tract and associated traffic shall be split
55    equitably between Lessor and Ruby Tuesday based on the percentage that each party's usage and
56    traffic was responsible for said charges or fees.
57
58           In the event the utilities do not run directly to the Leased Premises from adjacent publicly
59    dedicated streets, Lessor shall also obtain, deliver and record all easements necessary to permit
60    Ruby Tuesday's use, maintenance, repair and replacement of all required utilities. Such
61    easements shall be paramount to any lien on the servient property and shall be in such form and
62    content acceptable to Ruby Tuesday.


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1     8.         CONSTRUCTION OF IMPROVEMENTS:
2
3                A. Plans and Elevations
4
 5           Lessor acknowledges that it has seen and is familiar with the type of building and related
 6    improvements constructed by Ruby Tuesday. Ruby Tuesday shall submit to Lessor a site plan
 7    within sixty (60) days of full execution of this Lease. Ruby Tuesday shall submit prototypical
 s    plans and elevation drawings for the building to the Lessor prior to or simultaneously with
 9    submittal of same to Tift County for permits. Lessor shall not unreasonably withhold its approval
1o    of said site plan and detailed plans and elevation drawings (collectively "Plans"). Failure of
11    Lessor to disapprove any of the Plans within five (5) days of Ruby Tuesday submitting said Plans
12    to Lessor shall constitute Lessor's approval of the Plans so submitted. It shall be unreasonable
13    for Lessor to not approve any site plan which is substantially the same as the Site Plan.
14
15            Additionally, no reconfiguration of the Wendy's Tract shall be permitted without the
16    ,vritten approval of the proposed site plan reconfiguration by Ruby Tuesday, said approval not to
l 7   be unreasonably withheld, conditioned or delayed. It shall be unreasonable for Ruby Tuesday to
18    not approve any such reconfiguration if the reconfiguration has little or no impact on access to
19    and from, or parking for, the business operating on the Leased Premises.
20
21                B. Zoning. Licenses and Permits
22
23            Lessor represents and warrants that the use of the Leased Premises for a Ruby Tuesday
24    restaurant with adjacent parking is a permitted use under the zoning classification and that Lessor
25    has no knowledge of anything that would prohibit Ruby Tuesday from obtaining all licenses and
26    permits, including, but not limited to, those pertaining to building, occupancy and beer and wine,
27    which are necessary to Ruby Tuesday's business.
28
29              Lessor acknowledges that this Lease is contingent upon Ruby Tuesday obtaining all
30     necessary permits, licenses (including, but not limited to, beer and wine licenses for on-premises
31     consumption), variances, easements and approvals pertaining to the building, occupancy, signs,
32     parking, curb cuts, driveways (including ingress and egress to public thoroughfares), zoning,
33     environmental controls, and any other governmental permits ,vhich, in the sole judgment of Ruby
34     Tuesday, are necessary to permit it to construct and operate a Ruby Tuesday restaurant with
35     adjacent parking upon the Leased Premises, all at a cost acceptable to Ruby Tuesday. All of said
36     permits, licenses, variances and approvals must be validly and irrevocably granted on terms and
37     conditions and at a cost satisfactory to Ruby Tuesday ,vithout qualification, except such
38     qualification as shall be acceptable to Ruby Tuesday, and no longer subject to appeal. Lessor
39     agrees to execute any applications or other documents requested by Ruby Tuesday in order to
40     obtain any permits, licenses, variances and approvals, at no cost or expense to Lessor. Further,
41     this Lease is contingent upon all construction and related costs being acceptable to Ruby
42     Tuesday. Subject to possible extension pursuant to the last paragraph of this Section 8B, in the
43     event any of the contingencies contained in this Lease have not been satisfied within one hundred
44     twenty (120) days from the date on which this Lease is fully executed (said one hundred twenty
45     (120) day period is hereinafter referred to as the "Contingency Period"), then this Lease shall be
46     void at the option of Ruby Tuesday and both parties shall be relieved from any obligations and/or
47     liabilities hereunder, and all deposits and payments made hereunder by Ruby Tuesday shall be
48     refunded to Ruby Tuesday. Unless agreed to othemise in writing by Ruby Tuesday and Lessor,
49     the failure by Ruby Tuesday to timely cancel and void this Lease pursuant to this paragraph shall
50     constitute a waiver by Ruby Tuesday of any unsatisfied contingency contained in this Lease.
51
52             Lessor is in the process of obtaining and shall vigorously pursue obtaining a no further
53     action necessary letter, and simultaneously with or within five (5) days from the full execution of
54     this Lease, Lessor shall execute the emironmental indemnity attached as Exhibit "F" hereto and
55     incorporated herein by reference, both for the benefit ofRubyTuesday.
 56
 57            Ruby Tuesday acknowledges that in Tift County, Georgia it is only possible to obtain a
 58    license for beer and wine but not liquor.
 59
 6o           Notwithstanding anything contained herein to the contrary, Ruby Tuesday may extend the
 61    Contingency Period unilaterally by thirty (30) days provided that Ruby Tuesday has begun its
 52    application process for all of its necessary permits by the date which is ninety (90) days after the


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1    full execution of this Lease and, thereafter, has been diligently pursuing same until completion.
2
3           C. Survev, Soil Tests and Environmental Tests
4
5                  i. Following the effective date of this Lease, Ruby Tuesday, at it o,vn expense,
6    may order a current certified survey of the Leased Premises.
 7
 8                  ii. At Ruby Tuesday's expense, Ruby Tuesday may obtain borings and/or soil
 9   bearing tests and other tests to determine the suitability of the Leased Premises for building
1o   foundations and other improvements which Ruby Tuesday may wish to make, provided,
11   however, that said tests shall be so conducted as not to damage the Leased Premises. If the
12   survey, borings and/or soil bearing tests disclose any condition which, in Ruby Tuesday's
13   judgment, would render the Leased Premises unusable by Ruby Tuesday for the construction and
14   operation of a Ruby Tuesday restaurant ,vith adjacent parking, then by written notice given to
15   Lessor prior to the expiration of the Contingency Period, Ruby Tuesday may terminate this
16   Lease, and both parties shall be relieved from any obligations and/or liabilities hereunder, and all
17   deposits and payments made hereunder by Ruby Tuesday to Lessor shall be refunded to Ruby
18   Tuesday.
19
20           D. Construction
21
22           Other than the work described in Section 23, clause (ii) hereinbelow, Ruby Tuesday shall
23   complete the remaining demolition of the existing building located on the Leased Premises
24   including removal of slabs and footings. Ruby Tuesday shall fill, grade and compact the Leased
25   Premises in such a manner as is adequate for the construction of the buildings which Ruby
26   Tuesday intends to construct on the Leased Premises and othemise adequate for Ruby Tuesday's
27   intended use. During the course of construction, Ruby Tuesday will relocate the flag pole and
28   the water and air station shown on the Site Plan to the new locations for same, as shown on the
29   Site Plan.
30
31           \Vitbin ten (10) days of Lessor and Ruby Tuesday executing this Lease, Ruby Tuesday
32   shall deliver into escrow \\itb Chicago Title Insurance Company ("Chicago Title") the sum of
33   EIGHT THOUSAND EIGHT HUNDRED FIFrY AJ."iD 00/lO0THS DOLLARS ($8,850.00)
34   ("Funds") as reimbursement for Lessor having demolished the improvements previously located
35   on the Leased Premises. Ruby Tuesday shall direct Chicago Title to hold the Funds pending the
36   end of the Contingency Period, as may be extended. At the end of the Contingency Period, the
37   Funds shall be (i) paid to Lessor, if Ruby Tuesday has not terminated this Lease, or (ii) refunded
38   to Ruby Tuesday, if Ruby Tuesday has terminated this Lease.
39
40   9.      ALTERATIONS:
41
42           During the original term or any renewal term of this Lease, Ruby Tuesday may make
43   alterations, additions and improvements to the Leased Premises without the consent of Lessor,
44   and Ruby Tuesday shall have the right to erect and install such other or additional improvements,
45   and equipment on the Leased Premises as Ruby Tuesday may, in its sole judgment, deem
46   desirable for conducting its business thereon or for such other business as Ruby Tuesday may
47   deem advisable; provided, however, that Lessor's consent (which shall not be unreasonably
48   withheld, conditioned or delayed) shall be required for any structural exterior alterations to the
49   Leased Premises.
50
51    10.     CASUALTY LOSS:
52
53            If the building or other improvements located on the Leased Premises should be damaged
54    by fire or other casualty so that in the reasonable judgment of Ruby Tuesday the business
55    conducted on the Leased Premises could not be conducted in a normal manner until the buildings
56    and/or improvements are repaired or reconstructed, then Ruby Tuesday may, at its option, either
57    (i) repair or reconstruct the buildings and/or improvements, or (ii) within ninety (90) days after
58    the date of the fire or other casualty return possession of the Leased Premises to Lessor ,,ith all
59    buildings removed from the surface of the Leased Premises and after such return of possession of
6o    the Leased Premises to the Lessor, all obligations of Ruby Tuesday under this Lease shall
61    terminate. In the event Ruby Tuesday elects (i) to repair or reconstruct the buildings and/or
62    improvements, then (a) Ruby Tuesday must notify Lessor in writing of its intent to do so with.in


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1    sixty (60) days from the date of casualty; and (b) the reconstruction must be performed in a
2    timely manner, be completed within one hundred eighty (I 80) days of said notification, and be
3    performed in a professional, good and workmanlike manner; and (c) this Lease shall continue in
4    force and effect except that for so long as the business conducted on the Leased Premises is
 5   discontinued by reason of the fire or other casualty (but not for more than eight (8) months) the
 6   rent payable under Section 4 hereof shall abate and provided further that the term of the lease
 7   then in effect shall be extended for a period equal to the period of rent abatement. Additionally, if
 8   the business operating on the Leased Premises must close for any environmental reason not
 9    caused by Ruby Tuesday, then this Lease shall continue in force and effect except that for so long
10    as the business conducted on the Leased Premises is discontinued (but not for more than eight (8)
      months) the rent payable under Section 4 hereof shall abate and provided further that the term of
12    the lease then in effect shall be extended for a period equal to the period of rent abatement.
13
14          If the buildings or other improvements located on the Leased Premises should be
15   damaged by fire or other casualty but the damage is sufficiently limited that in the reasonable
16   judgment of Ruby Tuesday the business conducted on the Leased Premises can continue to be
17   conducted in a normal manner while the buildings and improvements are being repaired, then
18   Ruby Tuesday shall repair the buildings and/or improvements and this Lease shall continue in
19   force and effect.
20
21           In the event that Ruby Tuesday shall perform the repairs and/or reconstruction required
22   by this Section 10, in accordance with all of the terms and conditions thereof, then Ruby Tuesday
23   shall be entitled to receive the entire insurance proceeds payable as a result of any damage to the
24   buildings or improvements on the Leased Premises occurring during the term of this Lease or any
25   renewal term.
26
27    11.     LIENS PERMITTED:
28
29            A. Securitv Interest in Fixtures Permitted
30
31             Ruby Tuesday shall have the right at any time to grant a security interest in any goods and
32    property of every type and description mvned by Ruby Tuesday, and installed or kept on the
33    Leased Premises. Lessor hereby consents to any such security interest and disclaims any interest
34    of any kind in any goods and property installed or kept on the Leased Premises. Lessor agrees
35    that it will, within ten (I 0) days after any written request by Ruby Tuesday, confirm the foregoing
36    consent and disclaimer in \\TIiing.
37
38            B. Leasehold Mortgages Permitted
39
4O            Ruby Tuesday may at any time mortgage, encumber, pledge or assign as security its right,
41    title and interest in and to the leasehold estate created hereby (provided, however, such
42    mortgages and other liens or encumbrances combined shall not exceed the then fair market value
43    of the aggregate of the Leased Premises, and structures and improvements made by Ruby
44    Tuesday to the Leased Premises, except in the event that said encumbrance is a part of a
45    comprehensive loan package secured by other collateral, in addition to the Leased Premises).
46    Ruby Tuesday shall give to Lessor a notice (hereinafter referred to as a "Mortgage Notice")
47    containing the name and address of a lender (hereinafter referred to as a "Mortgage Lender") to
48    which the leasehold estate created hereby has been or will be mortgaged, encumbered, pledged or
49    assigned as security, and the amount of the loan. Upon written request from Ruby Tuesday or
SO    any Mortgage Lender identified in a Mortgage Notice, Lessor will acknowledge, in \\TIiing, the
51    receipt of any Mortgage Notice which it has received.
52
53            Whenever Lessor shall give any notice to Ruby Tuesday pursuant to the Lease, Lessor
54    shall also give to any Mortgage Lender at the address of such Mortgage Lender, a duplicate copy
55    of such notice. The address of the Mortgage Lender shall be the address specified in the
56    Mortgage Notice unless changed by subsequent written notice given by the Mortgage Lender to
57    Lessor. No notice shall be effective unless it is given to all Mortgage Lenders. If at any time a
58    Mortgage Lender shall give to Lessor a written notice that it has released its lien on the leasehold
59    estate created hereby, such lender shall cease to be a Mortgage Lender for purposes hereof and no
60    further notices need be given to it.
61
62             If Ruby Tuesday shall not cure or remedy any default or breach of covenant by Ruby


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1    Tuesday under this Lease within the period provided for such cure or remedy, Lessor shall
2    thereupon give notice to that effect to all Mortgage Lenders, which shall thereupon be entitled to
3    exercise any one or more of the following rights:
4
 5                  i. To cure or remedy, or cause to be cured or remedied, within a period of time
 6   equal to the period of time allowed by Ruby Tuesday, such default or breach of covenant and
 7   Lessor shall accept such cure or remedy; and/or
 8
 9                  ii. to acquire by foreclosure or otherwise the leasehold estate created hereby and
1o   assume the obligations of Ruby Tuesday under this Lease, including those in default, and, in such
11   event, Lessor shall not exercise its right of termination with respect to such default; and/or
12
13                 iii. to require Lessor to terminate this Lease by reason of such default and enter
14   into a new lease with the Mortgage Lender for the balance of the lease term at the same rental
15   and upon the same terms, covenants and conditions as contained in this Lease.
16
17           In addition to the foregoing rights, a Mortgage Lender may, at any time permitted under
18   its loan documents, foreclose or othem~se realize upon its lien on the leasehold estate created
19   hereby and Lessor will recognize the person, firm or corporation acquiring the leasehold estate
2o   created hereby as the lessee hereunder with all of the rights and estate of Ruby Tuesday, provided
21   such person, firm or corporation agrees to assume and be bound by all of the terms, covenants
22   and conditions hereof.
23
24           Lessor further agrees that any Mortgage Lender, in order to protect its interest in the
25   leasehold estate created hereby, may exercise any right of renewal granted in Section 2 hereof to
26   Ruby Tuesday and if such right of renewal is not also exercised by Ruby Tuesday, then during
27   such renewal term as exercised by Mortgage Lender, Lessor will recognize the Mortgage Lender
28   as the lessee hereunder with all of the rights and obligations of Ruby Tuesday.
29
30           Anything in this Lease to the contrary notwithstanding, the exercise by a Mortgage
31   Lender of its right to foreclose, otherwise acquire, or realize upon its lien the leasehold estate
32   created hereby shall not relieve Ruby Tuesday of its obligations to Lessor under this Lease.
33
34   12.     LIENS NOT PERMITTED:
35
36           Ruby Tuesday shall not, at any time, suffer or permit the attachment to the Leased
37   Premises of any lien for work done or materials furnished in connection with the improvement,
38   maintenance, repair and/or alteration of the Leased Premises by Ruby Tuesday, its employees, or
39   contractors. If any such lien attaches to the Leased Premises and is not discharged or released
40   within sixty (60) days from the earlier of the date (i) of receipt by Ruby Tuesday of written notice
41   of same from Lessor, or (ii) Ruby Tuesday has actual knowledge that said lien has been filed in
42   the public deed records, Lessor may, at its option, pay to the lien claimant the amount of such
43   lien and notify Ruby Tuesday of such payment, in which event such amount shall be immediately
44   due and payable by Ruby Tuesday and shall bear interest at the rate of twelve percent (12%) per
45   annum; provided, however, that if Ruby Tuesday desires to contest said lien, Ruby Tuesday shall
46   furnish to Lessor a bond written by a surety company licensed to do business in the state in which
47   the Leased Premises are located or other security satisfactory to Lessor for an amount at least
48   equal to twice the amount of the lien for the Lessor's protection against all loss or expense,
49   including actual, reasonable attorneys' fees, on account of such asserted lien during the period of
50   contest.
51
52            Nothing in this Lease, nor any approval by Lessor of any of Lessee's construction or
53    contractors, shall be deemed or construed in any way as constituting a request by Lessor, express
54    or implied, to any contractor, sub-contractor, laborer or materialmen for the performance of any
55    labor or the furnishing of any materials for the use or benefit of Lessor. Furthermore, no such
      contractor, sub-contractor, laborer or materialmen shall have a right to lien the interest of Lessor
57    in the Leased Premises, it being understood that such parties are performing services for and on
58    behalf of Ruby Tuesday and shall have lien rights only against Lessee's leasehold interest under
59    this Lease.
60
61
62


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1       13.    USE AND OCCUPA..~CY:
2
3               Ruby Tuesday shall use and occupy the Leased Premises in a careful, safe and proper
4       manner, and will not occupy or use said premises or permit the same to be occupied or used for
5       any purpose or business which is unlawful and will, at Ruby Tuesday's sole cost and expense,
6       comply with all lawful requirements of all valid laws, ordinances, rules and regulations of all
7       governmental authorities pertaining to the use and occupancy of the Leased Premises including,
 s      without limitation, and to the extent applicable, (i) all federal, state, county, municipal and other
 9      governmental statutes, laws, rules, orders, regulations and ordinances affecting the Leased
1o      Premises or any part thereof, or the use thereof, including those which require Repairs (as
11      defined in Section 14 hereinbelow); (ii) all rules, orders and regulations of the National Board of
12      Fire Underwriters or other body exercising similar functions and responsibilities in connection
13      with the prevention of fire or the correction of hazardous conditions which apply to the Leased
14      Premises; and (iii) the requirements of all policies of commercial general liability, fire and other
15      insurance which at any time may be in force ,vith respect to the Leased Premises (items (i), (ii),
16      (iii) collectively referred to as "Laws and Regulations"). Ruby Tuesday may contest the validity
17      of any Laws and Regulations by appropriate legal proceedings conducted in good faith and with
18      due diligence, provided Ruby Tuesday shall: (i) give Lessor prior ,vritten notice of such contest;
19      (ii) Ruby Tuesday shall first make all contested payments (under protest if it desires) unless such
2o      proceeding shall suspend the collection thereof from either Ruby Tuesday, Lessor, the rent
21       payable to Lessor, or the Leased Premises; (iii) no part of the Leased Premises or any interest
22       therein or the rent under this Lease shall be subjected thereby to sale, forfeiture, foreclosure, or
23       interference; (iv) Lessor shall not be exposed thereby to any civil or criminal liability for failure
24       to comply with any such Laws and Regulations, and the Leased Premises shall not be subject to
25       the imposition of any lien as a result of such contest; and (v) Ruby Tuesday shall have furnished
26       any security required in such proceeding to ensure payment of any disputed tax, charge, lien or
27       compliance with any Laws and Regulations. Ruby Tuesday agrees that it shall pay and save
28       Lessor harmless from and against, any and all losses, judgments, decrees, and costs (including all
29       actual attorneys' fees) in connection ,,ith any such contest. Ruby Tuesday shall, promptly after
3o       the fmal determination of every contest, fully pay and discharge the amounts which shall be
31       le,ied, assessed, charged, or imposed or be determined to be payable therein, together with all
32       penalties, fines, interest, costs, and expenses resulting therefrom and will promptly comply with
33       any Laws and Regulations under which compliance is required.
34
35              The Leased Premises during the term of this Lease shall not be used for a fast-food
36      restaurant operation (i.e. a restaurant with no waiters providing table service) selling primarily
37      hamburgers, nor for a hotel or motel, nor for a convenience store. In addition, in no event shall
38      any portion of the Leased Premises be utilized for:
39                   A. an adult type bookstore (or other establishment selling or exhibiting pornographic
4O                       material);
41                   B. a massage parlor;
42                   C. a mortuary;
43                   D. a mobile home or trailer court, labor camp, junkyard, or stockyard;
44                   E. a landfill, garbage dump or other facility for the dumping, disposing, incineration
45                      or reduction of garbage (but excluding typical dumpsters for the holding of trash
46                      from the operation of a restaurant pending pickup/removal by a sanitation
47                      company);
4   s                F. any use which is illegal, excessively dangerous, or constitutes a nuisance;
49                   G. a full-service casual dining restaurant featuring steak as its primary menu item and
5O                      similar to Longhorn Steakhouse, Outback, Lonestar, Logan's, Roadhouse Grill,
51                      Texas Roadhouse, or Tumbleweed, but excluding from this restriction value-
52                      oriented restaurants featuring steak as their primary menu item similar to
53                      Bonanza, Golden Corral, Ryan's or Western Sizzler; Q!
54                   H. a gourmet coffee shop or restaurant similar to Starbucks, Seattle's Best, The
55                      Beane!}' or an establishment that sells:
56                            a. whole or freshly ground coffee beans for offsite use and consumption
57                               (excepting from this restriction grocery stores);
58                            b. espresso, espresso based coffee drinks or coffee-based drinks (excepting

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1                             from this restriction restaurants that sell such drinks for on site
2                             consumption);
3                        c. tea or tea based drinks (excepting from this restriction restaurants that sell
4                           such drinks for on site consumption);
5                         d. gourmet brand-identified brewed coffee ( excepting from this restriction
6                            restaurants that sell such drinks for on site consumption); and
 7                        e. blended beverages, including without limitation, those containing ice,
 8                           coffee, express, tea, milk, cream, juice and/or fruit (excepting from this
 9                           restriction restaurants that sell such drinks for on site consumption).
10
ll            In the event that, once the business operated by Ruby Tuesday on the Leased Premises
12    opens to the public, said business ceases to operate and remains closed to the public for six (6)
13    consecutive months ( except such time as said business may be closed in connection with
14    remodeling, renovation, repairs following a casualty or repairs following condemnation), then,
15    Lessor shall have the right to recapture the Leased Premises in accordance with the terms hereof.
16    In the event Lessor determines it will recapture the Leased Premises, Lessor shall provide notice
17    to Ruby Tuesday, which notice shall specif)• a termination date (the "Termination Date"). The
18    Termination Date shall be between 30 and 60 days following the notice to Ruby Tuesday from
19    Lessor. The Lease shall terminate on the Termination Date with the same force and effect as if
20    such date were the last day of the term of the Lease or the then-effective extension option period.
21    Both Lessor and Ruby Tuesday shall be relieved of their respective obligations under this Lease
22    as of the Termination Date. If the Termination Date is subsequent to the date which is exactly
23    two (2) years from the effective date of this Lease, then, when Lessor terminates this Lease
24    pursuant to the provisions of this Section 13, Lessor shall pay to Ruby Tuesday, on or prior to the
25     Termination Date, the unamortized net book value of the improvements placed and remaining on
26     the Leased Premises by Ruby Tuesday, as determined in accordance with generally accepted
27     accounting principles ("GAAP") prior to any Statement of Financial Accounting Standards 121,
28     as may be amended or replaced, write do\\'11, and based on the GAAP amortization policy used
29     by Ruby Tuesday. At the option of Lessor, said tenant improvements shall remain in the Leased
30     Premises and shall become the property of Lessor, except for those matters containing
31     proprietary marks of Ruby Tuesday.
32
33    14.     MAINTENANCE AND SURRENDER OF PREMISES:
34
35           At all times during the term of this Lease, including any renewals and extensions thereof,
36    Ruby Tuesday, at its sole cost and expense, shall keep the Leased Premises in good order,
37    condition, and repair, ordinary wear and tear excepted, in a clean, attractive, sanitary,
38    non-hazardous and safe condition, and shall promptly make or cause to be made any and all
39    necessary or appropriate maintenance and repairs (herein collectively referred to as "Repairs").
40    All Repairs shall be at least equal in quality and class to the original work. Lessor shall not be
41    required to make any Repairs in, on, or to the Leased Premises during the term hereof, and
42    Lessor and Ruby Tuesday acknowledge that Ruby Tuesday is in control of the Leased Premises.
43
44            Ruby Tuesday will deliver up and surrender possession of the Leased Premises to Lessor
45    upon the expiration of this Lease, any renewal or extension hereof, or its termination in any way
46    in good condition, normal wear and tear excepted, provided, however, that Ruby Tuesday shall,
47    provided Ruby Tuesday is not in material breach of this Lease, have the right to remove all trade
48    fixtures and equipment therefrom, as further provided in Section 22 hereof; provided, however,
49    that in no event shall Ruby Tuesday be prohibited from removing any items from the Leased
5o    Premises containing Ruby Tuesday's logo, trademark or any other proprietary or identifying
51    marks.
 52
 53             Subject to Section 9, Ruby Tuesday shall also have the right, at Ruby Tuesday's expense,
54     to make changes in the appearance of the improvements located on the Leased Premises, so as to
 55    alter the appearance from the appearance of the standard Ruby Tuesday restaurant. Such changes
 56    may include painting all or part of the improvements so as to change the scheme and changing
 s7    the slope and appearance of the fascia on the building.
 58
 59           Notwithstanding the amount of any work done by Ruby Tuesday under the preceding
 6o    paragraph, Lessor agrees that, unless the slope and appearance of the fascia have been modified
 61    by Ruby Tuesday prior to Ruby Tuesday returning to Lessor possession of the building


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1    constructed by Ruby Tuesday on the Leased Premises, Lessor shall, prior to the time Lessor or
2    any subsequent tenant commences to conduct business in said building, adequately modify or
3    cause any such subsequent tenant to modify the building's fascia by changing the slope of the
4    fascia or by removing the fascia, such that the building would not be mistaken for an operating
5    restaurant owned or operated by Ruby Tuesday or by any of its licensed franchisees.
 6
 7   15.     DEFAULT BY RUBY TUESDAY:
 8
 9          A.    Each of the following shall constitute an event of default (an "Event of Default")
10   by Ruby Tuesday under the Lease:
11           1. The failure of Ruby Tuesday to pay as and when due any payment of rent or
12                additional rent required under this Lease and such failure continues for a period often
13                (10) days after written notice thereof from Lessor;
14           2. The failure of Ruby Tuesday to pay as and when due any item of real estate taxes,
l5              insurance premiums or utility payments required of Ruby Tuesday to be paid under
16              this Lease and such failure continues for a period of twenty (20) days after written
17              notice thereof from Lessor;
18            3. The failure of Ruby Tuesday to pay or perform as and when due any of the other
19               agreements, obligations, covenants and conditions of this Lease to be kept, observed
2o               or performed by lessee and such failure continues for more than thirty (30) days after
21               v,ritten notice thereof from Lessor. The preceding sentence notwithstanding, if the
22               Event of Default described in this item A. 3. cannot, \,ith due diligence, be cured
23               prior to the expiration of such 30 day cure period, and if Ruby Tuesday commences
24               within such cure period to eliminate the cause of such Event of Default and proceeds
25               diligently thereafter and v,1ith reasonable dispatch to take all steps and do all work
26               required to cure such Event of Default, then the cure period shall be extended during
27               the pendency of such cure efforts;
28            4. The filing of a petition by or against Ruby Tuesday for adjudication as a bankrupt or
29               for reorganization or an arrangement under any laws of the United States or of any
3o               state pertaining to bankruptcy, and such petition is not dismissed or discharged within
31               sixty (60) days after the later of the date of filing thereof or the date Lessee is served
32               there\vith;
33            5. The commencement of any action or proceeding for (a) the dissolution or liquidation
34               of Ruby Tuesday, whether instituted by or against Ruby Tuesday, or (b) the
35               appointment of a receiver or trustee for all or substantially all of the property of Ruby
36               Tuesday, if such action or proceeding is not dismissed or discharged within sixty (60)
37               days after the later of the date of filing thereof or the date Ruby Tuesday is served
38               there·with; and
39            6. Lessee's leasehold interest shall be levied on or taken or attempted to be taken by
40               execution, attachment or other process of law, and such action is not dismissed within
41               sixty (60) days after such levy, taking, or filing;
42            7. Ruby Tuesday's making a general assignment for the benefit of creditors and such
43               action or proceeding is not dismissed or discharged \vithin thirty (30) days after the
44               date thereof.
45             B.      Upon the occurrence of an Event of Default, Lessor shall have the right, then or at
46    any time thereafter and while such default or defaults shall continue, to give Ruby Tuesday
47    written notice of Lessor's intention to terminate this Lease on a date specified in such notice,
48    which date shall not be less than five (5) days after the date of giving of such notice, and on the
49    date specified in such notice (the "Termination Date''), Ruby Tuesday's right to possession of the
5o    Leased Premises shall cease and Ruby Tuesday shall peaceably and quietly yield to and surrender
51    to Lessor the Leased Premises, and this Lease shall thereupon be terminated and all of the right,
52    title, and interest of Ruby Tuesday hereunder and in the Leased Premises shall wholly cease and
53    expire in the same manner and with the same force and effect as if the Termination Date was the
54    date originally specified in this Lease for the expiration of this Lease and the term of the Lease.
55    Ruby Tuesday shall then immediately quit and surrender the Leased Premises to Lessor, but
56    Ruby Tuesday shall remain liable to Lessor as hereinafter provided.
57             1. In the event of any termination of this Lease as so stated in B. above, or as otherwise
58                 permitted by law, or if an Event of Default shall continue beyond the expiration of
                                                                                           ,,_
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1               any grace or cure period provided herein and Lessor shall have elected not to
2               terminate the Lease, Lessor may enter upon the premises and have, repossess and
3               enjoy the same by appropriate legal proceedings. In any such event neither Ruby
4               Tuesday nor any person claiming through or under Ruby Tuesday by virtue of any
5               statue or of any order of any court shall be entitled to possession or to remain in
6               possession of the Leased Premises, but shall forthwith quit and surrender the Leased
7               Premises.
 8          2. In case of any such termination, reentry, dispossession by summary proceedings,
 9             ejectment, or othenvise, any rent and all other charges which are then due and payable
1o             up to the time of such termination, reentry or dispossession but which is then unpaid
11             shall be required to be paid by Ruby Tuesday to Lessor, and Ruby Tuesday shall also
12             pay to Lessor all expenses which Lessor may then or thereafter incur for legal
13             expenses, reasonable and actual attorney's fees, brokerage fees, and all other
14             reasonable costs paid or incurred by Lessor for restoring the Leased Premises to good
15             order and condition, for altering, decorating, repairing and otherwise preparing the
16             same for reletting, for maintaining the Premises and improvements until such
17              reletting, and for reletting the same. In exercising its rights hereunder, Lessor shall
18              have a good faith duty to mitigate its damages.
19           C.      Lessor's remedies for an Event of Default are intended to be cumulative, and the
2o   election by Lessor to pursue one or more available remedies shall not preclude Lessor from
21   electing to pursue any other remedy provided in this Lease, at law, or in equity. Lessor may, by
22   ,vritten notice to Ruby Tuesday, at its option but subject to the terms hereof, elect to do and
23   perform any one or more of the following in addition to, and not in limitation of, any other
24   remedy or right permitted Lessor by law, equity, or by this Lease:
25
26           1. Relet all or any portion or portions of the Leased Premises for any term and upon such
27              conditions as Lessor deems proper in its reasonable discretion, and receive the rent
28              therefore, and Ruby Tuesday shall pay Lessor any deficiency that may arise by reason
29              of such reletting on demand. However, Ruby Tuesday shall not be entitled to any
30              surplus so arising, except as a credit against Lessor's costs and expenses described in
31              this Section 15 and assessed to Ruby Tuesday. Ruby Tuesday shall reimburse Lessor
32              for all reasonable costs, expenses and reasonable attorneys' fees of Lessor incurred in
33              connection with the default of Ruby Tuesday; termination of this Lease; eviction of
34              Ruby Tuesday; reletting the Leased Premises and preparing the Leased Premises for
35              the new tenant or tenants, including but not limited to commissions; and/or
36           2. Do whatever Ruby Tuesday is obligated to do by the provisions of this Lease. Ruby
37              Tuesday agrees to reimburse Lessor immediately upon demand for any reasonable
38              costs and expenses, including but not limited to reasonable attorneys' fees, which
39              Lessor may incur in thus effecting compliance with this Lease on behalf of Ruby
40              Tuesday.
41          No act or thing done by Lessor or Lessor's agents or contractors during the term of this
42   Lease shall be deemed an acceptance of a surrender of the Leased Premises, and no agreement to
43   accept a surrender of the Leased Premises shall be valid, unless the same be made in writing and
44   executed by a duly authorized officer of Lessor. Any waiver of or redress for any violation of any
45   covenant or condition contained in this Lease or any Event of Default shall not prevent a
46   subsequent act or event, which otherwise constitutes a violation or default, from having all the
47   force and effect of an original violation or default. In case it should be necessary or proper for
48   Lessor to bring any action under this Lease, or to consult, or place this Lease or any amount
49   payable by Ruby Tuesday hereunder, with an attorney concerning or for the enforcement of any
50   of Lessor's rights hereunder, then Ruby Tuesday shall, in each and any such case, pay Lessor its
51   reasonable and actual attorneys' fees.
52
53           Ruby Tuesday, for itself and any and all persons claiming through or under Ruby
54   Tuesday, including its creditors, upon the termination of this Lease in accordance v,1ith the terms
55   hereof, or in the event of entry of judgment for the recovery of the possession of the Leased
56   Premises in any action or proceeding, or if Lessor shall enter the Leased Premises by process of
57   law, hereby waives any right ofredemption provided or permitted by any statute, law, or decision
58   now or hereafter in force, and does hereby waive, surrender and give up all privileges which
59   Ruby Tuesday may or might have under and by reason of any present or future law or decision, to
60   redeem the Premises.
                         '
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1    16.    WA.RRA1'i"TY OF TITLE BY LESSOR:
2
3           A.       Warrantv
4
5             Lessor hereby warrants, represents and covenants to Ruby Tuesday that: (a) at the time of
 6   the execution by Lessor of this Lease and until this Lease or other instrument giving constructive
 7   notice of this Lease is recorded, Lessor is the sole owner in fee simple absolute of the Leased
 a   Premises and the parties consenting to specific provisions of this Lease are all of the owners in
 9   fee simple absolute of Lessor's Larger Tract, and have the right to grant or consent to any
1o   easements referred to in this Lease; (b) at the time of the execution by Lessor of this Lease and
11   until this Lease or other instrument giving constructive notice of this Lease is recorded, Lessor
12   has good and marketable fee simple title to the Leased Premises free and clear of all liens and
13   encumbrances except taxes not yet due and payable and other exceptions to title which have been
14   approved in wTiting by Ruby Tuesday; (c) Lessor does warrant and will defend the title to the
15   Leased Premises and any easements referred to in this Lease, and will indemnify Ruby Tuesday
16   against any damage and expense which Ruby Tuesday may suffer by reason of any lien,
17    encumbrance, restriction or defect in the title or description herein of the premises; (d) Lessor has
18    full right and power to execute this Lease and to lease the Leased Premises and to deliver the
19    easements referred to in this Lease for the term provided in this Lease; (e) the road located
2o    behind the Leased Premises as depicted on Exhibit "G", attached hereto and incorporated herein
21    by reference has been deeded to the City of Tifton; and (f) the Sign Lease has been properly
22    signed by all of the appropriate parties and delivered to Ruby Tuesday. In case Lessor or said
23    consenting parties do not have the title and rights aforesaid, then in such event, in addition to any
24    other rights of Ruby Tuesday, this Lease shall, at the option of Ruby Tuesday, become null and
25    void, and no rent for the remainder of the term aforesaid shall become due to the Lessor, its legal
26    representatives or assigns, and all advance rents and other payments shall be returned by the
27    Lessor to Ruby Tuesday.
28
29           B.       Title Searches/Investigations
30
31           Ruby Tuesday may elect to carry-out such title searches and other investigations as it
32   deems appropriate to ascertain the state of the Lessor's title and the accuracy of the warranty set
33   out in Section 16 A. hereinabove. In pursuance of same, Ruby Tuesday may obtain, at the
34   expense of Ruby Tuesday, a title insurance policy, with endorsements, issued by a title insurance
35   company ("title insurance company") acceptable to Ruby Tuesday. Lessor agrees to cooperate
36   with Ruby Tuesday in obtaining said policy by delivering, within seven (7) days after notification
37   by Ruby Tuesday or its agent of the name and address of the title insurance company which will
38   furnish the policy, to said title insurance company at such address all title information in Lessor's
39   possession relating to the Leased Premises and thereafter any additional documents as may be
4O   required reasonably by the title insurance company to issue its policy of title insurance. Said title
41   insurance policy must insure Ruby Tuesday in the amount of TWO MILLION AND
42   00/lOOTHS DOLLARS ($2,000,000.00) that good and marketable title to the Leased Premises
43   is vested in the Lessor, \Vithout exception for any matters including matters which would be
44   disclosed by a survey and inspection and is vested in the Lessor free and clear of all liens and
45   encumbrances except taxes not yet due and payable and other exceptions to title which have been
46   approved in writing by Ruby Tuesday and insure that the leasehold estate created by this Lease is
47   vested in Ruby Tuesday, vdthout exceptions and free and clear of all liens and encumbrances
48   except as aforesaid. In the event that such searches and investigations reveal any liens,
49   encumbrances or exceptions to title other than those specified above or any state of title other
5o   than that specified above, or in the event said title insurance policy is not obtainable or shows, or
51   if issued would show, any liens, encumbrances or exceptions to title other than those specified
52    above or any state of title other than that specified above, Ruby Tuesday and/or the title insurance
53   company shall provide Lessor \vith written notice of those title matters which Ruby Tuesday
54    finds objectionable. In the event Lessor fails to satisfy Ruby Tuesday's title objections on or
55   before the expiration of the Contingency Period, then Ruby Tuesday, at its sole option, may: (a)
56    at Lessor's expense, take any steps necessary to cure such defects in or exceptions to title;
57    provided, however, Lessor's maximum expense hereunder shall not exceed TWENTY
58    THOUSAND A.~ 00/lOOTHS DOLLARS ($20,000.00); and/or (b) by v,,'Titten notice to
59    Lessor, give Lessor between thirty (30) and ninety (90) days of additional time to satisfy said title
60    objections, and/or (c) by notice to Lessor, terminate this Lease, in which event this Lease shall be
61   null and void and of no further force and effect, and any monies paid by Ruby Tuesday, whether
62    for rent or other security or deposit, shall be forthwith refunded to Ruby Tuesday and Ruby


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1     Tuesday shall be released from any obligations under the terms of this Lease.
2
3     17.    LEASED PREl\.fiSES AS PART OF A LARGER TRACT:
4
5            A.      General Covenants
6
 7            The Leased Premises are part of a larger tract of land which is described on Exhibit "H"
 8     hereto (hereinafter "Lessor's Larger Tract"). Lessor agrees that no fences or other obstructions
 9    prohibiting access to and from the Leased Premises and Lessor's Larger Tract shall be
10    constructed during the original term of the Lease and any renewal term; that Ruby Tuesday, its
11    employees, customers and invitees shall have access rights on Lessor's Larger Tract; that there
12    are sufficient parking spaces on Lessor's Larger Tract, including the Leased Premises to meet the
13    requirements of any laws, ordinances and regulations; that Ruby Tuesday, its employees,
14    customers and invitees shall have a nonexclusive easement for ingress and egress in, on and over
15    Lessor's Larger Tract to and from all streets, alleys and across ways adjacent to said Lessor's
16    Larger Tract; and that no buildings, signs, or other improvements (including, but not limited to,
17    landscaping) shall be constructed upon Lessor's Larger Tract which will reduce the visibility of
l 8   Ruby Tuesday's signs or of the Leased Premises from any access streets. Lessor agrees to keep
19    the Lessor's Larger Tract in good maintenance and repair and in a safe, clean and sanitary
2o    condition. The cost of maintaining and repairing Lessor's Larger Tract and keeping it in a safe,
21    clean and sanitary condition shall be borne solely by Lessor. All repairs, alterations and
22    maintenance of Lessor's Larger Tract shall be solely the cost of the Lessor and Ruby Tuesday
23    shall not be liable for any portion of the cost of repairs, alterations and maintenance of Lessor's
24    Larger Tract without Ruby Tuesday's prior written consent.
25
26            B. Interference \Vith Leased Premises
27
28            Notwithstanding any rights, reservations and controls resident in the Lessor in this Lease,
29    or any exhibits thereto, Lessor shall do nothing under this Lease which will (1) unreasonably
3o    limit the access to Ruby Tuesday's place of business, including, but not limited to, customer
31    accesses and service court areas as shown on the Site Plan; (2) unreasonably interfere with Ruby
32    Tuesday's business; (3) reduce the ratio of parking spaces specified in this Lease or any exhibit
33    thereto; or (4) in any manner interfere with Ruby Tuesday's exterior facade, including, but not
34    limited to, exterior walls, awnings, signs, entrances, and decorative work.
35
36            C. Temporarv Closing of Lessor's Larger Tract
37
38            Any temporary closing of the common areas of the Lessor's Larger Tract by the Lessor
39    shall not interfere with customer access to Ruby Tuesda)"s Leased Premises. In addition, any
40    temporary closing of the Lessor's Larger Tract by the Lessor to prevent the acquisition of public
41    rights shall not extend past the minimum period of time required by the State law to prevent the
42    acquisition of such public rights, or Ruby Tuesday shall be allowed to abate the payment of Rent
43    required hereunder for each day in excess of the minimum period of closing required by law.
44
45            D. Lessor's Insurance
46
47             Lessor agrees to carry, or cause to be carried, during the term, renewals or extensions
48     hereof, public liability insurance on the common areas of the Lessor's Larger Tract, providing
49     coverage of not less than Tv,;o Million (S2,000,000) Dollars against liability for injury or death,
5o     and furnish to Ruby Tuesday a certificate evidencing such coverage.
51
52             Lessor \vill indemnify Ruby Tuesday and save it harmless from and against any and all
53     claims, actions, damages, liability and expense in connection with loss of life, personal injury
54     andlor damage to property arising from or out of the common facilities, of Lessor's Larger Tract,
55     or the use thereof by Ruby Tuesday or any of its servants, agents, customers or invitees, or
56     occasioned wholly or in part by any act or omission of Lessor, its agents, contractors or
57     employees, or from the use or occupancy of other portions of the Lessor's Larger Tract by other
58     tenants, except for claims or the portion thereof caused by Ruby Tuesday, its servants, agents,
59     customers or invitees.
60
61             At all times during the term of this Lease, Lessor shall pay all premiums for and maintain
62     in effect, with a responsible insurance company or companies, policies of insurance for the


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1    benefit of Lessor and Ruby Tuesday, as their respective interest may appear, insurance covering
2    all of Lessor's Larger Tract and improvements which are part of the Lessor's Larger Tract, includ-
3    ing all tenant spaces, without limitation, to the extent of 100% of full replacement of such
4    property against all casualties included in the classification, Fire and Extended Coverage,
5    Vandalism and Malicious Mischief, and including sprinkler leakage and glass coverage. Lessor
6    shall provide Ruby Tuesday with certificates of such insurance. In the event Lessor fails to carry
7    the insurance provided for herein, such failure shall not operate to excuse the Lessor from
8    performing any obligations as if such insurance had been carried by Lessor.
 9
10          E. Ruby Tuesdav Signs
11
12           Ruby Tuesday shall have the option to erect a pylon-type sign on the Leased Premises at a
13   location to be selected by Ruby Tuesday. In addition, Ruby Tuesday shall have the right to place
14   its sign in the Ruby Tuesday Sign Easement Area, pursuant to the Sign Lease, and to place its
15   desired signage on its building on the Leased Premises.
16
17           F. Lessor's Lighting of Lessor's Larger Tract
18
19           Lessor agrees to keep the parking area adjacent to the Leased Premises on the Holiday Inn
2o   side of the Leased Premises lit as is appropriate for the Holiday Inn's 24 hour per day operations.
21
22           G. No Conflict With Other Documents
23
24           The Lessor represents and warrants that at the time of the execution of this Lease during
25   the term hereof, or any extensions hereof, that no cross-easement and/or reciprocal construction
26   operating and easement agreements and/or the Lessor's Certificate of Occupancy and/or any other
27   operating agreement and/or any other lease made by this Lessor for the Lessor's Larger Tract,
28   andior any other document, shall conflict in any respect with the terms of this Lease.
29
3O           H. Storage Trailers
31
32          Ruby Tuesday shall be permitted to place two (2) storage trailers outside the Leased
33   Premises on the Lessor's Larger Tract during Ruby Tuesday's construction period.
34
35           I. Hazardous Materials
36
37           Except as specifically enumerated in the Phase I and the Phase II, the Leased Premises,
38   the Lessor's Larger Tract, and other property involved in this Lease do not contain any asbestos,
39   ureaformaldehyde foamed-in-place insulation, polychlorinated biphenyl ("PCBs"), or any other
40   hazardous, dangerous or toxic materials or other substances, the use, possession, release or
41   disposal of which is regulated by any law, regulation, code or ordinance, including, without
42   limitation, Comprehensive Environmental Response, Compensation and Liability Act, as
43   amended, and the various properties referred to above have not been used for the production,
44   processing, burial, storage (including inground storage tanks), disposal, or release of hazardous
45   materials as referred to herein. Lessor shall save Ruby Tuesday harmless from and for any and
46   all expenses, lawsuits, government investigations, costs of removal, attorney's fees, and the like,
47   associated in any manner whatsoever with the conditions outlined herein. Lessor shall bear all
48   costs associated with removal, construction, reconstruction and the like in the event materials de-
49   scribed herein are discovered at any time prior or during the term of this Lease.
50
51            The above paragraph nomithstanding, Lessor is not responsible for nor does Lessor make
52    any representations regarding such materials being present above ground ,,ithin the structures
53    currently in place above ground on the Leased Premises. Further, Lessor shall not be responsible
54    for any such materials or damages or costs related thereto or arising therefrom which are
55    attributable to the activities of Ruby Tuesday, its agents, contractors, invitees, and employees,
56    which such costs and damages shall be the sole responsibility of Ruby Tuesday.
57
58            The parties acknowledge that there are monitoring wells located on the Leased Premises.
59    Lessor is responsible for the continued monitoring of the wells. Ruby Tuesday shall replace,
60    relocate or repair any of the monitoring wells damaged or rendered permanently inaccessible by
61    reason of construction of the Ruby Tuesday restaurant on the Leased Premises, ..
62                                                                                  ··~,._
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l             J. Lessor's Maintenance
2
3             The Lessor shall maintain the common areas of the Lessor's Larger Tract in a manner
4      consistent with the standards of a first class regional Shopping Center.
 5
 6     18.    QUIET ENJOYMENT:
 7
 8             Lessor hereby covenants and agrees that if Ruby Tuesday shall not then be in default
 .9    beyond any period for the cure thereof, Ruby Tuesday shall, at all times during the original term
lo     of this Lease and any renewal term, have peaceable and quiet enjoyment and possession of the
11     Leased Premises without any manner of let or hindrance from the Lessor or any other person,
12     firm or corporation.
13
14     19.    EI'.'VIRONMENT AL MATTERS:
15
16            A. Defmitions
17
18            For the purposes hereof, the following definitions shall apply:
l.9
20                    i. "Law or Regulation" means and includes the Comprehensive Environmental
21     Response Compensation and Liability Act ("CERCL.\" or the Federal Superfund Act) as
22     amended by the Superfund Amendments and Reauthorization Act of 1986 ("SARA") 42 U.S.C.,
23     Sections 9601-9675; the Federal Resource Conservation and Recovery Act of 1876 ("RCRA");
24     the Clean Water Act, 33 U.S.C., Section 1321, et seq.; the Clean Air Act, 42 U.S.C., Section
25     7401, et seq., all as the same may be from time to time amended and any other federal, state,
26     county, municipal, local or other statute, law, ordinance or regulation which may relate to or deal
27     with human health or the environment, including, without limitation, all regulations promulgated
28     by a regulatory body pursuant to any such statute, law or ordinance.
2.9
30                    ii. "Hazardous Substance or Materials" means asbestos, ureaformaldehyde,
31     polychlorinated biphenyls, nuclear fuel or materials, chemical waste, radioactive materials,
32     explosives, !mown carcinogens, petroleum products or other dangerous, toxic, or hazardous
33     pollutant, contaminant, chemical, material or substance defined as hazardous or as a pollutant or
34     contaminant in, or the release or disposal of which is regulated by, any Law or Regulation.
35
36             B. Representations and ·warranties
37
38            i. Except as set forth in the Phase I and in the Phase II, to the best of Lessor's !mowledge,
3 .9   Lessor represents and warrants that:
40
41                      (1)                   Intentionally omitted.
42
43                      (2)                  Intentionally omitted.
44
45                      (3)                 Other than as disclosed by the environmental reports listed in
46                              Subsection (5) hereinbelow, there are no past or present investigations,
47                              administrative proceedings, litigation, regulatory hearings or other action
48                              proposed, threatened or pending, alleging non-compliance v,ith or
49                              violation of any Law or Regulation or relating to any required
50                              environmental permits, and Lessor has not, nor has any third party on
51                              behalf of, or in privity with, Lessor, violated any Law or Regulation.
52
53                      (4)                The Leased Premises are not listed in the United States
 -".
::,                              Environmental Protection Agency's National Priorities List of Hazardous
55                               Waste Sites nor any other list, schedule, log, inventory or record of
56                               hazardous waste sites maintained by any state, federal or local agency.
57
 58                     (5)                  Lessor has disclosed to Ruby Tuesday all reports and
 59                              investigations commissioned by Lessor and relating to Hazardous
 60                              Substances and the Leased Premises. The reports and information
 61                              disclosed by Lessor to Ruby Tuesday include the follmving:
 62


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1
2                             (a)     Corrective Action Plan, Part A, dated 8/30/2002 prepared for
3                                     S\\'ifty Serve Convenience Stores, Inc. by Cobb Environmental &
4                                     Technical Services, 779B Holley Hill Drive, Tupelo, MS 38801.
5
6                             (b)     Limited Phase Il Environmental Site Assessment Report dated
7                                     5/16/03 prepared for Stafford Properties, Inc by Georgia Oilmen's
 8                                    Services, Inc. 300 Corporate Center Court, Stockbridge, GA
 9                                    30281.
10
11                            (c)      Corrective Action Plan-Part A Addendum dated 7/15/03 prepared
12                                     for Stafford RT LLC by Georgia Oilmen's Services, Inc. 300
13                                     Corporate Center Court, Stockbridge, GA 30281.
14
15                            (d)      Closure Report dated 10/10/03 prepared for Stafford RT LLC by
16                                     Georgia Oilmen's Services, Inc. 300 Corporate Center Court,
17                                     Stockbridge, GA 30281.
18
19                    (6)                There are not now any above ground or underground storage
20                            tanks located in or under the Leased Premises. The Leased Premises have
21                            never been used as a landfill.
22
23                    (7)                  Intentionally omitted.
24
25           ii. All representations and warranties herein contained shall be deemed to be continuing
26    and shall survive the expiration or early termination of the Lease.
27
28            iii. If any representation or warranty herein contained shall be, or be found to be, false,
29    inaccurate or misleading, then, provided such breach of representation or warranty substantially
30    interferes with Ruby Tuesday's use and enjoyment of the Leased Premises, Ruby Tuesday shall
31    be entitled to terminate this Lease, or to recover as damages, in addition to all other damages
32    legally recoverable, all costs and expenses incurred in correcting or remedying such error
33    including all costs of defending any regulatory or governmental action resulting from such error
34    including, without limitation, attorneys and experts fees and disbursements.
35
36    20.     PAYMENTS:
37
38            Lessor hereby covenants and agrees that, in the event Lessor shall fail to make the
39    payments on any taxes or other payments on the Leased Premises which Lessor is required to
4o    pay, Ruby Tuesday may, but shall not be required to, make such tax payments or such other
41    payments or do such acts and things as may be necessary to keep the taxes on the Leased
42    Premises from being in default, and all such sums expended by Ruby Tuesday shall become
43    inunediately due and payable to Ruby Tuesday by Lessor. When due, said sums shall bear
44    interest at the rate of twelve (12%) percent per annum and may be offset by Ruby Tuesday
45    against future rentals.
46
47    21.     DEFAULT BY LESSOR:
48
49            If Lessor shall breach any warranty or fail to perform any covenant required to be
50    performed by Lessor under the terms of this Lease and such breach or failure shall continue for a
51    period of thirty (30) days after receipt by Lessor of written notice thereof from Ruby Tuesday or
52    if Lessor shall fail to pay any sums due to Ruby Tuesday hereunder, and such failure shall
53    continue for a period of thirty (30) days after receipt by Lessor of written notice thereof from
54    Ruby Tuesday, then Ruby Tuesday may, in addition to any of Ruby Tuesday's other rights set
55    forth elsewhere in this Lease, (a) cure any default or breach of warranty of Lessor hereunder, and
56    perform any covenants which Lessor has failed to perform, and any sums expended by Ruby
 57   Tuesday in curing such default or breach of warranty and performing such covenants shall be
 58   paid by Lessor to Ruby Tuesday innnediately upon demand, shall bear interest at the rate of
 59   twelve (12%) percent per annum from the date of demand, and may be offset by Ruby Tuesday
 60   against future rentals; (b) bring suit to recover from Lessor all sums due Ruby Tuesday from
 61   Lessor together with interest at the rate of twelve (12%) percent per annum thereon; and/or (c)
 62   for a material breach which interferes with Ruby Tuesday's use and enjoyment of the Leased
                                                                                            ~,_
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Premises, declare this Lease to be terminated, in which event Ruby Tuesday shall have no
further liability hereunder.

       The preceding paragraph notwithstanding, if the default by Lessor described in this
paragraph cannot, with due diligence, be cured prior to the expiration of such 30 day cure
period, and if Lessor commences within such cure period to eliminate the cause of such default
and proceeds diligently thereafter and with reasonable dispatch to take all steps and do all work
required to cure such default, then the cure period shall be extended during the pendency of
such cure efforts.

22.    TITLE TO BlJILDINGS, IMPROVEMENTS, F1XTURES AND EQlJIPMENT:

        Trade fixtures shall be defined in this Lease to include, without limitation, and by way
of illustration only, kitchen plumbing fixtures (except sanitary plumbing fixtures), counters,
stainless steel equipment, kitchen equipment, such as ranges, display cases, refrigeration
equipment, including the machinery installed in the walk-in cooler built into the Leased
Premises, Ruby Tuesday's decorative items, air conditioning equipment, heating equipment,
boilers, cashiers' stands, tables, chairs, benches, booths, decorative, special lighting fixtures,
pictures, mirrors, decorative wall items, room partitions, Ruby Tuesday's decorative items in
the dining areas, such as chandeliers, wall ornaments, stained, beveled and leaded glass,
special doors and special lighting fixtures, and all such other fixtures or equipment as Ruby
Tuesday may, from time to time, place in or upon the Leased Premises. Any or all of Ruby
Tuesday's trade fixtures may, at Ruby Tuesday's option, be removed from the Leased
Premises from time to time and may, at Ruby Tuesday's or Lessor's option, be removed upon
the expiration of this Lease provided Ruby Tuesday is not in material breach of this Lease;
except that in no event shall Ruby Tuesday be prohibited from removing any items from the
Leased Premises containing Ruby Tuesday's logo, trademark or any other proprietary or
identifying marks.

        Title to the building and all other improvements on the Leased Premises and any
repairs, alterations, additions or improvements to said building or improvements shall be
vested in and remain in Ruby Tuesday's at all times during the original term of this Lease and
any renewal or extension thereof. Upon the expiration of this Lease, any extension or renewal
hereof, or its termination in any way, title to the building and any improvements shall
automatically pass to and become vested in the Lessor and Ruby Tuesday shall, upon request
of Lessor, execute such quit claim deed, bill of sale, or assignment as may be necessary to
evidence the transfer of such title to Lessor.

23.     INTENTIONALLY OlHITTED

24.     BROKERS:

         Lessor represents and warrants that all brokerage charges, if any, in connection with this Lease
shall be paid by Lessor. Specifically, Lessor agrees to pay Chaliff Properties the sum of THIRTY-
FIVE THOUSAND A.'ID 00/lOOTHS DOLLARS ($35,000.00), payable as follows: fifty percent
(50%) ar the end of the Contingency Period; balance due upon the Commencement Date and payment
of first installment of rent. Lessor shall indemnify and hold Ruby Tuesday harmless for any claims
made against Ruby Tuesday by any broker acting or claiming to act on behalf of Lessor. Ruby Tuesday
shall indemnify and hold Lessor harmless for any claims made against Lessor by any broker acting or
claiming to act on behalf of Ruby Tuesday over and above the above specified $35,000.00 payable to
Chaliff Properties. The indemnifications and hold harmless provisions of this paragraph include, but are
not limited to, court costs, reasonable attorney fees and other professional fees and expenses, including
the cost of any appeals.

25. APPROPRIATION:

If all or any part of the Leased Premises shall be appropriated or condemned by any public or quasi-
public authority in the exercise of its right of condemnation or eminent domain, both Ruby Tuesday
and Lessor shall have the right to prosecute a claim for an award and to share in the proceeds
of any and all awards based upon their respective interests as hereafter set forth. If all the
Leased Premises shall be appropriated or condemned, this Lease shall terminate as of the time
when possession shall be required by such public or quasi-public authority. Lessor shall be
entitled to receive that portion of any and all awards necessary to compensate it for the present

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l    value of the rents which it would have received in the future and for the present value of its
2    reversionary interest, and notwithstanding the termination of this Lease, Ruby Tuesday shall be
3    entitled to that portion of any and all awards necessary to compensate it for the value of its
4    improvements to the Leased Premises, the value of its leasehold estate and the damages which it
5    may sustain as a result of termination of the Lease prior to the end of the term, including any
6    renewal terms.
 7
 8            In the event that a part of the Leased Premises shall be taken or condemned and that: (a)
 9   the part so taken includes the building on the Leased Premises or any part thereof; or (b) the part
lo   so taken shall remove from the Leased Premises and the Ruby Tuesday Exclusive Parking Area,
11   taken as a whole, twenty-five (25%) percent or more of the total parking area thereof or more
12   than five (5) parking spaces for automobiles, whichever is greater, or (c) such partial taking shall
13   substantially limit access to the Leased Premises in a way that materially affects Ruby Tuesday's
14   intended use and enjoyment thereof, or (d) such partial taking shall result in cutting off direct
15   access from the Leased Premises to any adjacent public street or highway, or the permanent
16   closing or relocation of any street adjoining the Leased Premises to which there is direct access to
17    and from the Leased Premises materially impairs or adversely affects Ruby Tuesday's use of the
18    Leased Premises and the Lessor is unable to promptly provide Ruby Tuesday with a suitable
19    alternate means of access, in Ruby Tuesday's sole opinion, then and in any such event, Ruby
2O    Tuesday may, at any time either prior to or ,vithin a period of sixty (60) days after the date when
21    the condemning authority shall require possession of the part of the Leased Premises taken or
22    condemned, elect to terminate this Lease. In the event Ruby Tuesday elects to terminate this
23    Lease, Lessor shall be entitled to receive that portion of any and all awards necessary to
24    compensate it for the present value of the rents which it would have received in the future and for
25    the present value of its reversionary interest, and notwithstanding the termination of this Lease,
26    Ruby Tuesday shall be entitled to that portion of any and all awards necessary to compensate it
27    for the value of its improvements to the Leased Premises, the value of its leasehold estate and the
28    damages which it may sustain as a result of termination of the Lease prior to the end of the term,
29    including any renewal terms. In the event that Ruby Tuesday shall not elect to terminate this
3O    Lease or in the event that a part of the Leased Premises shall be taken or condemned under
31    circumstances under which Ruby Tuesday will have no such election, then and in either event,
32    Ruby Tuesday shall receive so much of any and all awards as is necessary to pay for repairs to
33    and alterations of the improvements on the Leased Premises for the purpose of restoring the same
34    to an economic architectural unit, susceptible to the same use as that which was in effect
35    immediately prior to such taking, and Lessor shall receive the balance, if any, of any awards. In
36    the event that this Lease shall not terminate after any part of the Leased Premises is taken or
37    condemned, there shall be a reduction in rental equal to the lesser of (a) the percentage to the
38    ground area of the Leased Premises which is taken or condemned or (b) the percentage by ,vhlch
39    the gross sales made by Ruby Tuesday at the Leased Premises during the one year following the
4o     date on which the condemning authority takes possession of part of the premises are less than the
4l     gross sales during the one year immediately preceding the date of possession by the condemning
42     authority.
43
44           In the event that ingress to and/or egress from the Leased Premises are, in a way that
45    materially affects Ruby Tuesday's intended use and enjoyment thereof, blocked or partially
46    blocked as a result of any road construction or other improvements, Lessor agrees to waive all of
47    Ruby Tuesday's obligations during such period of construction or improvement, provided that
48    Ruby Tuesday shall not be relieved from its obligation to pay taxes and other charges and to keep
49    the premises insured.
50
51    26.     SUBORDINATION AND NON-DISTURBANCE:
52
53            A.      Future Mortgages/Deeds of Trust
54
s5            This Lease shall, at the election of the Lessor, be superior or be subject and subordinate to
s6    the lien of any mortgage and/or deed of trust which Lessor may hereafter place upon the premises
57    provided that (1) if there are no defaults hereunder on the part of Ruby Tuesday the right of
58    possession of Ruby Tuesday to the Leased Premises and Ruby Tuesday's rights arising out of this
59    Lease shall not be affected or disturbed by the mortgagee 9r trustee or beneficiary under the
6o    mortgage and/or deed of trust in the exercise of any of its rights under the mortgage, deed of trust
61    or the notes secured thereby; (2) Ruby Tuesday shall not in any foreclosure or other proceeding
62    under the mortgage or deed of trust nor in any other way be deprived of its rights under this


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1     Lease, nor shall this Lease be tenninated or affected by any foreclosure or sale or any proceeding
2     under any mortgage or deed of trust; and (3) the mortgagee, trustee and/or beneficiary execute
3     and deliver to Ruby Tuesday an Agreement of Attornment and Non-Disturbance in form
 4    acceptable to Ruby Tuesday prior to the execution of the mortgage or deed of trust. Lessor
 s    agrees that in the event of any foreclosure of the mortgage or deed of trust, Ruby Tuesday shall
 6    have the right to withhold the payment of any rentals due hereunder and pay the same directly to
 7    the mortgagee or trustee in satisfaction of said indebtedness.
 8
 9            B. Presentlv Existing Mortgages/Deeds of Trust
10
11           Prior to the expiration of the Contingency Period, Lessor, at Lessor's sole cost and
12    expense, shall provide Ruby Tuesday with non-disturbance and attornment agreements in a form
13    which is acceptable to Ruby Tuesday, executed by all entities or parties presently holding
14    mortgages, deeds of trust or other liens upon the Leased Premises.
15
16    27.     ESTOPPEL INSTRUMENTS:
17
18             At any time and from time to time upon the \\ritten request of either of the parties hereto
19    or any Mortgage Lender, Lessor or Ruby Tuesday, as the case may be, shall deliver to the party
2O    requesting the same a certificate executed in recordable form stating (i) whether or not this Lease
21    is in full force and effect, (ii) whether or not any rights to renew the term of this Lease have been
22    exercised and the date on which this Lease will terminate, (iii) whether or not this Lease has been
23    modified or amended in any way and attaching a copy of such modification or amendment, (iv)
24    whether or not there are any existing defaults under this Lease to the knowledge of the party
25    executing the certificate, and specifying the nature of such defaults, if any, (v) the status of rent
26    payments and (vi) any other facts regarding the operation of the Lease which the Mortgage
27    Lender may reasonably request.
28
29    28.      ASSIGNMEJl,'T. SUBLETTING AND FRANCHISING BY RUBY TUESDAY:
30
31              Ruby Tuesday shall have the right to assign this Lease or let or underlet the whole or any
32     part of the Leased Premises without the consent of Lessor, provided that Ruby Tuesday remains
33     liable on this Lease. Notwithstanding any provision to the contrary, Ruby Tuesday shall be
34     released from its obligations under this Lease if the assignee of this Lease has a tangible net
35     worth of at least $150 Million Dollars based upon a recent audited financial statement exclusive
36     of (i) intercompany and non-trade receivables, (ii) intangible assets including without limitation
37     patents, trademarks, service marks, goodwill, etc., and (iii) construction in progress.
38
39             Notwithstanding anything contained in this Lease, Ruby Tuesday is expressly authorized,
4o     without the consent of the Lessor, to sublet the Leased Premises to an authorized franchisee,
41     pro\~ded such subletting is specifically subject to the terms of this Lease and further provided
42     Ruby Tuesday remains liable for the performance of the terms of this Lease and provided the
43     franchisee expressly assumes all obligations of the Lease. Ruby Tuesday agrees to notify Lessor
44     as to the name of the franchisee within ten (10) days after any such subletting.
45
4
.o'    29.     INJUNCTION:
47
48             In addition to all other remedies, Lessor and Ruby Tuesday are entitled to the restraint by
49     injunction of all violations, actual, attempted or threatened of any covenant, condition or
5O     provision of this Lease .
.51
 52    30,     ATTORNEY'S FEES:
 53
54            In the event of any suit, action or proceeding at law or in equity, by either of the parties
55     hereto against the other by reason of any manner or thing arising out of this Lease, the prevailing
56     party shall recover, not only its legal costs, but a reasonable attorney's fee (to be figured by the
57     Court) for the maintenance or defense of said action or suit, as the case may be.
 58
 59    31.      FORCE MAJEURE:
 60
 61          Lessor and/or Ruby Tuesday shall be excused for the period of any delay and shall n.ot be
 62    deemed in default \vith respect to the performance of any of the terms, covenants, and conditions


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1    of this Lease when prevented from so doing by cause or causes beyond the Lessor's and/or Ruby
2    Tuesday's control, which shall include, without limitation, all labor disputes, governmental
3    regulations or controls, frre or other casualty, inability to obtain any material, services, acts of
4    God, or any other cause, whether similar or dissimilar to the foregoing, not within the control of
5    the Lessor and/or Ruby Tuesday. This paragraph shall not excuse the failure to pay rent or other
6    monetary debts pursuant to this Lease as and when due.
 7
 8   32.     NON-MERGER:
 9
lo           During the term of this Lease, the leasehold estate of Ruby Tuesday shall not merge with
11   the fee simple or other estate in the Leased Premises but shall always remain separate and
12   distinct, non,ithstanding the union of all or any part of said estate either in the Lessor or Ruby
13   Tuesday, or in a third party by purchase or otherwise, unless and until all persons having an
14   interest therein, including a leasehold mortgagee, shall join in a written instrument consenting to
15   or effecting such merger.
16
17   33.     RIGHT OF FIRST REFUSAL:
18
19           From and after the effective date and during the term of this Lease hereof, Ruby Tuesday
20   shall have the right of frrst refusal and Lessor shall not sell, transfer or otherwise dispose of all or
21   part of Lessor's interest in the Leased Premises until and unless Lessor shall have: (a) obtained a
22   bona fide offer therefor; (b) given notice to Ruby Tuesday, which notice shall contain (i) the
23   name of the offeror, (ii) the address of the offeror, (iii) all of the terms and conditions of such
24   bona fide offer, and (iv) a true and accurate copy of the actual bona fide offer ("Lessor's Notice");
25   and (c) offered to sell, transfer or otherwise dispose of such interest to Ruby Tuesday at the same
26   price and, except as hereinafter provided, upon the same terms and conditions contained in said
27   bona fide offer.
28
29           If Ruby Tuesday shall either give notice of rejection of said offer to it or fail to give
3o   notice of acceptance of the same within thirty (30) days after the date of receipt of Lessor's
31   Notice, Lessor's interest in the Leased Premises may, during the ninety (90) days thereafter, be
32   sold, transferred or otherwise disposed of to the original offeror at the same price and upon the
33   same terms and conditions contained in said bona fide offer as disclosed in ,vriting to Ruby
34   Tuesday.
35
36            In the event Ruby Tuesday rejects said offer or fails to accept the same, this Lease and all
37   of its terms and conditions (including this right of frrst refusal) shall nevertheless remain in full
38   force and effect and Lessor and any purchaser or purchasers of the Leased Premises shall be
39   bound thereby.
40
41            Failure of Ruby Tuesday to exercise this right of frrst refusal on one or more occasions
42    shall not affect Ruby Tuesday's right to exercise it on any subsequent occasion. Any sale or
43    transfer of the Leased Premises, or any part thereof, other than in strict compliance with the terms
44    of this section shall be absolutely null and void and of no effect as to Ruby Tuesday, and Ruby
45    Tuesday shall be entitled to purchase the Leased Premises from the purchaser upon the same
46    terms and conditions and at the same price specified in said bona fide offer, provided Ruby
47    Tuesday notifies Lessor of its election thirty (30) days after receipt of Lessor's Notice which
48    complies with the requirements hereof. Payment of rental to such purchaser or otherwise treating
49    such purchaser as the Lessor shall not be deemed to be a waiver of any right of frrst refusal or any
5o    other right or privilege of Ruby Tuesday and shall not create an estoppel with respect thereto.
51
52            Any sale or transfer of Lessor's interest in the Leased Premises, or any part thereof, or of
53    any larger parcel of which the Leased Premises may be a part, shall be expressly made subject to
54    all of the terms, covenants and conditions of this Lease. Notwithstanding anything contained
55    herein to the contrary, in the event said offer provides for the sale and purchase of Lessor's
56    interest in the Leased Premises and other property, Ruby Tuesday shall be required to purchase
57    all of the property contained in said offer, in the event it desires to exercise its right of first
58    refusal hereunder.
59
6C           In the event Ruby Tuesday exercises its right of first refusal then, notwithstanding the
61    terms of the offer (a) Lessor shall convey title by limited warranty deed approved by Ruby
62    Tuesday and the title company; (b) title to the Leased Premises shall be free and clear of any liens


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1    and encumbrances except the lien for current taxes which are not delinquent at the time of
2    closing and such other exceptions to title as have been agreed to in writing by Ruby Tuesday, (c)
3    title to the Leased Premises shall otherwise comply with the terms of this Lease as they pertain to
4    condition of title, and (d) any easements or other rights benefiting the Leased Premises at the
5    time of closing shall be made perpetual and shall be included in the deed or in a separate
6    recordable instrument approved by Ruby Tuesday and the title insurance company insuring its
7    interest.
 8
 9          The closing for re-purchase by Ruby Tuesday must occur by the earlier of (a) ninety (90)
1o   days after Ruby Tuesday receives Lessor's Notice from Lessor, or (b) sixty (60) days after Ruby
11   Tuesday notifies Lessor of its intent to exercise its rights hereunder and repurchase the Leased
12   Premises.
13
14          Nomithstanding anything contained herein to the contrary, Ruby Tuesday shall have no
15   right of first refusal hereunder in the case of a transfer of the fee simple interest of the Leased
16   Premises behveen or among entities controlled (at least fifty percent [50%] ownership) by
17   Stafford RT, LLC, a Georgia limited liability company or Stafford Development Company.
18
19   34.      INTENTIONALLY OMITTED
20
21   35.      NON-\VAIVER:
22
23           The failure of the Lessor or Ruby Tuesday to enforce any of the right given to it under
24   this Lease by reason of the violation of any of the covenants in this Lease to be performed by
25   Ruby Tuesday or Lessor shall not be construed as a waiver of the rights of the Lessor or Ruby
26   Tuesday to exercise any such rights as to any subsequent violations of such covenants, or as a
27   waiver of any of the rights given to the Lessor or Ruby Tuesday by reason of the violation of any
28   of the other covenants of this Lease.
29
30   36.      HOLDING OVER:
31
32           In the event Ruby Tuesday remains in possession of the Leased Premises after the
33   expiration of this Lease and \\ithout the execution of a new Lease, Ruby Tuesday shall be
34   deemed to be occupying the Leased Premises as a tenant from month to month at a rental equal to
35   hvo (2) times the monthly rental provided for herein and otherwise subject to all the conditions,
36   provisions and obligations of this Lease insofar as they are applicable to month to month tenancy.
37
38    37.     RECORDABLE LEASE:
39
4o            Lessor agrees that upon request from Ruby Tuesday and prior to the expiration of the
41    Contingency Period, Lessor will promptly execute and deliver to Ruby Tuesday a memorandum
42    or short form lease (hereinafter "Memorandum of Lease") in the same form and content as the
43    Memorandum of Ground Lease attached as Exhibit "I" hereto, prepared by Ruby Tuesday, to be
44    recorded in the public office in which records relating to the Leased Premises are kept and take
45    such other and further reasonable action as may be reasonably necessary to give all persons now
46    or hereafter interested in title to the Leased Premises notice of the existence of this Lease,
47    including such terms and provisions as Ruby Tuesday deems appropriate, provided, however,
48    that unless specifically requested by Ruby Tuesday, no copy of this Lease or other instrument
49    shall be filed for record which sets forth the rental provisions contained herein. Specifically, the
5o    Lessor agrees to execute such reasonable further documentation which may be reasonably
51    required to insure that the renewal rights and rights of first refusal granted hereunder are recorded
52    on title. The parties hereto agree that the legal descriptions used in this Memorandum of Lease
53    shall, at the option of Ruby Tuesday, be those prepared by the surveyor pursuant to Section S(C)
54    hereinabove. Ruby Tuesday shall pay all costs charged by the state and county to record this
55    Memorandum of Lease.
56
s7         Nonvithstanding anything contained herein to the contrary, the parties agree that the
58    Memorandum of Lease attached as Exhibit "J" hereto is acceptable to the parties.
59
60    38.      CONSTRUCTION OF LEASE:
61
62             Words of any gender used in this Lease shall be held to include any other gender, and

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1     words in the singular number shall be held to include the plural, when the sense requires.
2     Wherever used herein, the words "Lessor" and "Ruby Tuesday" shal1 be deemed to include the
3     heirs, personal representatives, legal representatives, successors, sublessees and assigns of said
4     parties, unless the context excludes such construction.
5
6     39.     INVALIDITY OF PROVISIONS:
7
8            If any term or provision of this Lease or the application thereof to any person or
9     circumstances shall to any extent, be invalid or unenforceable, the remainder of this Lease, or the
1o    application of such term or provision to persons whose circumstances are other than those as to
11    which it is held invalid or unenforceable, shall not be affected thereby.
12
13    40.     SERVICE OF NOTICE:
14
15            Notices hereunder shall be in writing signed by the party serving the same and shal1 be
16    sent by Registered or Certified U. S. Mail, Return Receipt Requested, postage prepaid, or by
17    private express mail service, and (a) if intended for Lessor, shall be addressed to:
18
19                                      Stafford RT, LLC
20                                      1805 U.S. Highway 82 West
21                                      P.O.Box269
22                                      Tifton, Georgia 31793
23                                      Attn: President
24
25                                      with a copy to:
26                                      Stafford Properties, Inc.
27                                      80 West Wieuca Street
28                                      Suite 302
29                                      Atlanta, Georgia 30342
30                                      Attn: Mike Puckett
31
32     and (b) if intended for Ruby Tuesday, shall be addressed to:
33
34                                      Ruby Tuesday, Inc.
35                                      Attention: Legal Department
36                                      150 West Church Avenue
37                                      Maryville, Tennessee 37801
38
39     or to such other addresses as either party may have furnished to the other from time to time as a
40     place for the service of Notice. Any Notice so mailed shall be deemed to have been "given" as of
41     the time said Notice is received or refused.
42
43     41.     LESSOR REPRESENTATIONS:
44
45             The Lessor hereby warrants, represents and acknowledges the following:
46
47             A. Lessor is a duly constituted and validly existing Georgia limited liability company and
48     has the full power to carry out the transactions cont=plated by this Lease.
49
5o            B. All partnership or corporate and other proceedings required to be taken on the part of
51     Lessor to authorize Lessor to execute and deliver this Lease and to consummate the transaction
52     contemplated have been duly and validly taken.
53
54             C. Intentionally omitted.
55
56             D. The execution, delivery and performance of the Lease will not conflict in any way
57     with the applicable partnership or corporate documents, and will not conflict or result in a breach
58     or default under any note, lease, mortgage, indenture, contract or commitment to which Lessor is
59     a party or by which Lessor may be bound.
60
61            E. The title to the real property upon which the Lessor's Larger Tract and the Leased
 62     Pr=ises are located are vested in the Lessor and the Lessor's Larger Tract and the Leased
                                                                                          ,...,.
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1    Premises as described in the Lease are properly zoned for the construction and operation of the
2    business contemplated by Ruby Tuesday under this Lease.
3
4           F. Intentionally omitted.
 5
 6          G. There are no documents of record superior to the Lease other than those described in
 7   Exhibit "J", attached hereto and made a part hereof. Prior to the end of the Contingency Period,
 8   Lessor agrees to execute the Termination Agreement attached as Exhibit "K" hereto.
 9
1O           H. There are no pending or threatened lawsuits of any nature which in any way affect
11   title to the real property upon which the Lessor's Larger Tract and the Leased Premises are
12   located, affect in any way the organization or solvency of the Lessor. or in any way affect the
13   validity and enforceabilty of this Lease, or in any way affect the rights of Ruby Tuesday under the
14   terms of this Lease.
15
16          I. It is not necessary, under applicable law, that the Lease and/or a Short Form Lease be
17   recorded for the Lease to be effective.
18
19            J. This Lease does not violate or conflict in any material way with (such as, but not
2o   limited to, provisions relating to exclusives, sale of food, sale of alcoholic beverages, exterior
21   signage, hours of operation. or the like) the terms of any other Lease applicable to the Lessor's
22   Larger Tract or the terms of any reciprocal operating agreement, cross easement agreement, ·
23   restrictive covenants, or any other document.
24
25           K. Intentionally omitted.
26
27   42.     INTENTIONALLY OMITTED
28
29   43.     ESTATE IN LAND:
30
31          It is the intention of the Lessor to create, in favor of Ruby Tuesday, a leasehold estate in
32   land, which estate shall be vested in Ruby Tuesday from the date of execution hereof and shall
33   continue for the full original term and all renewal terms of this Lease. Said estate in land shall be
34   subject to divestment only by reason of Ruby Tuesday's election not to exercise its right of
35   renewal or by reason of the earlier termination of this Lease by one of the parties hereto in
36   accordance \\ith the provisions of this Lease.
37
38   44.     SURv1V AL OF LEASE COVENANTS:
39
4o          The terms, conditions and covenants of this Lease shall be binding upon and shall inure to
41   the benefit of each of the parties hereto, their heirs, personal representatives, legal
42   representatives, successors or assigns, and shall run with the land.
43
44    45.    HEADINGS:
45
46           It is understood and agreed that the headings are inserted only as a matter of convenience
47    and for reference, and in no way define, limit or describe the scope or intent of this Lease, nor in
48    any way affect this Lease.
49
50    46.    KNTIRE AGREEME!'ff:
51
52           This Lease contains the entire agreement between the parties and any agreement hereafter
53    made shall be ineffective to change, modify or discharge it in whole or in part unless such
54    agreement is in writing and signed by the party against whom enforcement of the change,
55    modification or discharge is sought.
56
57    47.     COUNTERPARTS:
58
59
60          This Lease may be executed simultaneously in several counterparts, each of which will be
61    deemed an original, but all of which together will constitute one in the same instrument.
62


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l    48.    EFFECTIVE DATE OF LEASE:
2
3           The effective date of this Lease shall b.e considered to be the date of the last execution
4    hereof as shov,n with the signatures below.
5
6    49.     HOLIDAY; NON-BUS11'1ESS DAY; OR BUSTh"ESS DAY:
7
 8           If any date set forth in this Lease is to occur on a holiday or other non-business day, or if
 9   any period of time set forth in this Lease expires on a holiday or non-business day, then such
1o   expiration date shall be extended to the next business day thereafter. As used in this paragraph
11   and in this Lease, the terms "holiday," "non-business day," and ''business day" shall have the
12   following meanings:
13
14                    i.      "holiday'' shall mean those dates upon which nationally chartered banks of
15                            the United States of America are not open for business;
16
17                    11.      "non-business day'' shall mean holidays and Saturday and Sunday; and
18
19                    iii.    "business day'' shall mean any day that is not either a holiday or a non-
20                            business day.
21
22   50.      INTENTIONALLY OMITTED
23
24
25   Exhibit "A"               Depiction of Leased Premises
26   Exhibit "A-1"             Legal Description of Leased Premises
27   Exhibit "B"               Site Plan
28   Exhibit "B-1"             Depiction of Ruby Tuesday Sign Area
29   Exhibit "C"               Sign Lease
3O   Exhibit "D"               Rent Schedule
31   Exhibit "E"               Intentionally Omitted
32   Exhibit "F"               Agreement (environmental indemnity)
33   Exhibit "G"               Road
34   Exhibit "H"               Legal Description of Lessor's Larger Tract
35   Exhibit "I"               Memorandum of Ground Lease
36   Exhibit "J''              Documents Superior to the Lease
37   Exhibit "K"               Termination of Easement
38
39
40                                         SIGNATURES ON PAGE 27
41




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     1           IN \VITNESS \\'HEREOF, the parties have caused this Lease to be executed on the
     2    date appearing together with their signatures below.
     3
     4                                                            LESSOR:
     5
     6                                                            STAFFORD RT, LLC
                                                                  a Georgia limited liability company
     1/
    /8
(    9                                                                By: Stafford Development Company
    10                                                                     a Georgia corporation
    11                                                                     Its: Managing Member
    12


                                                                      ~-~A~~
    13
    14
    15                                                                                 NEANST
    16                                                                              President and CEO
    17
    18                                                            ATTEST:
    19
    20
    21
    22
    23
    24                                                                      Date:      /,J. -/1"--(J 2
                                                                                              j
    25
    26
    27          'ESSES:
    28
    29
    30
    31
    32
    33
    34                                                            A      ST:
    35
    36
    37                                                            By:   -----"'>.-----7""""----
    38                                                                      Its: _ _,,_,,:::,.._....-
    39
    40
    41
    42
    43                                                                      RUBY TUESDAY:
    44
    45    WITNESSES:                                              RUBY TUESDAY, INC.
    46                                                            a Georgia corporation
    47
    48
    49                                                            By:----------
    50                                                              Its:. _ _ _ _ __
    51
    52
    53                                                            ATTEST:
    54
    55                                                            By:-----------
    56                                                              Its:. _ _ _ _ __
    57
    58                                                                      Date: _ _ _ _ _ __
    59
    60
    61                                   (Acknowledgments on Pages 28 and 29)



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 1                                           ACKNO\VLEDGMENTS
 2
 3   STATE OF(jf<n'.'.'%0..
 4
 5   COUNTY OF 17..£+:
 6
 7          The undersigned, a Notary Public in and for the above state and county, hereby certifies
 8   that on the     /t-/"f= day of J:)ecJvrr-.bM 20_Q_'3_, before me personally appeared DENEA."l
 9   STAFFORD, the President and CEO, of STAFFORD DEVELOPJ\.IENT COMPANY, a
10   Georgia corporation, which is the Managing Member of STAFFORD RT, LLC, a Georgia
11   limited liability company, who was known to me as the person and officer described in and who
12   executed the foregoing instrument on behalf of said corporation, and who acknowledged that he
13   held the position or title set forth in the instrument and certificate, that they signed the instrument
14   on behalf of the corporation by proper authority, and that the instrument was the act of the
15   corporation for the purposes therein stated.
16
17          IN \VITNESS ,vHEREOF, I have hereunto set my hand and affixed my official seal on
18   the day and year last aforesaid.
19
20
21
22
23
24                                                                                          [SEAL]
25
26   My Commission Expires:
27
28
29
30
31




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1           IN \VITNESS \\'HEREOF, the parties have caused this Lease to be executed on the
2    date appearing together with their signamres below.
3
4                                                            LESSOR:
5
6    \VIT!'<'ESSES:                                          STAFFORD RT, LLC
7                                                            a Georgia limited liability company
8
9                                                              By: Stafford Development Company
10                                                                  a Georgia corporation
11                                                                  Its: Managing Member
12
13
14                                                                     By:    ----------
15                                                                            DENEAN STAFFORD
16                                                                            President and CEO
17
18                                                           ATTEST:
19
20
21                                                           By: - - - - - - - - - - -
22                                                                Its:- - - - - - -
23
24                                                                     Date: _ _ _ _ _ _ __
25
26
27   WITNESSES:
28                                                           a _ _ _ _ _ _ _ _ _ _ _ __
29
30                                                           By:
31
                                                                   - Its:.
                                                                     --     -_
                                                                           __ -_
                                                                               -_-_
                                                                                  -_- - - -
32
33
34                                                           ATTEST:
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37                                                           By:
38
                                                                   - Its:
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39
40                                                                     Date: - - - - - - - -
41
42
43                                                                     RUBY TUESDAY:
44
45                                                           RUBY TUESDAY, INC.
46                                                           a Georgia corporation
47
48
49                                                           By:~
50                                                                     Its:   Chief Executive Officer
51
52
53                                                           ATTEST:
54
55                                                           By:   t-.)~',lt
56                                                                     J7ijif:ant Secretary
57
58                                                                     Date: January / S , 2004
59
60
61                                  (Acknowledgments on Pages 28 and 29)



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1    STATE OF TEJ'{NESSEE
2
 3   COUNTY OF BLOUNT
4
 5             I, the undersigned Notary Public, in and for said county and said state, hereby certify that
 6         *              and       **              whose names as     ***                 and Assistant Secr~tary,
 7   respectively, of RUBY TUESDAY, INC., a Georgia cotporation, are signed to the foregoing
 8   instrument and who are known to me, acknowledged before me on this day, that being informed
 9   of the contents of said instrument, they, as such officers and with full authority, executed the
1o   same voluntarily for and as the act of said cotporation on the day the same bears date.
11
12             Given under my hand and official seal, this the 15 day of Januarv                      2004 .
13   *         Samuel E. Beall, III
14   **        Walter G. Cole, Jr.
15   ***       Chief Executive Officer
16
17
18
19                                                                                                       [SEAL]
20
21   My Commission Expires:         11-01-04
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                             EXHlBl:f "A" TO GROONDLEASE
                             DEPICTION OF LEASED P ~




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                               LEGAL DESCRIPTION

      ALL THAT TRACT OR PARCEL OF LANO LYING AND BEING IN LANO LOTS 307
AND 308 OF THE 6TH DISTRICT, TIFT COUNTY, GEORGIA, BEING MORE
PARTICULARLY DESCRIBED AS FOLLOWS:

      COMMENCING AT THE INTERSECTION OF THE NORTHEASTERN RIGHT-OF-WAY
OF MCCORMICK DRIVE (80-FOOT RIGHT-OF-WAY) AND THE SOUTHEASTERN RIGHT-
OF-WAY OF U.S. HIGHWAY 82 (100-FOOT RIGHT-OF-Wl'.Y); FROM SAID POINT OF
COMMENCEMENT THENCE TRAVELING ALONG SAID SOUTHEASTERN RIGHT-OF-WAY
NORTH 62 DEGREES 25 MINUTES 3 SECONDS EAST, 745. 37 FEET TO A POINT
LOCATED ON SAID SOUTHEASTERN RIGHT-OF-WAY BEING THE TRUE POINT OF
BEGINNING; FROM SAID TRUE POINT OF BEGINNING, THENCE CONTINUING ALONG
SAID SOUTHEASTERN RIGHT-OF-WAY THE FOLLOWING COURSES AND DISTANCES:

      l.   NORTH    62   DEGREES   25   MINUTES   3 SECONDS EAST, 71.07 FEET;
      2.   SOUTH    27   DEGREES   34   MINUTES   57 SECONDS EAST, 10 FEET;
      3.   NORTri   62   DEGREES   25   MINUTES   3 SECONDS EAST, 10 FEET;
      4.   NORTH    27   DEGREES   34   MINUTES   57 SECONDS WEST, 10 FEET; AND
      5.   NORTH    62   DEGREES   25   MINUTES   3 SECONDS EAST, 169.20 FEET;

     THENCE LEAVING SAID SOUTHEASTERN RIGHT-OF-WAY AND TRAVELING THE
FOLLOWING COURSES AND DISTANCES:

      l.    SOUTH 27 DEGREES 34 MINUTES 57 SECONDS EAST, 48.42 FEET;
      2.    SOUTH 80 DEGREES 6 MINUTES 26 SECONDS EAST, 16.32 FEET;
      3.    SOUTH 9 DEGREES 53 MINUTES 34 SECONDS WEST, 52. 33 FEET;
      4.    SOUTH 3 DEGREES 9 MINUTES 15 SECONDS EAST, 74.96 FEET;
      5.    NORTH 80 DEGREES 17 MINUTES 40 SECONDS EAST, 24. 04 FEET;
            AND
      6.    SOUTH 9 DEGREES 42 MINUTES 20 SECONDS EAST, 283.19 FEET TO
            A POINT LOCATED ON THE NORTHERN RIGHT-OF-WAY OF BOO' S DRIVE
             (60-FOOT RIGHT-OF-WAY);

     THENCE TRAVELING ALONG SAID NORTHERN RIGHT-OF-WAY SOUTH 82
DEGREES 35 MINUTES 55 SECONDS WEST, 73.12 FEET TO A POINT LOCATED ON
SAID NORTHERN RIGHT-OF-WAY; THENCE LEAVING SAID NORTHERN RIGHT-OF-WAY
AND TRAVELING THE FOLLOWING COURSES AND DISTANCES:

      1.    NORTH 6 DEGREES 49 MINUTES 32 SECONDS WEST, 98.15 FEET;
      2.    NORTH 28 DEGREES 10 MINUTES 55 SECONDS WEST, 200.98 FEET;
      3.    SOUTH 82 DEGREES 35 MINUTES 55 SECONDS WEST, 134.93 FEET;
      4.    NORTH 27 DEGREES 35 MINUTES 25 SECONDS WEST, 34.94 FEET;
      5.    NORTH 62 DEGREES 24 MINUTES 35 SECONDS EAST, 26.71 FEET;
            AND
      6.    NORTH 28 DEGREES 9 MINUTES 7 SECONDS WEST, 45.56 FEET TO A
            POINT LOCATED ON THE SOUTdEASTERN RIGHT-OF-WAY OF U.S.
            HIGHWAY 82, BEING THE TRUE POINT OF BEGINNING.

      SAID PROPERTY CONTAINING 1.332 ACRES AND BEING DEPICTED AS TRACT
l ON THAT CERTAIN SURVEY FOR STAFFORD RT, PREPARED BY HAMPTON &
ASSOCIATES SURVEYING COMPANY, BEARING THE SEAL OF DARREL HAMPTON,
G.R.L.S. NO. 2161, DATED SEPTEMBER 26, 2003, SAID SURVEY BEING
INCORPORATED HEREIN AND MADE A PART HEREOF BY REFERENCE.


 [26] USER\Client\492\743\Exhibit A-1 - leased premises legal.doc
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                                  EXHIBIT"B"

                              srm PLAN




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                                    EXHIBIT ,r




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RUBY_ TUESDAY
PARKING SPACES
                        on_.                             EXHIBIT"&*

                                                          SI;rE PLAN


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                                      EXHIBIT "B•

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Ill
CURRENT LOCAT.ION OF
WATER &AIR STATION
& FLAGPOLE

                                                                SITE PLAN




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LOCATION OF BELOCA'IED                      elilGI
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& FLAG1'0LE

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 1                   EXHIBIT ''B-1" TO GROUND LEASE
.2
3            DEPICTION OF RUBY TUESDAY SIGN AREA
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         Case 20-12456-JTD     Doc 861-1   Filed 01/13/21       Page 43 of 114




1                        EXBlBIT "B-1" TQ GROUND LEASE
.2
 3                   DEPICTION OF RUBY TUESDAY SIGN AREA
4




                                  LEGAL DESCRIPTION

          All that tract or parcel of land lying .and being in Land Lot 308
     of the 6th District, City of Tifton, Tift County, Georgia, being more
     particularly described as follows:

           Commencing at a point at the intersection of the northeastern
     right-of-way of McCormick Drive (an 80-foot right-of-way) and the
     southeastern right-of-way of U.S. Highway 82 (a 100-foot right-of-
     way) ; from said point of commencement, thence traveling along the
     southeastern right-of-way of U.S. Highway 82 the following courses and
     distances: North 62 degrees 25 minutes 3 seconds East, 745.37 feet;
     North 62 degrees 25 minutes 3 seconds East, 71. 07 feet; South . 27
     degrees 34 minutes 57 seconds East, 10 feet; North 62 degrees 25
     minutes 3 seconds East, 10 feet; North 27 degrees 34 minutes 57
     seconds West, 10 feet; North 62 degrees 25 minutes 3 seconds East,
     169.20 feet; North 62 degrees 25 minutes 3 seconds East, 43.19 feet;
     North 62 degrees 25 m.inutes 6 seconds East, 186 feet; South 27 degrees
     35 minutes 25 seconds East, 10 feet; and North 78 degrees 32 minutes
     32 seconds East, 255.53 to a point at the intersection of the
     southeastern right-of-way of U.S. Highway 82 and the western right-of-
     way of Interstate Highway 75; thence traveling along the western
     right-of-way of Interstate Highway 75 the following courses and
     distances: South 10 degrees 4 minutes 20 seconds East, 351.76 feet and
     South 36 degrees 23 minutes 38 seconds East, 241.04 feet to the '!'RUE
     POINT OF BEGINNING.

           From said TRUE POINT OF BEGINNING, continuing along said western
     right-of-way Interstate Highway 75 South 36 degrees 23 minutes 53
     seconds East, 21.37 feet; thence leaving said right-of-way and
     traveling South 74 degrees 15 minutes 8 seconds West, 66.51 feet to a
     point; thence traveling North 15 degrees 45 minutes 9 seconds West, 20
     feet to a point; thence traveling North 74 degrees 15 minutes 27
     seconds East, 58. 97 feet to a point located on the western right-of-
     way of Interstate Highway 75 being the TRUE POINT OF BEGINNING.

          Said property being depicted as Tract 3 containing 0.029 acres as
     more particularly depicted on that certain Survey for Stafford RT,
     prepared by Hampton & Associates Surveying Co. , bearing the seal of
     Derrell Hampton, G.R.L.S. No. 2161, dated December 17, 2003, said
     survey being incorporated herein and made a part hereof by reference.
                                                            '




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1                                   EXHIBIT "C" TO GROUND LEASE
2
3                                                  SIGN LEASE
4
 5           This SIGN LEASE ("Lease") entered into by and between STAFFORD
 6    DEVELOPMENT COMPAJ.\'Y, a Georgia corporation, successor by corporate merger to
 7    Interstate Inns, Inc., whose address is 1805 U.S. Highway 82 West, P.O. Box 269, Tifton,
 s    Georgia 31793 ("Lessor") and RUBY TUESDAY, INC., a Georgia corporation, whose address
 9    is 150 West Church Avenue, Maryville, Tennessee 37801 ("Lessee"), this _         day of
10    _ _ _ _,2003.
11
12
13                                             WITNESSETH
14
15          \VHEREAS, Lessor is the O\mer of that certain parcel of land described on the attached
16    Exhibit "A", which parcel shall be referred to herein as the Leased Premises; and
17
18            \VHEREAS, Lessee desires to lease the Leased Premises from Lessor for the purposes of
19    placing, operating, and maintaining a sign ("Sign") advertising its restaurant on an adjacent
2o    parcel ("Restaurant").
2l
22            NO\V, THEREFORE, for and in consideration of the mutual covenants and obligations
23    contained herein, the receipt and sufficiency of which are hereby acknowledged, Lessor hereby
24    leases to Lessee, and Lessee hereby leases from Lessor, the Leased Premises, together with the
25    right to access, operate and maintain the Sign, pursuant to the terms and conditions set forth
26    herein, at Lessee's sole cost and expense.
27
2s           Lessor does hereby grant and convey to Ruby Tuesday, for the term of the Lease and any
29    extensions and renewals thereof, for the benefit of the Leased Premises, a perpetual, non-
3o    exclusive, uninterrupted right, privilege and easement, which right, privilege and easement shall
31    be appurtenant to and pass with the title to the Leased Premises, for the purposes of (a)
32    pedestrian and vehicular ingress and egress and (b) the right and an easement to construct,
33    maintain, relocate, enlarge, use and tap into any and all utility lines necessary to serve the Sign,
34    over and across the portion of Lessor's adjacent land depicted as "Access and Utility Easement
35    Area" on Exhibit "B".
36
37            The term of the Lease shall be identical to the term of that certain Ground Lease from
33    Stafford RT, LLC to Lessee, dated - - - - - - - ~ for the lease of the Restaurant
39    ("Prime Lease"). If the Prime Lease shall terminate for any reason, then this Sign Lease shall
4O    also terminate as of the same date. Any extension, renewal, or exercise of any option period of,
41    or with regard to, the Prime Lease shall also work to extend this Sign Lease for any identical
42    period.
43
44            If the Sign is not permitted or is ordered removed by any applicable governmental
45     agency's rule, regulation or ordinance ("Government") and Lessee is required to remove it
46     ("Removal"), then (a) if the Removal is required by the Government during the first year of this
47     Lease, Lessor shall remove the Sign (including the pole and pylons, but not the base) at Lessor's
48     expense; and (b) if the Removal is required by the Government after the first year of this Lease,
49     then Lessee shall remove the Sign at Lessee's expense (including the pole and pylons, but not the
5o     base).
51
52             Annual rental throughout the term and any extension thereof shall be $1.00 per year,
 -,
:,_    payable annually in advance to Lessor at Tifton, Georgia or such other address designated in
 54    writing by Lessor.
 55
 56            As between Lessor and Lessee, all structures, equipment and materials placed on the
 57    Leased Premises shall remain the property of the Lessor, except the sign itself which bears the
 58    name of Lessee, its successors or assigns, which shall remain the property of Lessee, its
 59    successors or assigns. Lessee is granted the right to remove its property, if any, from the Leased
 6o    Premises within ninety (90) days after the expiration of this Lease or any renewal or extension
 61    thereof. Lessee may not enlarge the sign, change the height or width of or remove the structures
 62    currently installed on the leased Premises to support the sign or othenvise alter the Leased
                                                                                                v',,~';',.._
       [28] client\492\743\lease-Execution Draft            492.743
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 1     Premises (excepting the installation of the sign itself at the top of the currently installed pole and
2      alteration to the face of the sign only if and to the extent required for Lessee to obtain its sign
 3     permits) without the written consent of Lessor, in Lessor's sole and unfettered discretion.
4
5              In the event of a condemnation or casualty affecting the Leased Premises during the term
 6     hereof, Lessee shall have the right, but not the obligation, to tem1inate this Lease, at which point
 7     all rights and obligations hereunder, including the obligation to pay rent, shall immediately cease
 8     and terminate.
 9
1O             Following the execution of this Lease, Lessee shall have the right to terminate the Lease
11     at any time prior to the commencement of the next renewal term by providing written notice of
12     such intentions.
13
14            Lessor represents and warrants that Lessor is the O\,ner of the fee simple interest in the
15     Leased Premises, and has the authority to enter into this Lease; provided, however, that Lessor
16     makes no representation with regard to whether the Lessee's sign will be permitted by the
l 7    Government.
18
19             Lessee shall be responsible at its sole cost and expense to provide any required utility
2O     services to the Leased Premises and shall maintain the Leased Premises in an attractive and first
21     class condition.
22
23             Should any provision hereof be declared invalid by a legislative, administrative or judicial
24      body of competent jurisdiction, the other provisions hereof shall remain in full force and effect
25      and shall be unaffected by same.
26
27             The parties agree to cooperate in negotiating, executing, and recording in the public deed
28      records of Tift County, Georgia a memorandum of this Sign Lease.
29
3o              All notices and approvals required or permitted hereunder shall be served by either
31      certified mail, return receipt requested, or by hand delivery, or by a nationally recognized
32      overnight delivery service, such as Fed Ex, to a party at the last !mown address of its principal
33      place of business or
34
35                       If to Lessor:                  Stafford Development Company
36                                                      1805 U.S. Highway 82 West
37                                                      P.O. Box269
38                                                      Tifton, Georgia 31793
                                                        Attn: President
40
41                       With copy to:                  Stafford Properties, Inc.
42                                                      80 West Wieuca Street
43                                                      Suite 302
44                                                      Atlanta, Georgia 30342
45                                                      Attn: Mike Puckett
46
47                       If to Lessee:                  Ruby Tuesday, Inc.
48                                                      150 West Church Avenue
ec 9                                                    Maryville, Tennessee 37801
5O                                                      Attn: Real Estate Legal
5:
52             This Lease may not be assigned by Lessee to any other party except as part of a permitted
53      assignment of the Prime Lease.
 54
 55              This Lease shall be construed under the laws of the State of Georgia .
 56
 57                                             (SIGNATURES ON PAGE__)




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 2             IN \v1TNESS WHEREOF, the undersigned hereby sets its hand and seal, on the_
 3      day of _ _ _ _ _ _, 2003.
 4


  6                                                     LESSOR:
  7
  8     \VITNESSES:                                     STAFFORD DEVELOPMENT COJ\IPAi'IY
   9                                                    a Georgia corporation, successor by corporate
:. 0                                                    merger to Interstate Inns, Inc.
11
12
13
14                                                      By: - - - - - - - - - -
15                                                           DENEAN STAFFORD
16                                                            President and CEO
17
18
19                                                      ATTEST:
20                                                      By: - - - - - - - - - - - -
21                                                      Its: - - - - - - -
22
23                                                      Date: _ _ _ _ _ _ __
24
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27
28                                                      RUBY TUESDAY:
29
3o      \VITNESSES:                                     RUBY TUESDAY, INC.
 31                                                     a Georgia corporation
 32
 33
 34                                                     By:
 ., -                                                   Its: _ _ _ _ _ __
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 36
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 38                                                     ATTEST:
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 40                                                     By:   ------------
 41                                                     Its: _ _ _ _ _ __
 42
 ~3                                                     Date: - - - - - - - -
 44:
 45

 L~
  • I    List of Exhibits:
 48
 49      Exhibit "A" - Depiction of Leased Premises
 50      Exhibit "B" - Depiction of Access and Utility Easement Area




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  1                                           EXHIBIT "A" TO SIGN LEASE
  2
                                                   Depiction of Leased Premises
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                             LEGAL DESCRIPTION

     All that tract or parcel of land lying ,and being in Land Lot 308
of the 6th District, City of Tifton, Tift County, Georgia, being more
particularly described as follows:

      Commencing at a point at the intersection of the northeastern
right-of-way -of McCormick Drive (an BO-foot right-of-way) and the
southeastern right-of-way of U.S. Highway 82 (a 100-foot right-of-
way); from said point of commencement, thence traveling along the
southeastern right-of-way of U.S. Highway 82 the following courses and
distances: North 62 degrees 25 minutes 3 seconds East, 745.37 feet;
North 62 degrees 25 minutes 3 seconds East, 71.07 feet; South. 27
degrees 34 minutes 57 seconds East, 10 feet; North 62 degrees 25
minutes 3 seconds East, 10 feet; North 27 degrees 34 minutes 57
seconds West, 10 feet; North 62 degrees 25 minutes 3 seconds East,
169.20 feet; North 62 degrees 25 minutes 3 seconds East, 43.19 feet;
North 62 degrees 25 minutes 6 seconds East, 186 feet; South 27 degrees
35 minutes 25 seconds East, 10 feet; and North 78 degrees 32 minutes
32 seconds East, 255.53 to a point at the intersection of the
southeastern right-of-way of U.S. Highway 82 and the western right-of-
way of Interstate Highway 75; thence traveling along the western
right-of-way of Interstate Highway 75 the following courses and
distances: South 10 degrees 4 minutes 20 seconds East, 351.76 feet and
South 36 degrees 23 minutes 38 seconds East, 241.04 feet to the TROE
POINT OF BEGINNING.

      From said TRUE POINT OF BEGINNING, continuing along said western
right-of-way Interstate Highway 75 South 36 degrees 23 minutes 53
seconds East, 21.37 feet; thence leaving said right-of-way and
traveling South 74 degrees 15 minutes 8 seconds West, 66.51 feet to a
point; thence traveling North 15 degrees 45 minutes 9 seconds West, 20
feet to a point; thence traveling North 74 degrees 15 minutes 27
seconds East, 58. 97 feet to a point located on the western right-of-
way of Interstate Highway 75 being the TROE POINT OF BEGINNING.

     Said property being depicted as Tract 3 containing 0.029 acres as
more particularly depicted on that certain Survey for Stafford RT,
prepared by Hampton & Associates Surveying Co. , bearing the seal of
Darrell Hampton, G.R.L.S. No. 2161, dated December 17, 2003, said
survey being incorporated herein and made a part hereof by reference.
                                                    '-




 [26) OSER\Client\492\743\Legal Description.doc                           Pagel
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                       4
                                                         EXfPR"" "B" TO SIGN~
                                                                                     -
                                                - Depiction of Access III!d Utiifty Easement J\.rea       .




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l                                       JOINDER TO SIGN LEASE
2
3
4           SOU'IH1RUST BANK, an Alabama corporation ("Lender''), being the current holder of
5    a mortgage ("Mortgage'') on the Access and Utility Easement Area (as such term is defined by
6    the foregoing Sign Lease ("Lease"), said Mortgage being evidenced for record by that certain
7    Deed to Secure Debt ("Deed") filed in Deed Book 893, Page 222, in the Office of the Clerk of
8    the Superior Court of Tift County, Georgia, hereby consents to the Access and Utility Easement
9    rights conveyed in the foregoing Lease. Lender agrees that should Lender foreclose on the
1o   Mortgage and/or otherwise come into possession of Access and Utility Easement Area by
11   foreclosure or deed in lieu of foreclosure or otherwise, then Lender shall be bound by and comply
12   with the easement rights contained in the foregoing Lease.
13
14
15                                         SOUTHTRUST BANK
16                                         an Alabama corporation
17
18                                  Bv:
19                                  Print Name:
20                                    Its:
21
22
23                                                                      (CORPORATE SEAL)
24
25
26   ATTEST:
27   Print Name:
28   I~t~s==--------------
29
30
31   Signed. sealed and delivered
32   in the presence of:
33
34
35   UNOFFICIAL WITNESS
36
37   NOTARYPUBLIC
38
39   My Commission Expires:
40
41   (Affix Notarial Seal)
42
43
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45
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47




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1                                  EXIllBIT "D" TO GROUl'.'D LEASE
2
3                                             RENTSCHEDULE
4
5
6          LEASE YEARS                            M'NUAL RENTAL           MONTHLY RENTAL
7
8          Years 1-10                                $ 67,000.00              $5,583.33
9          Years 1-20                                $ 73,700.00              S6,141.67
                         st
10         Years 21-25 (1 Option)                    S 81,070.00              $6,755.83
11         Years 26-30 (2 nd Option)                 S 87,150.00              $7,262.50
                          rd
12         Years 31-35 (3 Option)                    S 93,685.00              $7,807.10
13         Years 36-40 (4th Option)                  SI00,711.00              $8,392.58
14
15




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1                                 EXHIBIT "E" TO GROUND LEASE
2
3                                     INTENTIONALLY OMITTED




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 l                                   EXHIBIT "F" TO GROUND LEASE
 2
 3
 4
  5
  6                                                AGREEMENT

 7          This Agreement is made as of the_ day of _ _ _ ___, 2003, by and among Ruby
 8    Tuesday, Inc., a Georgia corporation; Stafford RT, LLC, a Georgia limited liability company
 9    ("SRT"); and Stafford Development Company, a Georgia corporation ("Stafford').
lC
l l           WHEREA.S, SRT is the ov;,ner ofreal property located at 1306 U.S. Highway 82 West in
12    Tifton, Georgia as is described in the attached Exhibit "A" (the "Property''); and
13
14           WHEREAS, petroleum products or substances containing petroleum constituents have
15    been detected on the Property, including without limitation one or more of: benzene, toluene,
16    ethylbenzene and xylenes; and
17
18          \VHEREAS, Ruby Tuesday, Inc. will not lease the Property unless SRT enters into this
19    Agreement and unless Stafford guarantees SRT's performance hereunder; and
20
21           WHEREAS, the parties desire to cooperate for their mutual benefit and to allow Ruby
22    Tuesday, Inc. and its successors-in-title to secure the full benefits of its leasehold ownership, use,
23    and occupation of the Property;
24
25            NOW THEREFORE, in consideration of the promises and mutual covenants and
26    agreements hereinafter set forth, and for other good and valuable consideration, the receipt and
27    sufficiency of which is hereby acknowledged, and with Stafford and SRT acknowledging that
28    Ruby Tuesday, Inc. has and will rely upon this Agreement in agreeing to lease the Property, the
29    parties do hereby agree as follows:
30
31    ARTICLEI
32    DEFINITIONS
33
34            For purposes of this Agreement the following terms shall have the following meanings:
35
36            "Constituents" means petroleum products and materials containing petroleum
37    constituents, released at the Property, and which include, without limitation, benzene, toluene,
38    ethylbenzene, xylenes and MTBE.
39
4C            "Environmental Claim" means any claim for personal injury, property damage, or
41    reimbursement of costs for assessment, monitoring, cleanup or waste disposal (including
42    consultants,' laboratories,' attorneys' and experts' fees) relating to the Constituents made,
43    asserted or prosecuted by or on behalf of a third party, including, without limitation, any
44    governmental entity, employee, former employee, tenants, invitees, customers, adjacent or
45    impacted property O\\ner or lessee, or their respective legal representatives, heirs, executors,
46    successors and assigns.
47
48            "Environmental Cleanup Liabilir</' means any direct, non-consequential, out-of-pocket
49    cost or expense incurred to assess, monitor, contain, remove, remedy, treat, clean up or abate any
5o    Constituents and any environmental media impacted by the Constituents, including soil and
51    groundwater impacted by the Constituents, but only if and to the extent required by
52    Environmental Law, or regulatory enforcement officials acting under or pursuant to any
53    Environmental Law, including, without limitation:
54
55             (a) Any direct, non-consequential, out-of-pocket cost or expense for investigation, study,
56                 assessment, cost recovery by governmental agencies, or on-going monitoring of the
57                 Property in connection therewith; and
 58
 59            (b) Any direct, non-consequential, out-of-pocket cost, expense, loss or damage incurred
 6o                with respect to the Property as a result of actions or measures necessary to implement
 61                or effectuate any assessment, monitoring, contaimnent, removal, r e m e d ~ ,._


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1                treatment, cleanup, waste disposal or abatement.
2
3            (c) Any direct, non-consequential, out-of-pocket cost or expense for disposal of
 4               Constituents or soil, groundwater or other environmental media impacted by the
 5               Constituents during development acti,ities.
 6
 7           Environmental Cleanup Liability shall include, \,ithout limitation, the reasonable and
 s    actual direct, non-consequential, out-of-pocket fees of attorneys, consultants, engineers,
 9    geologists, laboratories and other experts. Environmental Cleanup Liability shall also include
1o    any penalties or fines imposed by any federal, state, or local government agency v,ith respect to
11    the Constituents. Emironmental Cleanup Liability shall also include any liens against the
12    Property relating to the Constituents and any failure or defect in title to the Property occasioned
13    by the migration or presence of the Constituents or failure of SRT to comply with any
14    Environmental Law. Environmental Cleanup Liability shall not include any of the above
15    referenced costs, claims, and expenses to the extent same are solely attributable to the acts or
16    omissions of Ruby Tuesday, Inc,, its agents, contractors, employees, customers, vendors,
l 7   invitees, and licensees, in material violation of any provision of the lease to which this
18    Agreement is attached as Exhibit "F" (the "Lease") or any provision of applicable Emironmental
19     Law.
20
21            "Environmental Law" means any applicable federal, state, or local statute, ordinance,
22    rule, regulation, order, consent decree, judgment or commonclaw doctrine (including, without
23    limitation, nuisance or trespass), and interpretation thereof, as amended, and pro,isions and
24    conditions of permits, licenses and other operating authorizations relating to pollution or
25    protection of human health, welfare or the environment, including natural resources or which
26    may affect or regulate the Constituents, as amended, which are now or may hereafter become in
27    effect.
28
29            "lndemnitee" or "Indemnitees" means Ruby Tuesday, fuc. as well as its officers,
3O    directors, employees, agents, representatives, successors, assigns, and successors-in-title \vith
31    respect to all or any portion of the Property. "Indemnitee" or "fudemnitees" shall also include
32    any lender taking title to, or a security interest in, the leasehold estate of Ruby Tuesday, Inc., its
33    successors and assigns, relating to the Property, or any portion thereof, or the improvements on
34    the Property.
35
36           "SRT" means Stafford RT, LLC, a Georgia limited liability company, and its successors
37    and assigns.
38
39           "Stafford" means Stafford Development Company, a Georgia Corporation, and its
4o    successors and assigns.
41




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1                                                      ARTICLE II
2                                                 Il\'DEl\.INIFICATION
3
4                A. During the term of the lease, including any renewals or permitted extensions thereof,
5                   and for a period of one (1) year follov,ing the termination or expiration of the lease,
 6                  SRT shall reimburse, defend, indemnify and hold harmless Indemnitees from and
 7                  against the following arising out of or in any way related to the Constituents:
 8
 9                   1. Environmental Cleanup Liability;
10
11                   2. Environmental Claims; and
12
13                   3. Fines and penalties assess, levied or asserted against Indemnitees as a result of a
14                        violation or alleged violation of any Environmental Law arising from the
15                        Constituents or the acts or omissions ofSRT.
16
17               B. lndemnitees shall notify SRT prior to giving any notice required by any
18                   Environmental Law relating to the Constituents. Failure by Indemnitees to give
19                   timely notice under this part shall not relieve SRT of any obligations under this
2O                   Agreement, unless the Environmental Claim or Environmental Cleanup liability arises
21                   out of the Indemnitees failure to timely give such notice.
22
23               C. This Agreement is between the parties hereto only, and nothing contained in this
24                  Agreement shall be construed as an admission of liability by any party to any other
25                  person or entity. No third party beneficiaries are intended or created hereby.
26
27         ARTICLE Ill
28         DISCHARGE OF ENVIRONMENTAL CLAIMS
29
30                A. In the event that Indemnitee notifies SRT of any claim that is subject to an
31                   indemnification obligation under Article II, SRT shall, within thirty (30) days from
32                   the date of receipt of notice, acknowledge and assume the liability asserted. During
33                   the thirty (30) day period, Indemnitee shall take no action nor incur any expense with
34                   respect to the claim, except to the extent that such action or expense is: (1) legally
35                   required; or (2) reasonably necessary under the circumstances to prevent imminent
36                   and substantial endangerment to human health or the environment.
37
38                B. SRT shall have the right and obligation to control, manage and direct all discussions,
39                   proceedings and activities regarding the satisfaction or discharge of any claim which
4o                   is assumed by SRT or any liability or obligation that such a claim seeks to impose on
41                   SRT.
42
43                C. Each Indemnitee shall have the right, at its own expense, to consult with SRT,
44                   through counsel or otherwise, with respect to all meetings and proceedings with
45                   adverse parties or governmental authorities and with respect to all activities pertaining
46                   to any matter related to this Agreement. SRT shall consult with Indemnitees prior to
47                   initiating or participating in any meeting or proceeding in which decisions or
48                   discussions reasonably anticipated to involve Environmental Law issues which could
49                   be materially adverse to Indemnitees, or which may materially interfere with
5o                   Indemnitees intended use of its leasehold estate in the Property, may be made. This
51                   right of consultation shall not apply to privileged confidential meetings or documents
52                    or those documents subject to the attorney's work product doctrine. Each Indemnitee,
53                    or its designated representatives, shall have the right to participate in such meetings or
54                   proceedings.
55
 56        ARTICLE IV
 57        REMEDIATION OF SOIL A...ND GROUNDWATER CONTAMINATION
 58
 59                A. If and to the extent required under the Environmental Laws applicable to USTs, as
 60                   enforced by the Georgia Environmental Protection Division ("EPD"), SRT shall
 o' 1...              remediate any Constituents on the Property or any adjacent or other impacted property
 62                   ("adjacent property") in accordance with EPD direction and approval and in


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 l              accordance with the Georgia Underground Storage Tank ("UST") Management Act
 2              and Regulations, and any other applicable Environmental Law. It shall be SRT's
 3              responsibility to obtain all necessary permits, approvals or authorizations necessary to
 4              carry out SRT' s obligations hereunder.

 5          B. If and to the extent required to resolve any nuisance or trespass claim brought or made
 6             against Indernnitee by any person or entity, SRT shall remediate any Constituents on
 7             the Property or any adjacent or other impacted property ("adjacent property") to the
 8             extent required by Emironmental Law including, but not limited to, a binding and
 9             non-appealable court order.
10
11          C. If and to the extent required under the Em,ironmental Laws applicable to USTs, as
12             enforced by the EPD, SRT shall initiate corrective action in accordance with any
13             Corrective Action Plan ("CAP") submitted by SRT to and approved by the Georgia
14             EPD. If the approved CAP so requires, SRT shall remediate any groundwater
15             contamination related to the Constituents at the Property in excess of the Georgia In-
16             stream Water Quality Standards established in Chapter 391-3-6-. 03 of the Official
l 7            Rules and Regulation of the State of Georgia or other standard as may be established
l 8            in the future by EPD,
19
2o           D. If and to the extent required under the Environmental Laws applicable to USTs, as
21              enforced by the EPD, SRT shall comply \,·ith any and all requirements or conditions
22              EPD may impose as conditions precedent to CAP approval, if any, and shall carry out
23              the CAP promptly upon approval of the CAP by EPD. SRT shall commence work
24              required by the CAP no later than thirty (30) days after EPD approves the plan, and
25              perform work in accordance with the schedule contained within the CAP. SRT shall
26              promptly submit to Indemnitees copies of all reports or notices that SRT submits to
27              EPD in the course of preparing and complying with the CAP, and shall notify
28              Indernnitees when SRT has completed all of its obligations under the CAP.
29
3o           E. SRT shall make reassemble efforts to promptly repair any and all damage to the
31              Property and any improvements located thereon occasioned by activities relating to
32              this Agreement, and shall make reassemble efforts to restore the Property to its former
33              condition, normal wear and tear excepted. Any monitoring wells on the Property
34              shall be closed in accordance with applicable regulations promptly upon completion
35              ofSRT's remediation/assessment/monitoring obligations hereunder.

37           F. SRT shall reimburse, defend, indemnify, and hold harmless Indemnitees and their
38              lenders from and against all claims, demands, actions, and causes of action of any
39              kind whatsoever arising out of or relating to any negligent act or omission by SRT, or
4o              any employee, contractor, subcontractor, or any other person or entity working on
41              behalf of SRT, when performing work under this Article IV.
42
43    ARTICLE V
44                                      ACCESS AND COOPERATION
45
46           A. SRT acknowledges that Ruby Tuesday, Inc. intends to lease the Property and to
47    develop the Property pursuant to the terms and conditions of the Lease, which development may
48    include, without limitation, the construction of a restaurant.
49
5o            B. In order to assist the parties in fulfilling their respective obligations under this
51    Agreement, Indemnitees will afford SRT and its employees, agents, and contractors, upon
52    reasonable notice, and subject to the rights of tenants, if any, reasonable access to the Property
53    including, but not limited to, the right to enter upon, photograph, investigate, drill wells, take soil
54    borings, remediate, monitor and test; provided that, such access may be conditioned or restricted
55    as may be reasonably necessary to protect the development and operation of the Property
56    (including showing the improvements on the Property for sub-lease), to ensure the safety of
57    personnel (including employees, tenants, invitees, licensees, and customers) and facilities or to
58    protect confidential or privileged information. SRT shall use reasonable efforts to minimize any
59    interference ;vith Indemnities free and ready access and use of and to the Property pursuant to the
60    terms of the Lease.
61
                                                                                   ~,....
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l               C. IfSRT conducts a cleanup, it shall sign as the generator, all manifests and shipping
2        documents relating to transportation, disposal or recycling of Constituents and/or contaminated
3        media, whether from site investigation, or remediation.
4
5        ARTICLE VI
6        ~flSCELLANEOUS
7
 s              A. SRT agrees that this Agreement shall inure to the benefit of and may be enforced by
 9       lndemnitees, their successors, assigns, and any successors-in-title to all or any portion of the
lo       leasehold estate conveyed to Ruby Tuesday, Inc. pursuant to the Lease, including any lender
11       holding any lien, mortgage, security deed or other interest in the leasehold estate, the
12       improvements on the Property, or any portion thereof, to secure the repayment ofa debt. This
13       Agreement shall be enforceable jointly and severally against SRT and any related party of SRT to
14       which SRT transfers or assigns both the Lease and its obligations hereunder.

15               B. Stafford hereby acknowledges and agrees that this Agreement is to the direct benefit
16       of Stafford, as managing member of SRT. Stafford hereby irrevocably and unconditionally
17       guarantees the due and prompt performance of all obligations ofSRT under this Agreement, and
1s       further agrees that upon any breach by SRT of any ofits obligations under this Agreement,
19       Stafford shall, upon demand from any lndemnitee, promptly pay any amounts due from SRT
2o       under this Agreement and promptly perform, or cause SRT to promptly perform, any obligations
21       thereunder. In the performance of SRT's obligations hereunder, Stafford shall assume all the
22       rights and responsibilities of SRT under this Agreement. This guaranty shall be effective upon
23       the effective date of this Agreement and shall surviYe termination of this Agreement. Stafford
24       acknowledges and agrees that it has received adequate consideration for this Agreement, that
25       Ruby Tuesday, Inc. has relied and will rely on the covenants and agreements herein and that the
26       execution and delivery of this Agreement is an essential condition but for which Ruby Tuesday,
27       Inc. would not agree to lease the Property.

28                C. SRT' s obligations hereunder shall in no way be impaired, reduced or released by
29        reason of any lndemnitee's omission or delay to exercise any right described herein, unless SRT
3O        is prejudiced by such delay.
31
32                D. This Agreement is the sole agreement between the parties regarding the subject matter
33        of this agreement.
34
35                E. Any and all notices, requests, transmittals, demands or other communications
36        permitted or required to be made under this Agreement shall be in vaiting, signed by the party
37        giving such notice or other communication, and shall be delivered personally, or sent by
38        registered or certified mail, to the other party at the address set out below, or at such other
39        address as may be supplied in ,vriting. The addresses set out below may be changed by providing
4o        notices as provided herein. Nothing in this paragraph shall be construed to require any notice
41        from any lndemnitee to SRT not otherwise specifically pro,ided for under this Agreement.
42
43        If to Rubv Tuesdav, Inc.:                           If to Stafford RT, LLC or Stafford
44                                                            Development Company:
45
46        Walter G. Cole Jr., Esq.                             Steve Edwards, COO
47        Ruby Tuesday, Inc.                                   Stafford Development Company
48        150WestChurchAvenue                                  1805 U.S. Hwy. 82 West
,;9       Maiy,ille, Tennessee 37801                           P.O.Box269
5o        (865) 379-5700                                       Tifton, Georgia 31793
 51                                                            (229) 386-0552
 52
 -".,-     cc: Joan B. Sasine, Esq.                            cc: John C. Spinrad, Esq.
 54            Powell, Goldstein, Frazer & Murphy LLP              Arnall Golden Gregory LLP
 55            191 Peachtree Street, 16°" floor                    1201 West Peachtree Street, Suite 2800
 56            Atlanta, Georgia 30303                              Atlanta, Georgia 30309-3450
 57            (404) 572-6647                                      (404) 873-8666
 58
 59
 6o                F. This Agreement and the legal relations of the parties shall be governed by the laws of
 6l        the State of Georgia applicable to agreements negotiated, executed, delivered, and fully

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1   performed in such State.
2
3           G. All provisions of this Agreement are severable and invalidity or unenforceability of
4   any provision shall not affect or impair the validity or enforceability of the remaining provisions
5   of this Agreement.
6
7
8                           [SIGNATURES BEGIN ON FOLL0\1/ING PAGE]




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1        IN \.VITNtSS ViHEREOF, this Agreement has been executed on the date written above.
2
3    As to Stafford RT, LLC                             SRT:
4    Signed, sealed and delivered
5    in the presence of:                                STAFFORD RT, LLC, a Georgia
6                                                       limited liability company
 7
 8   Witness                                            By:    Stafford Development Company,
 9                                                             a Georgia corporation, it's
10                                                             managing member
11
12   Notary Public
13   State Of Georgia                                          By:_ _ _ _ _ _ _ __
14   County Of Tift                                               DeNean Stafford, President
15
16   My Commission Expires:_
17   ________                                                          [CORPORATE SEAL]
18
19   [NOTARIAL SEAL]
20
21
22
23
24
25                        [SIGNATIJRES CONTINUED ON FOLLOVi'ING PAGE]
26
27




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1    As to Ruby Tuesday, Inc.                            INDEMNITEE:
2    Signed, sealed and delivered
3    in the presence of:                                 RUBY TUESDAY, INC
4
5
6    Witness
7                                                        By:_ _ _ _ _ _ _ _ __
8                                                        Print Name:._ _ _ _ _ _ __
9                                                        Title:_ _ _ _ _ _ _ _ _ __
1o   Notary Public
11   State Of _ _ _ _ _ __
12   County Of _ _ _ _ __                                            [CORPORATE SEAL]
13
14   My Commission Expires:_
15
16
17   [NOTARIAL SEAL]
18
19
20
21
22                         [SIGNATURES CONTINUED ON FOLLOWING PAGE]
23
24




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 l       As to Stafford Development Company                  STAFFORD:
 2       Signed, sealed and delivered
 3       in the presence of:                                 STAFFORD DEVELOPMENT
 4       COMPANr',
 5                                                           a Georgia corporation
 6
    7    Witness                                                    By:_ _ _ _ _ _ _ __
    8                                                               DeNean Stafford, President
    9
:. O     Notary Public
l l      State Of Georgia                                           [CORPORATE SEAL]
12       County Of Tift
13
14       My Commission Expires:
15
:6
1    ~
         [NOTARIAL SEAL]
- I
18
19
20




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        •            [.TKEROAD;




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      1                                                EXHIBIT "H" TO GROUND LEASE
      2
      3                      LEGAL DESCRIPTION OF LESSOR'S LARGER TRACT

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1                                   EXHIBIT "H" TO GROUND LEASE



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2
3                    LEGAL DESCRIPTION OF LESSOR'S LARGER TRACT
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                       5.786 oci-es In Land Lol 308       h'l···ttle- 6th Lon.d Olstrk:t of'Tlft .Coun!y."GeorgtO, ·and o ·
                       po,.:~ion-· in th0 City of Tifton. mo'.e fully doscilbed as (ofloWa:              · ·            ··
                       ·cc»,O.!ENCE ot- the intersection of- the west Lond Lot line of Land Lol 308 ond the °S®th
                        righl-of-woy line of V.S. }lfghwoy 82: thence run· North 62 -degrees 2S mini.Iles 0.3
                        seconds East 216.00 feel to lhe POlNT OF BtCmNJNO; thence ·Nortt-i 52 _degrees 25
                        minutes OJ seconds Eo.st 186.00 tHt to o point; thence Sou\h 27 degren 34 min.'Jtes 57                                   ;
                        seconcl:s £ost 10.00 fee! to a potnt: thence_ North 78 d~ren 32 minutes .36 .aecond:s East
                        255.53 fHl to o point ond the west- right of woy llne of lnlerttote 75; thence South JO .
                        degree-s 04 mtnules 24 seconds Eost 351.76 feet 0t0!'9 the west rl9ht ol woy Hoe of ·. .
                        lnterattite 75 to o point; lhtnce South JS degree.i 23 m#'lutu 35 seconds Eost 2,-4l,04 feet
                         lo a point on ttle west right of way line of Interstate 75; thence Soyth /4 degree-, 15
                       minutes 0G second,i West 58.97 feet lo o pofflt: lhe11ce Sc>uth 15 d~ree.s 4'4- minutes 54
                       seconds East 20.00 feel lo o point: ther\ce North 74 degrees IS miru1te:1 06 1eeonds E:ost
                       66.51 feet t~- O' pofot on the· west right- of woy Jfne of Jnlertlote 75; th'enc:e South J6 .
                       4egrees 23 mlnutH 35 second# Eost 10,29 fHt to o point;. thence $,Quth 22 degrees 07
                       minutes 35 seconds East tS.99 ·feet to.. o p.olnl on the west right of woy Jine of lnlerstot•
                       75: lhence Sovlh 81 degrees_ JS minutes 22 seconds WEST 5'J4.48 fee-t to a polnt; lhenc:·•
                       North 10 degrees 38 mfnute.s OS ·seconds West 146.59 teet to o point:· lhenc:e North 82
                       degrees JS minutes 55 seconds East- t9.00 feet to o point; thence North 01 degree- 54
                       minutes OS. se-conds West 218.86 f•et to O point.: thcnc,a Norlh 32 degrees 22 m'inutet 05
                       second,- Wc,,-t 205.02 feet lo the POINT OF SECfNNING.                                ·



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                                                                                 GWEN C. PATE, C1'£!lK




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l                               EXHIBIT "H" TO GROUND LEASE
2
3                    LEGAL DESCRIPTION OF LESSOR'S LARGER TRACT
                 •




                                       LEGAL DESCRIP'l'ION

         All that tract or parcel of land lying Jmd being in Land Lot 308
    of the 6th District, City of Tifton, Tift County, Georgia, being 1DOre
    particularly described as follows:

           Co1D111encing at a poj,nt at the l.ntersection of the northeastern
    right-of-way of McCoxm:ick Drive (an SO-foot right-of-way) and the
    southeastern right-of-way of U.S. Highway 82 (a 100-foot right-of-
    way); from said point of commencement, thence traveling along the
    southeastern right-of-way of U.S. Highway 82 the following courses and
    distances: North 62 degrees 25 minutes 3 seconds East, 745.37 feet;
    North 62 degrees 25 minutes 3 seconds East, 71.07 feet; South. 27
    degrees 34 minutes 57 seconds East, 10 feet; North 62 degrees 25
    minutes 3 seconds East, 10 feet; North 27 degrees 34 minutes 57
    seconds West, 10 feet; North 62 degrees 25 minutes 3 seconds East,
    169.20 feet; North 62 degrees 25 minutes 3 seconds East, 43.19 feet;
    North 62 degrees 25 minutes 6 seconds East, 186 feet; South 27 degrees
    35 lllinutes 25 seconds East, 10 feet; and North 78 degrees 32 minutes
    32 seconds East, 255.53 to a point at the intersection of the
    southeastern right-of-way of U.S. Highway 82 and the western right-of-
    way of Interstate Highway 75; thence traveling along the western
    right-of-way of Interstate Highway 75 the following courses and
    distances: South 10 degrees 4 minutes 20 seconds East, 351.76 feet and
    South 36 degrees 23 minutes 38 seconds East, 241.04 feet to the '.rRtlE
    POINT OF BEGINNING.

           From said TROE POINT OF BEGINNING, continuing along said western
     right-of-way Interstate Highway 75 South 36 degrees 23 minutes 53
     seconds East, 21.37 feet; thence leaving said right-of-way and
     traveling South 74 degrees 15 minutes 8 seconds West, 66.51 feet to a
     point; thence traveling North 15 degrees 45 minutes 9 seconds West, 20
     feet to a point; thence traveling North 74 degrees 15 minutes 27
     seconds East, 58 .97 feet to a point located on the western right-of-
     way of Interstate Highway 75 being the TROE l'OINT OF BEGINNING.

          Said property being depicted as Tract 3 containing 0.029 ac~ as
     more particularly depicted on that certain Survey for Stafford RT,
     prepared by Hampton & Associates surveying Co. , bearing the seal of
     Perrell Hampton, G.R.L.S, No. 2161, dated December 17, 2003, said
     survey being incorporated herein and made a part hereof by reference .
                                                                 ....




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1                                   EXHIBIT "H" TO GROUND LEASE
.i
3                    LEGAL DESCRIPTION OF LESSOR'S LARGER TRACT




                                                                    U:SS AND EXCEl:'l'

                                              LEGAL DESCRIPTION

           ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 307
     AND 308 OF THE 6" DISTRICT, TIFT COUNTY, GEORGIA, BEING MORE
     PARTICULF.RLY DESCRIBED AS FOLLOWS:

           COMMENCING AT THE INTERSECTION OF THE NORTHEASTERN RIGHT-OF-WAY
     OF MCCORMICK DRIVE (80-FOOT RIGHT-OF-WAY) AND THE SOUTHEASTERN RIGHT-
     OF-WAY OF U.S. HIGHWAY 82 {100-FOOT RIGHT-OF-WAY); FRO!~ SAID POINT OF
     COMMENCEMENT THENCE TRAVELING ALONG SAID SOUTHEASTERN RIGHT-OF-WAY
     NORTH 62 DEGREES 25 MINUTES 3 SECONDS EAST, 745.37 FEET TO A POINT
     LOCATED ON SAID SOUTHEASTERN RIGHT-OF-WAY BEING THE TRUE POINT OF
     BEGINNING; FROM SAID TRUE t'OINT OF BEGINNING, THENCE CONTINUING ALONG
     SAID SOUTHEASTERN RIGHT-OF-WAY THE FOLLOWING COURSES AND DISTANCES:

              1.      NORTH        62   DEGREES   25   MINUTES   3 SECONDS EAST, 71.07 FEET;
             2.       SOUTH        27   DEGREES   34   MINUTES   57 SECONDS EAST, 10 FEET;
             3.       NORTH        62   DEGREES   25   MINUTES   3 SECONDS EAST, 10 FEET;
              4.      NORTH        27   DEGREES   34   MINUTES   57 SECONDS WEST, 10 FEET; AND
              5.      NORTH        62   DEGREES   25   MINUTES   3 SECONDS EAST, 169.20 FEET;

          THENCE LEAVING SAID SOUTHEASTERN RIGHT-OF-WAY AND TRAVELING THE
     FOLLOWING COURSES AND DISTANCES:

              1.       SOUTH 27 DEGREES 34 MINUTES 57 SECONDS EAST, 48.42 FEET;
              2.       SOUTH 80 DEGREES 6 MINUTES 26 SECONDS EAST, 16.32 FEET;
              3.       SOUTH 9 DEGREES 53 MINUTES 34 SECONDS WEST, 52. 33 FEET;
              4.       SOUTH 3 DEGREES 9 MINUTES 15 SECONDS EAST, 74.96 FEET;
              5.       NORTH 80 DEGREES 17 MINUTES 40 SECONDS EAST, 24. 04 FEET;
                       AND
              6.       SOUTH 9 DEGREES 42 MINUTES 20 SECONDS EAST, 283.19 FEET TO
                       A POINT LOCATED ON THE NORTHERN RIGHT-OF-WAY OF BOO'S DRIVE
                        (60-FOOT RIGHT-OF-WAY);

           THENCE TRAVELING ALONG SAID NORTHERN RIGHT-OF-WAY SOUTH 82
     DEGREES 35 MINUTES 55 SECONDS WEST, 7 3. 12 FEET TO A POINT LOCATED ON
     SAID NORTHERN RIGHT-OF-WAY; THENCE LEAVING SAID NORTHERN RIGHT-OF-WAY
     AND TRJl.VELING THE FOLLOWING COURSES AND DISTANCES:

              1.       NORTH       6 DEGREES 49 MINUTES 32 SECONDS l'IEST, 98.15 FEET;
              2.       NORTH       28 DEGREES 10 MINUTES 55 SECONDS WEST, 200.98 FEET;
              3.       SOUTH       82 DEGREES 35 MINUTES 55 SECONDS WEST, 134.93 FEET;
              4.       NORTH       27 DEGREES 35 MINUTES 25 SECONDS WEST, 34.94 FEET;
              5.       NORTH        62 DEGREES 24 MINUTES 35 SECONDS EAST, 26. 71 FEET;
                       AND
               6.       NORTH 28 DEGREES 9 MINUTES 7 SECONDS WEST, 45.56 FEET TO A
                        POINT LOCATED ON THE SOUTHEASTERN RIGHT-OF-WAY OF U.S.
                        HIGHWAY 82, BEING THE TRUE POINT OF BEGINNING.

            SAID PROPERTY CONTAINING 1.332 ACRES AND BEING DEPICTED AS TRACT
      1  ON THAT CERTAIN SURVEY FOR STAFFORD RT, PREPARED BY HJ\MPTON &
      ASSOCIATES SURVEYING COMPANY, BEARING THE SEAL OF DARREL HAMPTON,
      G.R.L.S. NO. 2161, DATED SEPTEMBER 26, 2003, SAID SURVEY BEING
      INCORPORATED HEREIN AND MADE A PART HEREOF BY REFERENCE.


      (26] USER\Client\492\743\Exhibit A-1 - leased premises legal.doc                        Page 1




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 1
 2                                   EXHIBIT "I" TO GROUND LEASE
 3
 4                                 lHEMORAI\'DUM OF GROUND LEASE
 5
 6
 7
 8    TilIS INSTRUMENT PREPARED BY:
  9
l O                                                                          Wil..LIAll-I J. LIEBERBAUl'>l
11                                                                       2255CUMBERLANDPARKWAY
12                                                                                         BUILDING1300
13                                                                           ATLANTA, GEORGIA30339
14
15
16                                 l\'.IEMORANDUM OF GROUND LEASE
17
18
19           THIS MEMORANDUM OF GROUND LEASE is made as of the _ _ day of
2O    _ _ _ _, 2003 by and between RUBY TUESDAY, INC., a Georgia corporation, whose
21    mailing address is 150 West Church Avenue, Maryville, Tennessee 37801, Attention: Legal
22    Department (hereinafter called "Lessee" or "Ruby Tuesday"), and STAFFORD RT, LLC, a
23    Georgia limited liability company, who mailing address is 1805 U.S. Highway 82 West, P.O. Box
24    269, Tifton, Georgia 31793, and "Lessor".
25
26            In consideration of the sum of TEN DOLLARS and other valuable consideration, including
27    that recited in that certain Ground Lease executed by the parties hereto on the __ day of
28    - - - - - ~ 2003 ("Lease"), Lessor hereby demises and lets to Lessee and Lessee leases
29    from Lessor that certain property situated in the City of Tifton, County of Tift, State of Georgia,
3o    said Leased Premises being described on Exhibit "A" hereto (hereinafter referred to as the "Leased
31    Premises"), which said Exhibit "A" is by this reference incorporated herein and made a part
32    hereof.
33
34              Reference is made to the site plan attached as Exhibit "B" hereto and incorporated
35    herein by reference ("Site Plan"). Lessor does hereby grant and convey to Ruby Tuesday, for the
36    term of the Lease and any extensions and renewals thereof, and for the period of time during
37    which Ruby Tuesday is not in material breach of this Lease (after the expiration of all applicable
38    notice and cure periods), for the benefit of the Leased Premises, a perpetual, non-exclusive,
39    uninterrupted right, privilege and easement, which right, privilege and easement shall be
40    appurtenant to and pass with the title to the Leased Premises, for the purposes of (a) pedestrian
41    and vehicular ingress and egress and parking of vehicles over, under, across and through drive
42    lanes, drive aisles, the fifteen (15) specific parking spaces depicted as "Ruby Tuesday Off-Site
43    Parking Spaces" on the Site Plan ("Ruby Tuesday Off-site Parking Spaces"), walkways and other
44    common areas as they exist now and from time to time on the Lessor's Larger Tract, as defined in
4s    Section 17A hereinbelow; (b) erecting, maintaining and placing a sign on the portion of Lessor's
46    Larger Tract identified as "Ruby Tuesday Sign Area" on Exhibit "B-1" attached hereto and
47     incorporated herein by reference ("Ruby Tuesday Sign Area") together \~ith the right to go on
4s    Lessor's Larger Tract to install, construct, operate and maintain perpetually a sign with the
49     necessary electric lights, electric lines, poles, footings and attachments in the Ruby Tuesday Sign
5o     Area, pursuant to the Sign Lease ("Sign Lease") attached as Exhibit "C", attached hereto and
51     incorporated herein by reference, to be executed by the landlord therein simultaneously with this
s2     Lease; (c) the right and an easement to construct, maintain and use for pedestrian and vehicular
53     ingress and egress the curb cut adjacent to the portion of Lessor's Larger Tract depicted as
54     "Wendy's Tract" ("Wendy's Tract") on the Site Plan; (d) the right and an easement to construct,_
s5     maintain, relocate, enlarge, use and tap into any and all utility lines (including storm drainage
56      facilities) necessary to serve the improvements to be located on the Leased Premises, to the
57      extent that same are required by Ruby Tuesday; and (e) construction of the Ruby Tuesday Off-
ss      Site Parking Spaces. Reference is made to the portion of the area depicted on the Site Plan as
59      "Ruby Tuesday Exclusive Parking Area" ("Ruby Tuesday Exclusive Parking Area").
60
 51            Lessor does hereby reserve and retain only for the benefit of the Wendy's Tract, and not
 62    for the benefit of the balance of Lessor's Larger Tract a non-exclusive, perpetual easement, right
 63    and privilege, which easement, right and privilege shall be appurtenant to and run with the title to
 64    Lessor's Larger Tract, over, across and through the portion of the Leased Premises on which

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1    drive aisles and drive lanes and parking spaces exist from time to time for the purposes of
2    vehicular ingress and egress and parking of vehicles; pro~ided, however, that (i) no parking
3    easement is provided for herein on any portion of the Ruby Tuesday Exclusive Parking Area, and
4    (ii) no easement is granted for parking of vehicles or queuing of vehicles in or around the car
 5   wash or any of the other businesses operating on Lessor's Larger Tract now or in the future, to the
 6   extent that same blocks the access ways leading to the business operating on the Leased
 7   Premises. Ruby Tuesday agrees to use the five (5) parking spaces closest to the car wash, as
 s   shown on the Site Plan, as employee parking, and place "Ruby Tuesday Employee Parking Only"
 9   signs or similar signs in said parking spaces.
10
11           Lessor does also hereby reserve and retain for the benefit of Lessor's Larger Tract a non-
12   exclusive, perpetual easement, right and privilege, which easement, right and privilege shall be
13   appurtenant to and run with the title to Lessor's Larger Tract over, across and through the portion
14   of the Leased Premises on which storm drainage lines currently exist and over the balance of the
15   Leased Premises for the purpose of allowing storm water produced on Lessors Larger Tract to
16   sheet drain over and drain through the infrastructure currently located on the Leased Premises.
17
18          To have and to hold the Leased Premises for an original term ending at midnight on January
:9   31 of the year follo,ving the twentieth (20"'} full calendar year after the Commencement Date, as
2o   defined in the Lease, together with the options of renewal and extension for four (4) additional and
21   consecutive terms of five (5) years each. The parties hereto shall execute a notice setting forth the
22   date of commencement of the original term hereof as expeditiously as practical after the
23   Commencement Date is established.
24
25           Section 17 of the Lease provides, in pertinent part, as follows:
26
27           1.      General Covenants. The Leased Premises are part of a larger tract of land which
28                   is described on Exhibit "H" hereto (hereinafter "Lessor's Larger Tract"). Lessor
29                   agrees that no fences or other obstructions prohibiting access to and from the
30                   Leased Premises and Lessor's Larger Tract shall be constructed during the original
31                   term of the Lease and any renewal term; that Ruby Tuesday, its employees,
32                   customers and invitees shall have access rights on Lessor's Larger Tract; that there
33                   are sufficient parking spaces on Lessor's Larger Tract, including the Leased
34                   Premises to meet the requirements of any laws, ordinances and regulations; that
35                   Ruby Tuesday, its employees, customers and invitees shall have a nonexclusive
                     easement for ingress and egress in, on and over Lessor's Larger Tract to and from
37                   all streets, alleys and across ways adjacent to said Lessor's Larger Tract; and that
38                   no buildings, signs, or other improvements (including, but not limited to,
39                   landscaping) shall be constructed upon Lessor's Larger Tract which will reduce
40                   the visibility of Ruby Tuesday's signs or of the Leased Premises from any access
41                   streets. Lessor agrees to keep the Lessor's Larger Tract in good maintenance and
42                   repair and in a safe, clean and sanitary condition. The cost of maintaining and
43                   repairing Lessor's Larger Tract and keeping it in a safe, clean and sanitary
44                   condition shall be borne solely by Lessor. All repairs, alterations and maintenance
45                   of Lessor's Larger Tract shall be solely the cost of the Lessor and Ruby Tuesday
46                   shall not be liable for any portion of the cost of repairs, alterations and mainte-
47                   nance of Lessor's Larger Tract \\·ithout Ruby Tuesday's prior written consent.
48
49           2.        Interference \Vith Leased Premises. Notwithstanding any rights, reservations
50                    and controls resident in the Lessor in this Lease, or any exhibits thereto, Lessor
51                    shall do nothing under this Lease which will (1) unreasonably limit the access to
52                    Ruby Tuesday's place of business, including, but not limited to, customer accesses
53                    and service court areas as shO\~n on the Site Plan; (2) unreasonably interfere with
54                    Ruby Tuesday's business; (3) reduce the ratio of parking spaces specified in this
55                    Lease or any exhibit thereto; or (4) in any manner interfere with Ruby Tuesday's
56                    exterior facade, including, but not limited to, exterior walls, av.nings, signs, en-
57                    trances, and decorative work.
58
59            3.      Temporarv Closing of Lessor's Larger Tract. Any temporary closing of the
60                    common areas of the Lessor's Larger Tract by the Lessor shall not interfere with
61                    customer access to Ruby Tuesday's Leased Premises. In addition, any temporary
62                    closing of the Lessor's Larger Tract by the Lessor to prevent the acquisition of


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1                    public rights shall not extend past the minimum period of time required by the
2                    State law to prevent the acquisition of such public rights, or Ruby Tuesday shall
3                    be allowed to abate the payment of Rent required hereunder for each day in excess
4                    of the minimum period of closing required by law.
5
0
 r
             4.      Rubv Tuesday Signs. Ruby Tuesday shall have the option to erect a pylon-type
7                    sign on the Leased Premises at a location to be selected by Ruby Tuesday. In
 8                   addition, Ruby Tuesday shall have the right to place its sign in the Ruby Tuesday
 9                   Sign Easement Area, pursuant to the Sign Lease, and to place its desired signage
10                   on its building on the Leased Premises.
11
12           5.       Lessor's Lighting of Lessor's Larger Tract. Lessor agrees to keep the parking
13                    area adjacent to the Leased Premises on the Holiday Inn side of the Leased
14                    Premises lit as is appropriate for the Holiday Inn's 24 hour per day operations.
15
16           6.       Storage Trailers.     Ruby Tuesday shall be permitted to place two (2) storage
17                    trailers outside the Leased Premises on the Lessor's Larger Tract during Ruby
18                    Tuesday's construction period.
19
2O           The Lease also pro,ides for a right of first refusal, as follows:
21
22            From and after the effective date and during the term of this Lease herecf, Ruby Tuesday
23    shall have the right of first refusal and Lessor shall not sell, transfer or otherwise dispose of all or
24    part of Lessor's interest in the Leased Premises until and unless Lessor shall have: (a) obtained a
25    bona fide offer therefor; (b) given notice to Ruby Tuesday, which notice shall contain (i) the
26    name of the offerer, (ii) the address of the offerer, (iii) all of the terms and conditions of such
27    bona fide offer, and (iv) a true and accurate copy of the actual bona fide offer ("Lessor's Notice");
28    and (c) offered to sell, transfer or otherwise dispose of such interest to Ruby Tuesday at the same
29    price and, except as hereinafter provided, upon the same terms and conditions contained in said
3o    bona fide offer.
31
32            The specific terms of said right of first refusal are more particularly set forth in the Lease.
33
34           The terms, covenants and conditions hereof and of the Lease shall inure to and be binding
35    upon the Lessor and Lessee and their respective successors and assigns.
36
37             All of the terms and pro,isions of the Lease are by reference incorporated herein. Nothing
38    contained herein is intended to or does change or modify any of the terms or provisions of the Lease
39    or the rights, duties, obligations, conditions and agreements created thereby, all of which remain in
4o    full force and effect. In the event of any conflict or inconsistency between the terms of this
41    Memorandum of Ground Lease and the terms of the Lease, the Lease shall govern and control for
42    all purposes. All capitalized terms and words of art which are used but not defined herein shall have
43    the same respective meaning designated for such terms and words of art in the Lease.
44
45            Exhibits "A", "A-1", "B", "B-1", "C" and "H" totheLeaseareduplicatedandattached
46    hereto and incorporated herein by reference.
47
48            The effective date of this Memorandum of Ground Lease shall be considered to be the date
49    of the last execution herecf as reflected by the dates appearing below the signatures of the parties.
50
 5l           Nothing contained herein shall relieve either party of the obligations or deprive either party
 52   of the benefits contained in the Lease.
 53
 54           IN ,v1TNESS WHEREOF, the parties have caused this Memorandum of Ground Lease to
 55    be executed on the date appearing together with their signatures below.
 56
 57
 58                                                                              LESSOR:
 59    Signed, sealed and delivered
 6o    in the presence of:                                     STAFFORD RT, LLC
 61                                                            a Georgia limited liability company
 62
                                                                                               ~,._
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1                                                        By: Stafford Development Company
2    Unofficial Witness                                       a Georgia corporation
3                                                             Its: Managing Member
4
5    Notary Public                                            By:----------
 6                                                                   DENEAN STAFFORD
 7   My Commission Expires: _ _ _ _ _ _ _ __                  President and CEO
 8
 9
10




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1           IN "WITNESS WHEREOF, the parties have caused this Memorandwn of Ground Lease to
2    be executed on the date appearing together with their signatures below.
3
4                                                                 LESSEE:
5    Signed, sealed and delivered
6    in the presence of:                                          RUBY TUESDAY, INC.
 7                   a Georgia corporation
 8
 9   Unofficial Witness                                    By:
10
11                                                         Its:
12
13   Notary Public
14
15   My Commission Expires: _ _ _ _ __




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          £XB 1Brr "A" TOMEMORANDUMOFGROUNDLEASJ
                  DEPICTION OFLE.ASED PREMISES




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                               EXRIBIT "A·l•

                             LEGAL DESCRIPTION

      ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 307
AND 308 OF THE 5TH DISTRICT, TIFT COUNTY, GEORGIA, BEING MORE
PARTICULAALY DESCRIBED AS FOLLOWS:
      COMMENCING AT THE INTERSECTION OF THE NORTHEASTERN RIGHT-OF-WAY
OF MCCORMICK DRIVE (SO-FOOT RIGHT-OF-WAY) AND THE SOUTHEASTERN RIGHT-
OF-WAY OF U.S. HIGHWAY 82 (100-FOOT RIGHT-OF-WAY); FROM SAID POINT OF
COMMENCEMENT THENCE TRAVELING ALONG SAID SOUTHEASTERN RIGHT-OF-WAY
NORTH 62 DEGREES 25 MINUTES 3 SECONDS EAST, 745.37 FEET TO A POINT
LOCATED ON SAID SOUTHEASTERN RIGHT-OF-WAY BEING , THE TRUE POINT OF
BEGINNING1 FROM SAID TR'OE POINT OF BEGINNING, THENCE CONTINUING ALONG
SAID SOUTHEASTERN RIGHT-OF-WAY THE FOLLOWING COURSES AND DISTANCES:

      l.    NORTH 62 DEGREES   25   MINUTES   3 SECONDS EAST, 7L07 FEET;
      2.    SOUTH 27 DEGREES   34   MINUTES   57 SECONDS EAST, 10 FEET;
      3.    NORTH 62 DEGREES   25   MINUTES   3 SECONDS EAST, 10 FEET;
      4.    NORTH 27 DEGREES   34   MINUTES   57 SECONDS WEST, 10 FEET; AND
      5.    NORTH 62 DEGREES   25   MINUTES   3 SECONDS EAST, 169.20 FEET;

     THENCE LEAVING SAID SOUTHEASTERN RIGHT-OF-WAY AND TRAVELING THE
FOLLOWING COURSES AND DISTANCES:

      1.    SOUTH   27 DEGREES 34 MINUTES 57 SECONDS EAST, 48.42 FEET;
      2.    SOUTH   80 DEGREES 6 MINUTES 26 SECONDS EAST, 16.32 FEET;
      3.    SOUTH   9 DEGREES 53 MINUTES 34 SECONDS WEST, 52. 33 FEET;
      4.    SOUTH   3 DEGREES 9 MINUTES 15 SECONDS EAST, 7 4 • 9 6 FEET;
      5.    NORTH    80 DEGREES 17 MINUTES 40 SECONDS EAST, 24.04 FEET;
            AND
      6.    SOUTH 9 DEGREES 42 MINUTES 20 SECONDS EAST, 283.19 FEET TO
            A POINT LOCATED ON THE NORTHERN RIGHT-OF-WAY OF BOO'S DRIVE
             (60-FOOT RIGHT-OF-WAY);

     THENCE TRAVELING ALONG SAID NORTHERN RIGHT-OF-WAY SOUTH 82
DEGREES 35 MINUTES 55 SECONDS WEST, 73 .12 FEET TO A POINT LOCATED ON
SAID NORTHERN RIGHT-OF-WAY; THENCE LEAVING SAID NORTHERN RIGHT-OF-WAY
AND TRAVELING THE FOLLOWING COURSES AND DISTANCES:
      1.    NORTH   6 DEGREES 49 MINUTES 32 SECONDS WEST, 98. 15 FEET;
      2.    NORTH   28 DEGREES 10 MINUTES 55 SECONDS WEST, 200.9~ FEET;
      3.    SOUTH   82 DEGREES 35 MINUTES 55 SECONDS WEST, 134.93 FEET;
      4.    NORTH   27 DEGREES 35 MINUTES 25 SECONDS WEST, 34.94 FEET;
      5.    NORTH    62 DEGREES 24 MINUTES 35 SECONDS EAST, 26. 71 FEET;
            AND
      6.    NORTH 28 DEGREES 9 MINUTES 7 SECONDS WEST, 45.56 FEET TO A
            POINT LOCATED ON THE SOUTHEASTERN RIGHT-OF-WAY OF U.S.
            HIGHWAY 82, BEING THE TRUE POINT OP' BEGINNING.

      SAID PROPERTY CONTAINING l .332 ACRES AND BEING DEPICTED AS TRACT
 l ON THAT CERTAIN SURVEY FOR STAFFORD RT, PREPARED BY HAMPTON &
ASSOCIATES SURVEYING COMPANY, BEARING THE SEAL OF DARREL HAMPTON,
G.R.L.S. NO. 2161, DATED SEPTEMBER 26, 2003, SAID SURVEY BEING
INCORPORATED HEREIN AND MADE A PART HEREOF BY REFERENCE.

 (26] USER\Client\4~2\743\Exhibit A-1 - leased premises legal.doc
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                                 EXHIBIT"B'

                                SITE PLAN




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                                                        EXHIBlT"B•

                                                       SITE PLAN


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RUBY TUESDAY
PARKING SPACES
                      OFiit                  EXHIBIT•S-

                                              SITE PLAN


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                                Case 20-12456-JTD                         Doc 861-1                             Filed 01/13/21               Page 78 of 114


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                             SITE PLAN




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                 Case 20-12456-JTD   Doc 861-1      Filed 01/13/21   Page 80 of 114



tB
CUJIBENT LOCAT.ION OF
WATER & AIR ST.ATION
& FLAGPOLE

                                     SI'.r.E PLAN




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LOCATION OF RELOCATED                            ft1G1
WATER & AIR STATION                              1211:»           EXHIBIT "ff
& FLAGPOLE

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      Case 20-12456-JTD                Doc 861-1    Filed 01/13/21     Page 82 of 114




1             EXHIBIT "B-1" TO MEMORANDUM OF GROUND LEASE
2
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                       DEPICTION OF RUBY TUESDAY SIGN AREA
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                                                           492.743                      Page61
    (281 client\4921743\lease-Execution Draft
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  1                      EXHIBIT "B-1" TO l'dEMORANDUM OF GROUND LEASE
  2
..3..                            DEPICTION OF RUBY TUESDAY SIGN AREA
                                                                                                        ., ....... .., ..




                                                LEGAL DESCRIPTION

             A1l that tract or parcel of land lying _and being in Land Lot 308
        of the 6th District, City of Tifton, Tift County, Georgia, being more
        particularly described as follows:

              Commencing at a point at the intersection of the northeastern
        right-of-way of McCormick Drive (an 80-foot right-of-way) and the
        southeastern right-of-way of o. s. Highway 82 (a 100-foot right-of-
        way); from said point of commencement, thence traveling along the
        southeastern right-of-way of U.S. Highway 82 the following courses and
        distances: North 62 degrees 25 minutes 3 seconds East, 745.37 feet;
        North 62 degrees 25 minutes 3 seconds East, 71.07 feet; South. 27
        degrees 34 minutes 57 seconds East, 10 feet; North 62 degrees 25
        minutes 3 seconds East, 10 feet; North 27 degrees 34 minutes 57
        seconds West, 10 feet; North 62 degrees 25 minutes 3 seconds East,
        169.20 feet; North 62 degrees 25 minutes 3 seconds East, 43.19 feet;
        North 62 degrees 25 minutes 6 seconds East, 186 feet; South 27 degrees
        35 minutes 25 seconds East, 10 feet; and North 78 degrees 32 minutes
        32 seconds East, 255.53 to a point at the intersection of the
        southeastern right-of-way of o.s. Highway 82 and the western right-of-
        way of Interstate Highway 75; thence traveling along the western
        right-of-way of Interstate Highway 75 the following courses and
        distances: South 10 degrees 4 minutes 20 seconds East, 351.76 feet and
        South 36 degrees 23 minutes 38 seconds East, 241.04 feet to the 'l'ROE
        POINT OF BEGINNING.

              From said TROE POINT OF BEGINNING, conti.nuing along said western
        right-of-way Interstate Highway 75 South 36 degrees 23 minutes 53
        seconds East, 21. 37 feet; thence leaving said right-of-way and
        traveling South 74 degrees 15 minutes 8 seconds West, 66.51 feet to a
        point; thence traveling North 15 degrees 45 minutes 9 seconds West, 20
        feet to a point; thence traveling North 74 degrees 15 minutes 27
        seconds East, 58.97 feet to a point located on the western right-of-
        way of Interstate Highway 75 being the TROE POINT OF BEGINNING.

             Said property being depicted as Tract 3 containing 0.029 acres as
        more particularly depicted on that certain Survey for Stafford RT,
        prepared by Hampton & Associates Surveying Co., bearing the seal of
        Darrell Hampton, G.R.L.S. No. 2161, dated December 17, 2003, said
        survey being incorporated herein and made a part hereof by reference.
                                                                         '




         [26] USER\Client\492\743\Legal Description.doc                                       Page 1




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              EXHIBIT "C" TO     ~            OF GRalND LEl\SE

                                        SIGN LEASE

       This SIGN LEASE ("Lease") entered into by and between STAFFORD
DEVELOPMENT COMPA.t','Y, a Georgia corporation, successor by corporate merger to
Interstate Inns, Inc., whose address is 1805 U.S. Highway 82 West, P.O. Box 269, Tifton,
Georgia 31793 ("Lessor") and RUBY TUESDAY, INC., a Georgia corporation, whose
address is 150 West Church Avenue, Maryville, Tennessee 37801 ("Lessee"), this_ day of
_ _ _ _ ,2003.


                                    WITNESSETH

       WHEREAS, Lessor is the owner of that certain parcel of land described on the
attached Exhibit "A", which parcel shall be referred to herein as the Leased Premises; and

       WHEREAS, Lessee desires to lease the Leased Premises from Lessor for the purposes
of placing, operating, and maintaining a sign ("Sign") advertising its restaurant on an adjacent
parcel ("Restaurant").

        NOW, THEREFORE, for and in consideration of the mutual covenants and
obligations contained herein, the receipt and sufficiency of which are hereby acknowledged,
Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Leased Premises,
together with the right to access, operate and maintain the Sign, pursuant to the terms and
conditions set forth herein, at Lessee's sole cost and expense.

        Lessor does hereby grant and convey to Ruby Tuesday, for the term of the Lease and
any extensions and renewals thereof, for the benefit of the Leased Premises, a perpetual, non-
exclusive, uninterrupted right, privilege and easement, which right, privilege and easement
shall be appurtenant to and pass with the title to the Leased Premises, for the purposes of (a)
pedestrian and vehicular ingress and egress and (b) the right and an easement to construct,
maintain, relocate, enlarge, use and tap into any and all utility lines necessary to serve the
Sign, over and across the portion of Lessor's adjacent land depicted as "Access and Utility
Easement Area" on Exhibit "B".

         The term of the Lease shall be identical to the term of that certain Ground Lease from
 Stafford RT, LLC to Lessee, dated _ _ _ _ _ _ _ , for the lease of the Restaurant
 (" Prime Lease"). If the Prime Lease shall terminate for any reason, then this Sign Lease shall
 also terminate as of the same date. Any extension, renewal, or exercise of any option period
 of, or with regard to, the Prime Lease shall also work to extend this Sign Lease for any
 identical period.

        If the Sign is not permitted or is ordered removed by any applicable governmental
 agency's rule, regulation or ordinance ("Government") and Lessee is required to remove it
 ("Removal"), then (a) if the Removal is required by the Government during the first year of
 this Lease, Lessor shall remove the Sign (including the pole and pylons, but not the base) at
 Lessor's expense; and (b) if the Removal is required by the Government after the first year of
 this Lease, then Lessee shall remove the Sign at Lessee's expense (including the pole and
 pylons, but not the base).

        Annual rental throughout the term and any extension thereof shall be $1.00 per year,
 payable annually in advance to Lessor at Tifton, Georgia or such other address designated in
 writing by Lessor.

        As between Lessor and Lessee, all structures, equipment and materials placed on the
 Leased Premises shall remain the property of the Lessor, except the sign itself which bears the
 name of Lessee, its successors or assigns, which shall remain the property of Lessee, its
 successors or assigns. Lessee is granted the right to remove its property, if any, from the
 Leased Premises within ninety (90) days after the expiration of this Lease or any renewal or
 extension thereof. Lessee may not enlarge the sign, change the height or width of or remove



  [28]-492\743\Sign Lease - Clean               {Tifton, GA)                      Page 1
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the strucrures currently installed on the leased Premises to support the sign or otherwise alter
the Leased Premises (excepting the installation of the sign itself at the top of the currently
installed pole and alteration lo the face of the sign only if and to the extent required for Lessee
to obtain its sign permits) without the written consent of Lessor, in Lessor's sole and unfettered
discretion.

      In the event of a condemnation or casualty affecting the Leased Premises during the
term hereof, Lessee shall have the right, but not the obligation, to terminate this Lease, at
which point all rights and obligations hereunder, including the obligation to pay rent, shall
immediately cease and terminate.

       Following the execution of this Lease, Lessee shall have the right to terminate the
Lease at any time prior to the commencement of the next renewal term by providing written
notice of such intentions.

       Lessor represents and warrants that Lessor is the owner of the fee simple interest in the
Leased Premises, and has the authority to enter into this Lease; provided, however, that Lessor
makes no representation with regard to whether the Lessee's sign will be permitted by the
Government.

          Lessee shall be responsible at its sole cost and expense to provide any required utility
 services to the Leased Premises and shall maintain the Leased Premises in an attractive and
 first class condition.

        Should any provision hereof be declared invalid by a legislative, administrative or
judicial body of competent jurisdiction, the other provisions hereof shall remain in full force
and effect and shall be unaffected by same.

        The parties agree to cooperate in negotiating, executing, and recording in the public
 deed records of Tift County, Georgia a memorandum of this Sign Lease.

         All notices and approvals required or permitted hereunder shall be served by either
 certified mail, rerurn receipt requested, or by hand delivery, or by a nationally recognized
 overnight delivery service, such as Fed Ex, to a party at the last known address of its principal
 place of business or

                If to Lessor:                  Stafford Development Company
                                               1805 U.S. Highway 82 West
                                               P.O. Box 269
                                               Tifton, Georgia 31793
                                               Attn: President

                With copy to:                  Stafford Properties, Inc.
                                               80 West Wieuca Street
                                               Suite 302
                                               Atlanta, Georgia 30342
                                               Attn: Mike Puckett

                 If to Lessee:                 Ruby Tuesday, Inc.
                                               150 West Church Avenue
                                               Maryville, Tennessee 37801
                                               Attn Legal: Legal Real Estate

         This Lease may not be assigned by Lessee to any other party except as part of a
  permitted assignment of the Prime Lease.

         This Lease shall be construed under the laws of the State of Georgia .




   [28j-492\743\Sign Lease - Clean                 {Tifton, GF.)
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      IN WIT!'.'ESS WHEREOF, the undersigned hereby sets its hand and seal, on the _
day of _ _ _ _ _ , 2003.

                                        LESSOR:

WIT1''ESSES:                            STAFFORD DEVELOPMENT COMPANY
                                        a Georgia corporation, successor by corporate
                                               merger to Interstate Inns, Inc.



                                        By:
                                                  DENEAN STAFFORD
                                                  President and CEO


                                        ATTEST:
                                        By:
                                        Its:
                                             ------------
                                        Date:




                                        RUBY TUESDAY:

-W1TNESSES:                             RUBY TUESDAY, INC.
                                        a Georgia corporation


                                        By:
                                        Its:
                                                ------------

                                        ATTEST:

                                         By:
                                         Its:

                                         Date:




List of Exhibits:

 Exhibit "A" - Depiction of Leased Premises
 Exhibit "B" - Depiction of Access and Utility Easement Area




 [28]-492\743\Sign Lease - Clean                (Tifton, GA}                Page 3
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1                                          EXHIBIT "A" TO SIGN LEASE
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3                                               Depiction of Leased Premises
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                               LEGAL DESCRIP'l'ION

     All that tract or parcel of land lying .and being in Land Lot 308
of the 6th District, City of Tifton, Tift County, Georgia, being more
particularly described as follows:

      Commencing at a point at the intersection of the northeastern
right-of-way of McCormick Drive (an SO-foot right-of-way) and the
southeastern right-of-way of U.S. Highway 82 (a 100-foot right-of-
way); from said point of commencement, thence traveling along the
southeastern right-of-way of U.S. Highway 82 the following courses and
distances: North 62 degrees 25 minutes 3 seconds East, 745.37 feet;
North 62 degrees 25 minutes 3 seconds East, 71. 07 feet; South . 27
degrees 34 minutes 57 seconds East, 10 feet; North 62 degrees 25
minutes 3 seconds East, 10 feet; North 27 degrees 34 minutes 57
seconds West, 10 feet; North 62 degrees 25 minutes 3 seconds East,
169.20 feet; North 62 degrees 25 minutes 3 seconds East, 43.19 feet;
North 62 degrees 25 minutes 6 seconds East, 186 feet; South 27 degrees
35 minutes 25 seconds East, 10 feet; and North 78 degrees 32 minutes
32 seconds East, 255.53 to a point at the intersection of the
southeastern right-of-way of U.S. Highway 82 and the western right-of-
way of Interstate Highway 75; thence traveling along the western
right-of-way of Interstate Highway 75 the following courses and
distances: South 10 degrees 4 minutes 20 seconds East, 351.76 feet and
South 36 degrees 23 minutes 38 seconds East, 241.04 feet to the TiUJE
POINT OF BEGINNING.

      From said TRUE POINT OF BEGINNING, continuing along said western
right-of-way Interstate Highway 75 South 36 degrees 23 minutes 53
seconds East, 21.37 feet; thence leaving said right-of-way and
traveling South 74 degrees 15 minutes 8 seconds West, 66.Sl feet to a
point; thence traveling North 15 degrees 45 minutes 9 seconds West, 20
feet to a point; thence traveling North 74 degrees 15 minutes 27
seconds East, 58.97 feet to a point located on the western right-of-
way of Interstate Highway 75 being the TRUE POINT OF BEGINNING.

     Said property being depicted as Tract 3 containing 0.029 acres as
more particularly depioted on that certain survey for Stafford RT,
prepared by Hampton & Associates Surveying Co., bearing the seal of
Darrell Hampton, G.R.L.S. No. 2161, dated December 17, 2003, said

                                                       -
survey being incorporated herein and made a part hereof by reference.




 [26] USER\Client \4 92\ 743\Legal Description.doc                            Page 1
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                Case 20-12456-JTD             Doc 861-1     Filed 01/13/21   Page 90 of 114




1                                        JOINDER TO SIGN LEASE
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4           SOU IH'IRUST BANK, an Alabama co1:p0ration ("Lender''), being the current holder of
5    a mortgage ("Mortgage") on the Access and Utility Easement Area (as such tenn is defined by
6    the foregoing Sign Lease ("Lease"), said Mortgage being evidenced for record by that certain
7    Deed to Secure Debt (''Deed") filed in Deed Book 893, Page 222, in the Office of the Clerk of
8    the Superior Court of Tift County, Georgia, hereby consents to the Access and Utility Easement
9    rights conveyed in the foregoing Lease. Lender agrees that should Lender foreclose on the
1o   Mortgage and/or othemi.se come into possession of Access and Utility Easement Area by
11   foreclosure or deed in lieu of foreclosure or otherwise, then Lender shall be bound by and comply
12   with the easement rights contained in the foregoing Lease.
13
14
15                                            SOU l'H'IRUST BANK
16                                            an Alabama co1:p0ration
17
18                                   Bv:
19                                   Print Name:
20                                     Its:
21
22
23                                                                      [CORPORATE SEAL]
24
25
26   ATTEST:
27   Print Name:
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     Its:

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31   Signed, sealed and delivered
32   in the presence of.
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35   UNOFFICIAL WITNESS
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37    NOTARY PUBLIC
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39    My Commission Expires:
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41    {Affix Notarial Seal)
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       {28] cllent\492\743\lease-7                            492,743
                                                     Case 20-12456-JTD                        Doc 861-1             Filed 01/13/21                                       Page 91 of 114




                 1                                              EXHIBIT "H" TO MEMORANDUM OF GROUND LEASE
                2
                3                                                LEGAL DESCRIPTION OF LESSOR'S LARGER TRACT
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          Case 20-12456-JTD                  Doc 861-1           Filed 01/13/21             Page 92 of 114




1                  EXHIBIT "H" TO MEMORAi'IDUM OF GROUI\'D LEASE
2
3                   LEGAL DESCRIPTION OF LESSOR'S LARGER TRACT
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                                                                       ALL TI!ATTRAC,orpaiocloflood being .
                   5,786 9cres .In Lond Lot 308     in
                                                    ·the- 6th Lond .0.lstriet of"Tlft .county.· Ge-otglo. ·and o .
                   porJiorr in lhe City of Ti~ton. mon fully dcs.cribed os follo\'fs:

                   'COMMENCE ct. the intersccllon of. the west Land Lot line of Lond Lot 308 ond the sOuth
                    righl-of-woy line of U.S. Hlghwoy 82: thence run· North 62 ·de,grees 25 mtrwtes 03
                    s~onds Eosl 216.00 feet to lhe POINT Or BEGtNNlNG; thence ·North 62 .dewo-es 25
                   minutes 03 seconds East l86.00 feet lo CJ pornt; thence Sou~ll 27 degree, 34 mlnUtes 57
                   uconc,s Eost 10.00 feet to o point; thence North 78 degrees 32 minutes 36 aeconds East
                   255.53 feet to o point ond the west·right ol· woy Une of Jntorstote 7$; thence South 10
                    degrees 04 minutes 24 seeonds Eost 351.76 feet olOfig the west right or woy llne of · .
                    lnle-,-stote 75 lo o point: thence South 36 de:9ren 23 minutes .}5 seconds Eost 2:41.04 fee-l
                    lo o point on the west right cf 'WOY line of Interstate 75; thence South ·74 degrees tS
                   .mln1.1les 06 seconds West 58.97 feet to o point; thence South ·15 degrees 44 minutes 54
                    :seconds East 20.00 feel lo o point; ther\ce N0<th 74 degrees 15 minu~es 06 seconds E<11l
                    66.51 reel to_. a point oo the-· west right- of woy line of tnterstote 75: thetlce South 36 .
                    ~e9reu 23 minutes 35 seconds Eost 16.29 feet to o point: thence S~u\h 22 degrees 07
                    min1.1\es 35 seconds East 18.99 ·feet lo"o p:oinl on the west right ot way line of 1nterstote
                    75: thence Sou-th 81 degrees: 35 minutes 22 seconds WEST S·J4.48 leet lo o pott'\l; thence
                    Nodh 10 degrees 38 minutes oS·soconds We:;t 146.59 feet too point:· thence North 82
                    degrees 35 minutes 55 se-conds East t9,00 feet to a point; thence North 01 degree· 54
                    minutes OS. seconds West 218.86 feet to o polnt: thence North 32 degrees 22 minutu OS
                    $CC0nds West 205.02 feel to the POINT OF' SECfNNJNC.                              ·




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    {28} client\4921743\lease-E:recution Draft                        492.743                                        Paae63
                Case 20-12456-JTD              Doc 861-1    Filed 01/13/21   Page 93 of 114




     1                   EXHIBIT "H" TO MEMORANDUM OF GROUND LEASE
     2
     3                    LEGAL DESCRIPTION OF LESSOR'S LARGER TRACT
     4




                                                  LEGAL DESCRif'l'ION

              All that tract or parcel of land lying .and being in Land Lot 308
         of the 6th District, City of 'l'ifton, 'l'ift County, Georgia, being more
         particularly described as follows:

                Commencing at a point at the intersection of the northeastern
         right-of-way of McCormick Drive (an 80-foot right-of-way) and the
         southeastern right-of-way of U.S. Highway 82 (a 100-foot right-of-
         way); from said point of commencement, thence traveling along the
         southeastern right-of-way of u.s. Highway 82 the following courses and
         distances: North 62 degrees 25 minutes 3 seconds East, 745.37 feet;
         North 62 degrees 25 minutes 3 seconds East, 71.07 feet; South_ 27
         degrees 34 minutes 57 seconds East, 10 feet; North 62 degrees 25
         minutes 3 seconds East, 10 feet; North 27 degrees 34 minutes 57
         seconds west, 10 feet; North 62 degrees 25 minutes 3 seconds East,
         169.20 feet; North 62 degrees 25 minutes 3 seconds East, 43.19 feet;
         North 62 degrees 25 minutes 6 seconds East, 186 feet; South 27 degrees
         35 minutes 25 seconds East, 10 feet; and North 78 degrees 32 minutes
         32 seconds East, 255.53 to a point at the intersection of the
         southeastern right-of-way of U.S. Highway 82 and the western right-of-
         way of Interstate Highway 75; thence traveling along the western
         right-of-way of Interstate Highway 75 the following courses and
         distances: south 10 degrees 4 minutes 20 seconds East, 351.76 feet and
         South 36 degrees 23 minutes 38 seconds East, 241.04 feet to the '!'RUE
         POIN'l' OF :BEGINNING.

               From said 'l'RUE POIN'l' OF BEGINNING, continuing along said western
         right-of-way Interstate Highway 75 South 36 degrees 23 minutes 53
         seconds East, 21.37 feet; thence leaving said right-of-way and
         traveling South 74 degrees 15 minutes 8 seconds West, 66.51 feet to a
         point; thence traveling North 15 degrees 45 minutes 9 seconds West, 20
         feet to a point; thence traveling North 74 degrees 15 minutes 27
         seconds East, 58.97 feet to a point located on the western right-of-
         way of Interstate Highway 75 being the 'l'ROE fOIN'l' OF :BEGINNING.

              Said property being depicted as 'l'ract 3 containing 0.029 a=es as
         more particularly depicted on that certain Survey for Stafford R'l',
         prepared by Hampton & Associates Surveying Co., bearing the seal of
         Derrell Hampton, G.R.L.S. No. 2161, dated Dec8111ber 17, 2003, said
         survey being incorporated herein and made a part hereof by reference.
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'         [26) USER\Client\492\743\Legal Description.doc                                      Pagel


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          {28] cllent\492\743\lease-Executlou Draft            492.743                        Pa&e63
                                   Case 20-12456-JTD              Doc 861-1        Filed 01/13/21   Page 94 of 114




                       1                   EXHIBIT "H" TO MEMORANDUM OF GROUND LEASE
                       2
                       3                    LEGAL DESCRIPTION OF LESSOR'S LARGER TRACT
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                                                                      LEGAL DESCRIPTION

                                    ALL THAT TRACT OR P.'IBCEL OF LAND LYING AND BEING IN LAND LOTS 307
                             .!\.ND 308 OF THE    6TH DISTRICT,    TIFT COUNTY,   GEORGIA,  BEING MORE
                              PARTICULARLY DESCRIBED AS FOLLOWS:

                                  C01'1MENCING AT THE INTERSECTION OF THE NORTHEASTERN RIGHT-OF-WAY
                             OF MCCORMICK DRIVE (80-FOOT RIGHT-OF-W}<Y) AND THE SOUTHEASTERN RIGHT-
                             OF-WAY OF U.S. HIGHWAY 82 (100-FOOT RIGHT-OF-WAY); FROM SAID POINT OF
                             COMMENCEt1ENT THENCE TRAVELING ALONG Sl'.ID SOUTHEASTERN RIGHT-OF-WAY
                             NORTH 62 DEGREES 25 MINUTES 3 SECONDS EAST, 745.37 FEET TO A POINT
                             LOCATED ON SAID SOUTHEASTERN RIGHT-OF-WAY BEING THE TRUE POINT OF
                             BEGINNING; FROM SAID TRUE POINT OF BEGINNING, THENCE CONTINUING ALONG
                             SAID SOUTHEASTERN RIGHT-OF-WAY THE FOLLOWING COURSES !'.ND DISTANCES:

                                    1.       NORTH    62   DEGREES        25   MINUTES   3 SECONDS EAST, 71.07 FEET;
                                    2.       SOUTH    27   DEGREES        34   MINUTES   57 SECONDS EAST, 10 FEET;
                                    3.       NORTH    62   DEGREES        25   MINUTES   3 SECONDS EAST, 10 FEET;
                                    4.       NORTH    27   DEGREES        34   MINUTES   57 SECONDS WEST, 10 FEET; AND
                                    5.       NORTH    62   DEGREES        25   MINUTES   3 SECONDS EAST, 169.20 FEET;

                                  THENCE LEAVING SAID SOUTHEASTERN RIGHT-OF-WAY AND TRAVELING THE
                             FOLLOWING COURSES AND DISTANCES:

                                    1.       SOUTH 27 DEGREES 34 MINUTES 57 SECONDS EAST, 48.42 FEET;
                                    2.       SOUTH 8 0 DEGREES 6 ~llNUTES 2 6 SECONDS EAST, 16, 32 FEET;
                                    3.       SOUTH 9 DEGREES 53 MINUTES 34 SECONDS WEST, 52,33 FEET;
                                    4.       SOUTH 3 DEGREES 9 MINUTES 15 SECONDS EAST, 74.96 FEET;
                                    5.       NORTH 80 DEGREES 17 MINUTES 40 SECONDS EAST, 24. 04 FEET;
                                             AND
                                    6.       SOUTH 9 DEGREES 42 MINUTES 20 SECONDS EAST, 283.19 FEET TO
                                             A POINT LOCATED ON THE NORTHERN RIGHT-OF-WAY OF BOO'S DRIVE
                                              (60-FOOT RIGHT-OF-WAY);

                                  THENCE TRAVELING P.LONG SAID NORTHERN RIGHT-OF-WAY SOUTH 82
                             DEGREES 35 MINUTES 55 SECONDS WEST, 73 .12 FEET TO A POINT LOCATED ON
                             SAID NORTHERN RIGHT-OF-WAY; THENCE LEAVING SAID NORTHERN RIGHT-OF-WAY
                             AND TRAVELING THE FOLLOWING COURSES AND DISTANCES:

                                     1.      NORTH 6 DEGREES 49 MINUTES 32 SECONDS WEST, 98.15 FEET;
                                     2.      NORTH 28 DEGREES 10 MINUTES 55 SECONDS WEST, 200. 98 FEET;
                                     3.      SOUTH 82 DEGREES 35 MINUTES 55 SECONDS WEST, 134,93 FEET;
                                     4.      NORTH 27 DEGREES 35 MINUTES 25 SECONDS WEST, 34.94 FEET;
                                     5.      NORTH 62 DEGREES 24 MINUTES 35 SECONDS EAST, 26. 71 FEET;
                                             AND
                                     6.      NORTH 28 DEGREES 9 MINUTES 7 SECONDS WEST, 45.56 FEET TO A
                                             POINT LOCATED ON THE SOUTHEASTERN RIGHT-OF-WAY OF U.S.
                                             HIGHWAY 82, BEING THE TRUE POINT OF BEGINNING.

                                    SAID PROPERTY CONTAINING l. 332 ACRES AND BEING DEPICTED AS TRACT
                              1 ON THAT CERTAIN SURVEY FOR STAFFORD RT, PREPARED BY HAMPTON &
                              ASSOCIATES SURVEYING COMPANY, BEARING THE SEAL OF DARREL HAMPTON,
                              G.R,L.S.  NO.   2161, DATED SEPTEMBER 26,       2003,  SAID SURVEY BEING
                              INCORPORATED HEREIN AND !V.<ADE A PART HEREOF BY REFERENCE.


                              [26] USER\Client\492\743\Exhibit A-1 - leased premises legal.doc                       Pagel




                              f28J cllent\492\743\lease-Execnttoo Draft                  492.743                       Page63
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1                        JOINDER TO MEMORANDUM OF GROUND LEASE
2
3
4           TIFTON INNS, LLC ("Adjacent Land Owner"), being the current owner of the portion
5    of Lessor's Larger Tract more particularly described on Schedule 1 to this Joinder, hereby
6    consents to the foregoing Ground Lease ("Lease"), to the extent that said Ground Lease affects or
 7   encumbers the property described in Schedule 1 hereto. Adjacent Land Owner agrees that
 s   Adjacent Land Owner's fee simple interest in and to said Lessor's Larger Tract shall be subject
 9   and subordinate to the rights of the lessee under the Lease.
10
11          IN WITNESS WHEREOF, the undersigned hereby sets its hand and seal on the _ _
12   day of _ _ _ _ __, 2003.
13
14
15
16                                     TIFTON INNS, LLC
17                                     a Georgia limited liability company
18
19
20                                             By: Stafford Development Company
21                                                 a Georgia corporation
22                                                Its: Managing Member
23
24
25
                                                     By: - - - - - - - - - - - -
26                                                            DENEAN STAFFORD
27                                                            President and CEO




       [28] client\4921743\lease-Execution Draft             492.743                           Page64
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1                         SCHEDULE 1 TO TIFTON INNS, LLC JOLll/DER




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 1                        JO IND ER TO MEMORANDUM OF GROUND LEASE
 2
 3
 4                    SOUTHTRUST BA,"IK, an Alabama corporation ("Lender"), being the current
 5           holder of a mortgage ("Mortgage") on portion of the Lessor's Larger Tract (as such term
 6           is defined by the foregoing Memorandum of Ground Lease) described on Schedule 1
 7           hereto, said Mortgage being e~idenced for record by that certain Deed to Secure Debt and
 8           Security Agreement ("Deed") filed in Deed Book 893, Page 222, in the Office of the
 9           Clerk of the Superior Court of Tift County, Georgia, hereby consents to the foregoing
10           Memorandum of Ground Lease. Lender agrees that should Lender foreclose on the
11           Mortgage and/or otherwise come into possession of the portion of Lessor's Larger Tract
12           described on Schedule I by foreclosure or deed in lieu of foreclosure or otherwise, then
:_3          Lender shall be bound by and comply with all of the terms, conditions, easements and
1,;;         obligations created and contained in the foregoing Memorandum of Ground Lease.
15
16
17                                             SOUTHTRUST BANK
18                                              an Alabama corporation
19
20                          Bv:
21                          Print Name:
22                                  Its:
23
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25                                                                        (CORPORATE SEAL)
26
27
28     ATTEST:
29     Print Name:
3o     ..,Its"'-:=-------------
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33     Signed. sealed and delivered
34     in the presence of:
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 36
 37    lJNOFFICIAL WITNESS
 38
 39    NOTARYPUBLIC
 40
 41    My Commission Expires:
 42
 43    {Affix Notarial Seal)
 44




        f28) client\492\743\lease-Execution Draft              492.743                         Page 66
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                   SCHEDULElTOSOUTHTRUSTBANKJOINDER




[281 client\492\743Uease-Execution Draft           492.743                          Page 67
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1                       JO IND ER TO MEMORAND{JM OF GROUND LEASE
2
3
4    STAFFORD FOODS, INC. ("Owner"), being the current O\Vner of the portion of Lessor's
5    Larger Tract more particularly described on Schedule 1 to this Joinder, hereby consents to the
6    foregoing Memorandum of Ground Lease ("Memorandum"), to the extent that said
 7   Memorandum affects or encumbers the property described on Schedule 1 hereto. Owner agrees
 s   that Owner's fee simple estate in and to the property described on Schedule 1 shall be subject and
 9   subordinate to the rights of the lessee under the Memorandum in and to Lessor's Larger Tract.
10
11          IN WITNESS "WHEREOF, the undersigned hereby sets its hand and seal on the _ _
12   day of _ _ _ _ _ _ , 2003.
13
14
15
16                                         STAFFORD FOODS, L~C.
17
18
19                                   By: - - - - - - - - - - - -
20                                            Its: _ _ _ _ _ __




       128] client\492\743\lease-Execution Draft           492.743                               Page 71
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1                    SCHEDULE I TO STAFFORD FOODS, INC. JOINDER
2




    [28] client\4921743\lease-Execution Draft           492,743                          Page72
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                     JOINDER TO MEMORANDUM OF GROUND LEASE


               BANK OF AMERICA, N.A., a national banking association ("Lender"), being
        the current holder of a mortgage ("Mortgage") on that portion of the Lessor's Larger
        Tract (as such term is defined by the foregoing Memorandum of Ground Lease)
        described on Schedule l hereto, said Mortgage being evidenced for record by that certain
        Deed to Secure Debt, Assignment and Security Agreement ("Deed") filed in Deed Book
        792, Page 182, in the Office of the Clerk of the Superior Court of Tift County, Georgia,
        hereby consents to the foregoing Memorandum of Ground Lease. Lender agrees that
        should Lender foreclose on the Mortgage and/or otherwise come into possession of the
        portion of Lessor's Larger Tract described on Schedule l by foreclosure or deed in lieu of
        foreclosure or otherwise, then Lender shall be bound by and comply with all of the terms,
        conditions, easements and obligations created and contained. in the foregoing
        Memorandum of Ground Lease.




                        By:
                        Print Name:
                                Its: _ _ _'-"'-¥-..i.~--"----

                                                                              [CORPORATE SEAL]

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Its: \=>ANCt N~ CEftCF&;


Signed, sealed and delivered
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My Commission Expires: ...:(),._'.;etc...,_·....,_(7__,_-==~c..::c.-.+-

(Affix Notarial Seal)
                         Case 20-12456-JTD                  Doc 861-1     Filed 01/13/21                Page 102 of 114


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     Case 20-12456-JTD      Doc 861-1      Filed 01/13/21   Page 103 of 114



                                                    LESSANDEXCEP'l'

                              LEGAL DESCRIPTION

      ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 307
AND 308 OF THE 6™ DISTRICT, TIFT COUNTY,          GEORGIA,  BEING MORE
PARTICULARLY DESCRIBED AS FOLLOWS:

      COMMENCING AT THE INTERSECTION OF THE NORTHEASTERN RIGHT-OF-WAY
OF MCCORMICK DRIVE (80-FOOT RIGHT-OF-WAY) AND THE SOUTHEASTERN RIGHT-
OF-WAY OF U.S. HIGHWAY 82 {100-FOOT RIGHT-OF-WAY); FROM SAID POINT OF
COMMENCEMENT THENCE TRAVELING ALONG SAID SOUTHEASTERN RIGHT-OF-WAY
NORTH 62 DEGREES 25 MINUTES 3 SECONDS EAST, 745.37 FEET TO A POINT
LOCATED ON SAID SOUTHEASTERN RIGHT-OF-WAY BEING THE TRUE POINT OF
BEGINNING; FROM SAID TRUE POINT OF BEGINNING, THENCE CONTINUING ALONG
SAID SOUTHEASTERN RIGHT-OF-WAY THE FOLLOWING COURSES AND DISTANCES:

     1.    NORTH   62   DEGREES   25   MINUTES   3 SECONDS EAST, 71. 07 FEET;
     2.    SOUTH   27   DEGREES   34   MINUTES   57 SECONDS EAST, 10 FEET;
     3.    NORTH   62   DEGREES   25   MINUTES   3 SECONDS EAST, 10 FEET;
     4.    NORTH   27   DEGREES   34   MINUTES   57 SECONDS WEST, 10 FEET; AND
     5.    NORTH   62   DEGREES   25   MINUTES   3 SECONDS EAST, 169. 20 FEET;

     THENCE LEAVING SAID SOUTHEASTERN RIGHT-OF-WAY AND TRAVELING THE
FOLLOWING COURSES AND DISTANCES:

      1.   SOUTH 27 DEGREES 34 MINUTES 57 SECONDS EAST, 48.42 FEET;
      2.   SOUTH 80 DEGREES 6 MINUTES 26 SECONDS EAST, 16.32 FEET;
      3.   $0UTH 9 DEGREES 53 MINUTES 34 SECONDS WEST, 52.33 FEET;
      4.   SOUTH 3 DEGREES 9 MINUTES 15 SECONDS EAST, 74.96 FEET;
      5.   NORTH 80 DEGREES 17 MINUTES 40 SECONDS EAST, 24.04 FEET;
           AND
      6.   SOUTH 9 DEGREES 42 MINUTES 20 SECONDS EAST, 283 .19 FEET TO
           A POINT LOCATED ON THE NORTHERN RIGHT-OF-WAY OF BOO'S DRIVE
            (60-FOOT RIGHT-OF-WAY);

     THENCE TRAVELING ALONG SAID NORTHERN RIGHT-OF-WAY SOUTH 82
DEGREES 35 MINUTES 55 SECONDS WEST, 73 .12 FEET TO A POINT LOCATED ON
SAID NORTHERN RIGHT-OF-WAY; THENCE LEAVING SAID NORTHERN RIGHT-OF-WAY
AND TRAVELING THE FOLLOWING COURSES AND DISTANCES:

      1.    NORTH 6 DEGREES 49 MINUTES 32 SECONDS WEST, 98.15 FEET;
      2.    NORTH 28 DEGREES 10 MINUTES 55 SECONDS WEST, 200.98 FEET;
      3.    SOUTH 82 DEGREES 35 MINUTES 55 SECONDS WEST, 134.93 FEET;
      4.    NORTH 27 DEGREES 35 MINUTES 25 SECONDS WEST, 34.94 FEET;
      5.    NORTH 62 DEGREES 24 MINUTES 35 SECONDS EAST, 26. 71 FEET;
            AND
      6.    NORTH 28 DEGREES 9 MINUTES 7 SECONDS WEST, 45.56 FEET TO A
            POINT LOCATED ON THE SOUTHEASTERN RIGHT-OF-WAY OF U.S.
            HIGHWAY 82, BEING THE TRUE POINT OF BEGINNING.

       SAID PROPERTY CONTAINING 1.332 ACRES lu~D BEING DEPICTED AS TRACT
 1  ON THAT CERTAIN SURVEY FOR STAFFORD RT, PREPARED BY HAMPTON &
 ASSOCIATES SURVEYING COMPANY, BEARING THE SEAL OF DARREL HAMPTON,
 G.R.L.S. NO. 2161, DATED SEPTEMBER 26, 2003, SAID SURVEY BEING
 INCORPORATED HEREIN AND MADE A PART HEREOF BY REFERENCE.


 (26] USER\Client\492\743\Exhibit A-1 - leased premises legal.doc             Page 1
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1                                 EXHIBIT "J" TO GROUl'.1) LEASE
2
3                            DOCUMENTS SUPERIOR TO THE LEASE




    f28j client\492\743\lease-Execution Draft           492.743                          Page 73
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                                                             THIS INSTRUMENT PREPARED BY:

                                                                    WILLIAMJ. LIEBERBAUM
                                                                2255 CUMBERLAND PARKWAY
                                                                             BUILDING 1300
                                                                    ATLANTA, GEORGIA 30339


                                TERMINATION OF EASEMENT


       This TERMINATION OF EASEMENT ("Agreement") entered into by and among
STAFFORD RT, LLC, a Georgia limited liability company, whose address is 1805 U.S.
Highway 82 West, P.O. Box 269, Tifton, Georgia 31793 ("Stafford"), TIFTON INN, LLC,
a Georgia limited liability company, whose address is 1805 U.S. Highway 82 West, P.O. Box
269, Tifton, Georgia 31793 ("Tifton"), STAFFORD DEVELOPMENT COMPANY
("SDC"), a Georgia corporation, successor by corporate merger to Interstate Inns, Inc., whose
address is 1805 U.S. Highway 82 West, P.O. Box 269, Tifton, Georgia 31793, and RUBY
TUESDAY, INC., a Georgia corporation, whose address is 150 West Church Avenue,
Maryville, Tennessee 37801 ("Ruby Tuesday").


       WHEREAS, Interstate Inns, Inc., Standard Oil Company and W.M. Forshee and Mrs.
Esther Forshee entered into that certain Easements Agreement ("Original Easement
Agreement") dated March 25, 1967, recorded at Deed Book 103, page 593 in the Office of the
Clerk of the Superior Court of Tift County, Georgia; and

       WHEREAS, Interstate Inns, Inc. and Standard Oil Company entered into that certain
Sign Easement ("Original Sign Easement") dated March 25, 1967, recorded at Deed Book 103,
page 229 in the aforesaid records; and

       WHEREAS, SDC, Stafford and Tifton are the current owners of all of the land
benefited and burdened by the Original Easement Agreement and the Original Sign Easement;
and



[28) client\4921743\termination of easement        492.743




                                                                                     page 74    ,,
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       WHEREAS, Ruby Tuesday is the current ground lessee, under that certain Ground
Lease ("Ruby Tuesday Lease") from Stafford to Ruby Tuesday, dated _ _ _ _ _ _ , 2003
and evidenced for record by that certain Memorandum of Ground Lease by and between the
same parties dated _ _ _ _ _ _ , 2003, filed _ _ _ _ _ _ , 2003 and recorded at Deed
Book _ _ _ , page ___ in the aforesaid records; and

       WHEREAS, Ruby Tuesday is also the lessee under that certain Sign Lease ("Ruby
Tuesday Sign Lease") by and between SDC and Ruby Tuesday, dated _ _ _ _ _ , 2003,
recorded at Deed Book _ _ _ , page _ _ _ in the aforesaid records; and

       \VHEREAS, the demised premises under the Ruby Tuesday Lease and the demised
premises under the Ruby Tuesday Sign Lease are a portion of the property which is subject to
the Original Easement Agreement and the Original Sign Easement; and

       WHEREAS, the parties wish to terminate the Original Easement Agreement and the
Original Sign Easement.

        NOW, THEREFORE, for and in consideration of Ten Dollars ($10.00) and other
valuable consideration, the receipt and sufficiency of which is hereby acknowledged by all the
parties, the parties hereby acknowledge and agree that the Original Easement Agreement and
the Original Sign Easement are hereby terminated and of no further force and effect.

        This Agreement shall be construed under the Jaws of the State of Georgia.




                                SIGNATURES ON PAGES 3 AND 4




 [28] client\4921743\termination of easement        492.743




                                                                                           Page 75
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       IN WITNESS WHEREOF, the parties have caused this Agreement to be executed on the
date appearing together with their signatures below.


Signed, sealed and delivered
in the presence of:                                       RUBY TUESDAY, INC.
                                                          a Georgia corporation

Unofficial Witness                                 By:

                                                   Its:

Notary Public

My Commission Expires:




Signed, sealed and delivered                              STAFFORD DEVELOPMENT
in the presence of:                                       COMPAiW
                                                          a Georgia corporation, successor
                                                          by corporate merger to Interstate
Unofficial Witness                                        Inns, Inc.


                                                              By:
Notary Public                                                       ----------
                                                                     DENEAN STAFFORD
                                                                     President and CEO

My Commission expires:

(Affix Notarial Seal here)




 [28] client\492\743\termination of easement        492.743




                                                                                         Page 76
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 1                                     JOINDER TO GROUND LEASE
 2
 3
 4          TIFTON IKKS, LLC ("Adjacent Land Owner"), being the current owner of the portion
 5   of Lessor's Larger Tract more particularly described on Schedule l to this Joinder, hereby
 6   consents to the foregoing Ground Lease ("Lease"), to the extent that said Ground Lease affects or
 7   encumbers the property described in Schedule l hereto. Adjacent Land Owner agrees that
 8   Adjacent Land Owner's fee simple interest in and to said Lessor's Larger Tract shall be subject
 9   and subordinate to the rights of the lessee under the Lease.
10
11          IN WITKESS \VHEREOF, the undersigned hereby sets its hand and seal on the _ _
12   day of _ _ _ _ _ _ , 2003.
13
14
15
16                                               TIFTON INNS, LLC
17                                               a Georgia limited liability company
18
19
20                                               By: Stafford Development Company
21                                                   a Georgia corporation
22                                                  Its: Managing Member
23
24
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27                                                                  President and CEO
28   Signed, sealed and delivered
29   in the re nee of:
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36   My Commission Expires: _
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37                                                   '1
38   (Allix Notarial Seal)




     (28] client\492\743\lease-Execution Draft                   492.743                      Page 77
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1                         SCHEDULE 1 TO TIFI'ON INNS, LLC JOINDER




                                                                       ALL TIIAT TRACJ' or p-1 of land being .
                  S. 786 9Ct'es Jn Land l.ol 308 in ·ttie- 6th Lon~_ Olstrlct or ·ntt .County, ·ee-or9io. ·and o ·
                  por~ion- in the City of Tiflon. more Wily described 01 ~olloWs:                ·

                  ·cOMMENCE al- the int.,.s:ection of- the west Land Lot line or Land Lot 306 ond lh1t Soulh
                  righl-of-woy line   or   U.S. fiii.hwoy 82! thence run North 62 ·Otg(ees 25 minutes 0.3
                  seconds Eosl Z16.00 feet to lhe POINT Or 8£:CINNING: thence ·North 62 _de91"eH 25
                  minules 03 seconds Eost 186.00 rut lo o point: thence souv, 27 de9rtea J4 minUtes 57
                  seccncis Eosl 10.00 fut to- o point; thence. North 78 degrees 32 mlnutets 36 seconds East
                  255.53 feet to o point ono the west· right oJ· woy line of 1ole-rstole 7S; thence Soutfi 10
                   degrees 04 minutes 24 seconds East 351.76 feel al0!"9 the west rl9hl of way line of ·
                   Interstate 75 to o point: thence South JG degrees 23 mil'lutes 35 seconds East 2.41.04 feat
                   to o point on the west right of woy line of lnterslole 75: thence 5011th ·74 degrees 15
                  .minutes 06 seconds West 58.97 reet to o po!hl; U1ence South ·15 degrees '44 minutes 54
                   ,ecotlds East 20.00 feet to o point; thel\ce North 7<$ de9r1es 15 minu~~~ 06 uconds toal
                   66.51 f&et to, a potnt on the· west right- of woy Jine of lnterstote 75; thence South 36
                   degrees 23 mlnutes 35 seconds £ost 16.29 feet to o polnt; thence SQulh 22 degree-s 07
                   minutes 35 seconds East 18.99 ·feel to~ o poinl on the we,:l right of woy line of Interstate
                    75; thence South 8l degrees. 35 minutes 22 seconds ¼tST 5·34,48 loet tq a Point; theni;o
                   North 10 degrees 38 mfnutt.s OS ·seconds West 149.59 feet to o point;· thence North 82
                    degrees 35 minutn 55 seconds East 19.00 feet to a polnt; thence North Ot degree 54
                   minutes O!'>. seconds West 218.86 feet to o point: thence North 32 degrus 22 minute, 05
                   .seconds West 205.02 fcet to thci POINT OF' BEC!NNINC.                                .




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    l28] client\4921743\Jease-Executloo Draft                          492.743                                       Pa~e78
                Case 20-12456-JTD              Doc 861-1   Filed 01/13/21             Page 110 of 114




 1                                      JOINDER TO GROUND LEASE
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4           . SOUTHTRUST BANK, an Alabama corporation ("Lender"), being the current holder of
 5    a mortgage ("Mortgage") on portion of the Lessor's Larger Tract (as such term is defined by the
 6    foregoing Ground Lease ["Lease"]) described on Schedule 1 hereto, said Mortgage being
 7    evidenced for record by that certain Deed to Secure Debt and Security Agreement ("Deed") filed
 8    in Deed Book 893, Page 222, in the Office of the Clerk of the Superior Court of Tift County,
 9    Georgia, hereby consents to the foregoing Lease. Lender agrees that should Lender foreclose on
1o    the Mortgage and/or otherwise come into possession of the portion of Lessor's Larger Tract
11    described on Schedule 1 by foreclosure or deed in lieu of foreclosure or otherwise, then Lender
12    shall be bound by and comply with all of the terms, conditions, easements and obligations
13    created and contained in the foregoing Lease.
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16                                            SOUTHTRUST BANK
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24.                                                                         !CORPORATE SEALl
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27    ATTEST:
28    Print Name:
29    ~It~s:;__ _....C.~Z.::Zil::<~~~;'¢'~
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32    Signed. sealed and delivered
33    in the presence of:
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40    My Commission Expires:           !1/J..i /09'-                 ...     .
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       [28] client\492\743\lease-Exeeution Draft           492.743                                                    Page 79
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2                      SCHEDULEITOSOUTHTRUSTBANKJOINDER



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                   5.786 c;ici-es ~n land Lot 308  in
                                                                        ALL TIIAT TRAc; or parcel of land bciog .
                                                    ·th~ 6lti Land .Oistriet of"Tirt .Counly.. C-eOl"gio. Ond a .
                   por~lon in the City of Tifton. more fully described as fotloWs:           ·

                   'COMJ.CENCE ot. the intersection of- the west Land Lot line of lond Lot 306 ~d lht sOuth
                   right-of-woy line of 1J.S. Highway 82: thence run· North 62 -degrees 25 mlrwtes 03
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                   seconds East 216.00 feel lo 'the POfNT OF' 8(CINNING: thence ·North 62 _degrees 25
                   minutes 03 seconds East 166.00 feet to a point: thence Sovt!t 27 degree, 34 mlnUlt.s S7                                 ;
                    uconi:ls East 10.00 feet to o point~ thence North 78 degt'US 32 mtnutes 36 seconds East
                    255,53 feet lo o point one, the west· rl9ht of· way lint of Interstate 75: thence South .JO                         (.~


                    degrees 04 mlnuto 24 second's East 351,76 rett olO!'lg the west rlghl or way line of
                  . Interstate 75 lo o point: them:e South .36 degrees 23 minutes 35 secoodt (ost 2.4l.04 feel
                    \o o point on the -we:s\ ri9ht of -way line of lnlcrslole 75~ U,enee Soyth ·74 de:grees 15
                   _minutes 06 seeonds West 5a.97 feet to a point; th011ce South ·15 degrus 44 minutes 54
                    second, Eo,t 20.00 fcot to o point: ther\ce North 74 degrees 15 rninutea 06 .seconds East
                    66.51 feet to_. a point on U,e· west right- of WO'/ fine of toterstote 75; lhCnce South J6 .
                    degrees 23 minutes 3S seconds East 16.29 feel to a pojnl; thence SQulh 22 degrees 07
                    tl"linutu 35 seconds East 18.9S feet toho point on the west right of woy line of lntu,tote
                    75: thence Soulh 81 degrees_ JS minutes 22 second':s WEST 5J4.48 feet tQ o Point; thenct
                    Norlh 10 degrees 38 mtnutc:s oS·seconds West 146.59 feet to Q point;· thence NOf'th 82
                    degrees 35 minutes 55 ncoods East- 1S.OO feet to a point: thence North 01 degrae 54
                    minutes OS. seconds West 218.86 feet to o point: thence North 32 degrees 22 minutes 05
                    seconds Wesl 205.02 feel lo the POINT OF 8£CINNINC.                                     '




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    [28] client\4921743\lease-Executlon Draft                          492.743                                                  Pai:e 80
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 1                                        JOINDER TO GROUND LEASE
 2
 3
 4           STAFFORD FOODS, INC. ("Owner"), being the current owner of the portion of
 5   Lessor's Larger Tract more particularly described on Schedule 1 to this Joinder, hereby consents
 6   to the foregoing Ground Lease ("Ground Lease"), to the extent that said Ground Lease affects or
 7   encumbers the property described on Schedule 1 hereto. Owner agrees that Owner's fee simple
 8   estate in and to the property described on Schedule 1 shall be subject and subordinate to the
 9   rights of the lessee under the Ground Lease in and to Lessor's Larger Tract.
10
11          IN \VITNESS \VHEREOF, the undersigned hereby sets its hand and seal on the _ _
12   day of _ _ _ _ _ _, 2003.
13
14
15
16                                           STAFFORD FOODS, INC.
17
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22   Signed, sealed and delivered
23   in the pre ence of:
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29
3o   My Commission Expires:           1   aj "4,
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31
32   (Affix Notarial Seal)
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     [281 client\4921743\Jease-Executioo Draft            492.743                           Page 84
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                    1                        SCHEDULE 1 TO STAFFORD FOODS, INC. JOINDER
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         Case 20-12456-JTD              Doc 861-1         Filed 01/13/21   Page 114 of 114




1                        SCHEDULE 1 TO STAFFORD FOODS. INC. JOINDER
2




                                            LEGAL DESCRIPTION

          ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 307
    AND 308 OF THE 6" DISTRICT,        TIFT COUNTY,   GEORGIA,  BEING MORE
    PARTICULARLY DESCRIBED AS FOLLOWS:

          COMMENCING AT THE INTERSECTION OF THE NORTHEASTERN RIGHT-OF-WAY
    OF MCCORMICK DRIVE (80-FOOT RIGHT-OF-WAY) AND THE SOUTHEASTERN RIGHT-
    OF-WAY OF U.S. HIGHWAY 82 (100-FOOT RIGHT-OF-WAY); FROM SAID POINT OF
    COMMENCEMENT THENCE TRAVELING ALONG SAID SOUTHEASTERN RIGHT-OF-WAY
    NORTH 62 DEGREES 25 I~INUTES 3 SECONDS EAST, 7 45. 37 FEET TO A POINT
    LOCATED ON SAID SOUTHEASTERN RIGHT-OF-WAY BEING THE TRUE POINT OF
    BEGINNING; FRON SAID TRUE POINT OF BEGINNING, THENCE CONTINUING ALONG
    SAID SOUTHEASTERN RIGHT-OF-WAY THE FOLLOWING COURSES AND DISTANCES:

          1.      NORTH     62   DEGREES      25      MINUTES   3 SECONDS EAST, 71.07 FEET;
          2.      SOOTH     27   DEGREES      34      MINUTES   57 SECONDS EAST, 10 FEET;
          3.      NORTH     62   DEGREES      25      MINUTES   3 SECONDS EAST, 10 FEET;
          4.      NORTH     27   DEGREES      34      MINUTES   57 SECONDS WEST, 10 FEET; AND
          5.      NORTH     62   DEGREES      25      MINUTES   3 SECONDS EAST, 169.20 FEET;

         THENCE LEAVING SAID SOUTHEASTERN RIGHT-OF-WAY AND TRAVELING THE
    FOLLOWING COURSES AND DISTANCES:

          1.       SOUTH 27 DEGREES 34 MINUTES 57 SECONDS EAST, 48.42 FEET;
          2.       SOUTH 80 DEGREES 6 MINUTES 26 SECONDS EAST, 16.32 FEET;
          3.       SOUTH 9 DEGREES 53 MINUTES 34 SECONDS WEST, 52.33 FEET;
          4.       SOUTH 3 DEGREES 9 MINUTES 15 SECONDS EAST, 7 4 . 9 6 FEET;
          5.       NORTH 80 DEGREES 17 MINUTES 40 SECONDS EAST, 24. 04 FEET;
                   AND
          6.       SOUTH 9 DEGREES 42 MINUTES 20 SECONDS EAST, 283 .19 FEET TO
                   A POINT LOCATED ON THE NORTHERN RIGHT-OF-WAY OF BOO' S DRIVE
                    (60-FOOT RIGHT-OF-WAY);

         THENCE TRAVELING ALONG SAID NORTHERN RIGHT-OF-WAY SOUTH 82
    DEGREES 35 MINUTES 55 SECONDS WEST, 73 .12 FEET TO A POINT LOCATED ON
    SAID NORTHERN RIGHT-OF-WAY; THENCE LEAVING SAID NORTHERN RIGHT-OF-WAY
    AND TRAVELING THE FOLLOWING COURSES AND DISTANCES:

          1.       NORTH 6 DEGREES 49 MINUTES 32 SECONDS WEST, 98.15 FEET;
          2.       NORTH 28 DEGREES 10 MINUTES 55 SECONDS WEST, 200. 98 FEET;
          3.       SOUTH 82 DEGREES 35 MINUTES 55 SECONDS WEST, 134.93 FEET;
          4.       NORTH 27 DEGREES 35 MINUTES 25 SECONDS WEST, 34.94 FEET;
          5.       NORTH 62 DEGREES 24 MINUTES 35 SECONDS EAST, 26. 71 FEET;
                   AND
           6.      NORTH 28 DEGREES 9 MINUTES 7 SECONDS WEST, 45.56 FEET TO A
                   POINT LOCATED ON THE SOUTHEASTERN RIGHT-OF-WAY OF U.S.
                   HIGHWAY 82, BEING THE TRUE POINT OF BEGINNING.

           SAID PROPERTY CONTAINING 1.332 ACRES AND BEING DEPICTED AS TRACT
     l ON Tlli'.T CERTAIN SURVEY FOR STAFFORD RT, PREPARED BY HAMPTON &
     ASSOCIATES SURVEYING COMPANY, BEARING THE SEAL OF DARREL HAMPTON,
     G.R.L.S. NO.    2161, DATED SEPTEMBER 26, 2003, SAID SURVEY BEING
     INCORPORATED HEREIN AND MADE A PART HEREOF BY REFERENCE.


     [26] USER\Client\492\743\Exhibit A-l - leased premises legal.doc                        Pagel




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